       Case 1:07-cv-02618-DAB Document 32 Filed 08/14/07 Page 1 of 113



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                         UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF NEW YORK


SAN DIEGO COUNTY EMPLOYEES          )
RETIREMENT ASSOCIATION,             )
                                    )
                        Plaintiff,  )
                                    )               07 Civ. 2618 (DAB)
            -against-               )
                                    )
NICHOLAS M. MAOUNIS, CHARLES H. )
WINKLER, ROBERT W. JONES,           )
BRIAN HUNTER, and AMARANTH          )
ADVISORS, LLC,                      )
                                    )
                        Defendants. )
____________________________________)




       MEMORANDUM OF LAW IN OPPOSITION TO DEFENDANTS’
  MOTIONS TO DISMISS THE COMPLAINT FOR FAILURE TO STATE A CLAIM
           Case 1:07-cv-02618-DAB Document 32 Filed 08/14/07 Page 2 of 113



                                                   TABLE OF CONTENTS

TABLE OF AUTHORITIES ...................................................................................................... v
PRELIMINARY STATEMENT................................................................................................. 1
STATEMENT OF FACTS ......................................................................................................... 7
ARGUMENT ........................................................................................................................... 17
I. The Applicable Legal Standards ......................................................................................... 17
          A. Regardless Of The Claim, The Court Must Accept As True All Factual
             Allegations In SDCERA’s Complaint...................................................................... 17
          B. For Its Non-Fraud Claims, SDCERA Need Only Allege Facts Establishing
             Plausible Grounds For Relief................................................................................... 18
          C. SDCERA’s Fraud Claims Must Meet The Heightened Pleading Standards Of
             FRCP 9(b) And PSLRA .......................................................................................... 19
II. SDCERA’s Complaint States Claims Against The Fraud Defendants For Violations
    Of Section 10(b) Of The Securities Exchange Act Of 1934 And SEC Rule 10b-5
    (Count I)............................................................................................................................. 20
          A. SDCERA’s Justified Reliance And Materiality Allegations Are Unaffected By
             The Risk Disclosures In The 2003 PPM And the Subscription Agreement .............. 22
                     1. The So-Called “Non-Reliance” Clauses of the 2003 PPM Do Not
                        Preclude SDCERA’s Justified Reliance On The Fraud Defendants’
                        Misrepresentations....................................................................................... 22
                     2. The Fraud Defendants’ Material Misrepresentations Are Not Shielded
                        By The “Bespeaks Caution” Doctrine .......................................................... 23
                                a. The 2003 PPM Expressly Limits The Fraud Defendants’ Supposedly
                                   Unqualified Discretion. .................................................................... 25
                                b. The Picture Of The Fund Painted By The 2003 PPM Was Materially
                                   Different From The Reality Of Its Operation. ................................... 28
          B. SDCERA’s Complaint Alleges Facts Supporting A Strong Inference That
             Each Of The Fraud Defendants Acted With Scienter ............................................... 31
                     1. SDCERA’s Complaint Contains Allegations Of Improper Motive That
                        Give Rise To A Strong Inference Of Scienter .............................................. 32
                     2. The Complaint Contains Allegations Of the Defendants’ Recklessness
                        That Also Give Rise to a Strong Inference of Scienter ................................. 33
          C. SDCERA’s Securities Fraud Claims Are Pled With Particularity ............................ 35
                     1. The Bases For SDCERA’s Allegations Made “On Information And
                        Belief” Are Expressly Set Forth In, Or Reasonably Inferred From, The
                        Complaint .................................................................................................... 36




                                                                     i
           Case 1:07-cv-02618-DAB Document 32 Filed 08/14/07 Page 3 of 113



                    2. The Complaint Pleads Individual Misrepresentations By Maounis,
                       Winkler, And Jones With Particularity......................................................... 38
                    3. Maounis’s July 2005 Misrepresentations Are Not Excused as
                       “Opinions Not Sincerely Held”.................................................................... 40
          D. SDCERA’s Securities Fraud Claim Alleges Much More Than Mere
             “Corporate Mismanagement” .................................................................................. 42
III. SDCERA’s Complaint States Claims For Common Law Fraud Against The Fraud
     Defendants (Count II) ......................................................................................................... 43
          A. SDCERA’s Complaint States Common Law Fraud-In-The-Inducement
             Claims Against The Fraud Defendants .................................................................... 43
          B. SDCERA’s Complaint Also States Common Law Fraud-Holder Claims
             Against The Fraud Defendants ................................................................................ 43
                    1. Connecticut Law Does Not Bar SDCERA’s Common Law Fraud -
                       Fraud-Holder Claims ................................................................................... 44
                    2. In the Event of a Conflict of Laws, California Law Would Govern
                       SDCERA’s Common Law Fraud-Holder Claims ......................................... 46
                    3. SDCERA’s Common Law Fraud-Holder Claims Are Well-Pled .................. 47
                               a. The post-investment misrepresentations are alleged in the Complaint
                                  with requisite particularity................................................................ 47
                               b. Whether information disclosed by the Fund during 2006 was sufficient
                                  to alert SDCERA to the Defendants’ reckless trading is a question of
                                  fact not appropriate for adjudication on a motion to dismiss. ............ 49
                               c. Neither the Fund’s monthly performance updates nor the 2006 PPM
                                  apprised SDCERA of the true nature of the Fund’s operations.......... 50
                                         (1) The September 2005 Update merely continued and
                                             reinforced the misrepresentations of the 2003 PPM............... 51
                                         (2) The October 2005 Update merely continued and
                                             reinforced the misrepresentations of the 2003 PPM............... 52
                                         (3) The 2006 PPM suffered from the same infirmities as its
                                             predecessor........................................................................... 53
                                         (4) The April 2006 Update merely continued and
                                             reinforced the misrepresentations of the 2003 PPM............... 55
                                         (5) The Impact of the May 2006 Amaranth Update was
                                             expressly diminished by the Defendants’ June 2006
                                             misrepresentations. ............................................................... 56
                               d. SDCERA’s Complaint Also Adequately Pleads Causation For Its
                                  Common Law Fraud-Holder Claims................................................. 57
                    4. SDCERA’s Allegations Of Misrepresentations And Omissions After
                       June 16, 2006 Are Actionable ..................................................................... 59


                                                                  ii
           Case 1:07-cv-02618-DAB Document 32 Filed 08/14/07 Page 4 of 113



IV. SDCERA’s Claims For Gross Negligence (Counts III & VIII), Breach Of Fiduciary
    Duty (Count V), And Aiding and Abetting Breach Of Fiduciary Duty (Count VI) Are
    Not Derivative .................................................................................................................... 59
          A. The Delaware Supreme Court Has Expressly Disavowed The “Special Injury”
             Test For Determining Whether A Claim Is Derivative Or Direct ............................ 60
          B. The Gravamen Of SDCERA’s Claims Is Defendants’ Fraudulent
             Misrepresentations And Omissions Made Directly And Individually To
             SDCERA ................................................................................................................ 62
          C. The Structure And Operation Of The Fund Also Render SDCERA’s Claims
             Direct, Not Derivative ............................................................................................. 65
V. The Complaint States Valid Gross Negligence Claims Against All Defendants................... 67
          A. Delaware Or New York Law, Not Connecticut Law, Applies To SDCERA’s
             Gross Negligence Claims ....................................................................................... 68
                     1. Connecticut In Fact Recognizes A Gross Negligence Claim ........................ 68
                     2. Delaware Law Is Applicable To SDCERA’s Gross Negligence Claim
                        Under The Internal Affairs Doctrine ............................................................ 69
          B. The Complaint Alleges Facts That State Valid Gross Negligence Claims
             Against All Defendants ........................................................................................... 70
                     1. SDCERA Has Alleged More Than Enough Facts To State A Valid
                        Gross Negligence Claim Against All Defendants......................................... 71
                     2. Winkler Was Reckless In His Representations, Oversight And
                        Decisions Regarding Hunter ........................................................................ 73
                     3. Hunter’s Reckless Trading Was Grossly Negligent And In Breach of
                        Duties He Owed to SDCERA ...................................................................... 74
          C. Limited Disclaimers Regarding Portfolio Risk Do Not Shield Defendants
             From Liability For Their Reckless Conduct............................................................. 75
          D. SDCERA’s Gross Negligence Claim Is Not Barred By The Economic Loss
             Doctrine .................................................................................................................. 77
VI. Count V Of The Complaint States A Claim For Breach Of Fiduciary Duty Against
    The Fraud Defendants......................................................................................................... 79
          A. Advisors Owed Fiduciary Duties to SDCERA......................................................... 79
                     1. Advisors’s Fiduciary Duties To SDCERA Arose From Its Position As
                        Managing Member Of The Fund.................................................................. 80
                     2. Advisors’s Total Control of the Fund Created a Special Relationship of
                        Trust, and Thus, a Fiduciary Duty................................................................ 80
          B. Maounis, Winkler, And Jones Each Owed SDCERA Fiduciary Duties As
             Officers Of Advisors ............................................................................................... 82




                                                                   iii
           Case 1:07-cv-02618-DAB Document 32 Filed 08/14/07 Page 5 of 113



          C. SDCERA Had a Special Relationship of Trust With Each of Maounis,
             Winkler, and Jones, Individually ............................................................................. 83
          D. The Fraud Defendants Breached The Duty Of Care................................................ 85
          E. The Fraud Defendants Breached The Duty Of Candor............................................. 86
          F. The Fraud Defendants Breached The Duty Of Good Faith And Fair Dealing........... 86
          G. The LLC Agreement Does Not Limit Advisors’s Fiduciary Duties.......................... 87
          H. SDCERA’s Fiduciary Duty Claims Do Not Duplicate Its Fraud Claim.................... 87
VII.Count VI Of The Complaint States claims for aiding and abetting breach of fiduciary duty against Winkler, J
          A. SDCERA Has Alleged Winkler’s Knowing Participation in Advisors’s And
             Maounis’s Breaches Of Their Fiduciary Duties ....................................................... 89
          B. SDCERA Has Also Adequately Alleged Its Aiding and Abetting Breach Of
             Fiduciary Duty Claim Against Jones ....................................................................... 90
          C. SDCERA Has Also Adequately Alleged That Hunter Aided and Abetted All
             Of The Fraud Defendants’ Breaches Of Their Fiduciary Duties To SDCERA ......... 91
VIII.Count VI of the Complaint States a Claim Against Advisors for Breach Of Contract (Count IV)                                              92
          A. By Acknowledging And Directly Benefiting From The Subscription
             Agreement, Advisors Is Bound By It Terms ............................................................ 92
                     1. The Subscription Agreement Must Be Interpreted In Conjunction With
                        The 2003 PPM............................................................................................. 93
                     2. Advisors Breached The Subscription Agreement By Failing To Honor
                        Its Disclosures In The 2003 PPM................................................................. 94
          B. The LLC Agreement’s Limitation Of Liability Clause Does Not Excuse
             Advisors’s Breach ................................................................................................... 95
          C. SDCERA’s Breach Of The Implied Covenant Of Good Faith And Fair
             Dealing Claim Is Distinct From Its Breach Of Contract Claim................................. 96
IX. The Complaint States Claims For Vicarious Liability Against The Fraud Defendants
    (Count VII)......................................................................................................................... 97
          A. Advisors, As Hunter’s Employer, Is Vicariously Liable For His Torts Within
             The Scope Of His Employment ............................................................................... 97
          B. As Maounis, Winkler, And Jones Directed, Controlled, Or Permitted Hunter’s
             Torts, They Are Also Vicariously Liable ................................................................. 98
X. Alternatively, SDCERA Should Be Granted Leave To Amend Its Complaint ..................... 99
CONCLUSION ...................................................................................................................... 101




                                                                    iv
           Case 1:07-cv-02618-DAB Document 32 Filed 08/14/07 Page 6 of 113



                                              TABLE OF AUTHORITIES


                                                             CASES

ABF Capital Mgmt. v. Askin Capital Mgmt., L.P., 957 F. Supp. 1308 (S.D.N.Y. 1997)........61, 65

Acito v. IMCERA Group, Inc., 47 F.3d 47 (2d Cir. 1995)........................................................ 100

Adler v. Berg Harmon Assocs., 892 F. Supp. 98 (S.D.N.Y. 1995) ............................................ 39

Albert v. Alex Brown Mgmt. Servs., Inc., Nos. Civ.A. 762-N & 763-N, 2005 WL
   2130607 (Del. Ch. Aug. 26, 2005) ...........................................................................63, 65, 85

Allard v. Arthur Andersen & Co., 924 F. Supp. 488 (S.D.N.Y. 1996)........................................ 59

Allen v. Westpoint-Pepperell, Inc., 945 F.2d 40 (2d Cir. 1991) ......................................23, 24, 50

Am. Bureau of Shipping v. Tencara Shipyard S.P.A., 170 F.3d 349 (2d Cir. 1999) .................... 93

Am. Tissue, Inc. v. Donaldson, Lufkin & Jenrette Sec. Corp., 351 F. Supp. 2d 79
   (S.D.N.Y. 2004).................................................................................................................. 88

Anglo Am. Sec. Fund, L.P. v. S.R. Global Int’l Fund, L.P., 829 A.2d 143 (Del. Ch.
   2003) ........................................................................................................... 63, 64, 65, 66, 67

AroChem Int’l, Inc. v. Buirkle, 968 F.2d 266 (2d Cir. 1992).................................................46, 47

ATSI Commc'ns, Inc. v. Shaar Fund, Ltd., Nos. 05-5132-cv, 05-2593-cv, 2007 WL
   1989336 (2d Cir. July 11, 2007).......................................................................................... 18

Babcock v. Jackson, 12 N.Y.2d 473 (1963)............................................................................... 46

BKM Enters., Inc. v. Budget Modular Workstations, Inc., No. CV054008900S, 2007
  WL 806275 (Conn. Super. Ct. Feb. 21, 2007) ..................................................................... 77

Basic, Inc. v. Levinson, 485 U.S. 224 (1988)............................................................................. 51

Bass v. World Wrestling Fed’n Entm’t, Inc., 129 F. Supp. 2d 491 (E.D.N.Y. 2001) .................. 69

Bell Atl. Corp. v. Twombly, 127 S. Ct. 1955 (2007)................................................................... 18

Bello v. Barden Corp., 180 F. Supp. 2d 300 (D. Conn. 2002).................................................... 69

Bergeron v. Philip Morris, Inc., 100 F. Supp. 2d 164 (E.D.N.Y. 2000) ..................................... 46

Birger v. Tuner, 104 Misc. 2d 63 (N.Y. Civ. Ct. 1980) ............................................................. 93


                                                                  v
           Case 1:07-cv-02618-DAB Document 32 Filed 08/14/07 Page 7 of 113




Bokat v. Getty Oil Co., 262 A.2d 246 (Del. 1970) ..................................................................... 61

Brasby v. Morris, No. C.A. 05C-10-022-RFS, 2007 WL 949485 (Del. Super. Ct. Mar.
   29, 2007) .......................................................................................................................77, 78

Cocchiola Paving, Inc. v. Peterbuilt of S. Conn., No. CV010168579S, 2003 WL
   1227557 (Conn. Super. Ct. Mar. 3, 2003)............................................................................ 77

Chambers v. Time Warner, Inc., 282 F.3d 147 (2d Cir. 2003) ..................................................... 3

Chanoff v. U.S. Surgical Corp., 857 F. Supp. 1011 (D. Conn. 1994) ....................................44, 45

Cheese Shop Int’l, Inc. v. Steele, 303 A.2d 689 (Del. Ch.), rev'd on other grounds, 311
   A.2d 870 (Del. 1973) .....................................................................................................81, 83

Connell v. Hayden, 443 N.Y.S.2d 383 (N.Y. Sup. Ct. 1981) ..................................................... 97

CooperVision, Inc. v. Intek Integration Techs., Inc., 7 Misc. 3d 592, 600 (N.Y. Sup.
   Ct. 2005)............................................................................................................................. 95

Coronado Dev. Corp. v. Millikin, 22 N.Y.S.2d 670 (Sup. Ct. N.Y. County 1940) ..................... 64

Cosmas v. Hassett, 886 F.2d 8 (2d Cir. 1989) ........................................................................... 73

CVC Claims Litig. L.L.C. v. Citicorp Venture Capital Ltd., No. 03 Civ. 7936, 2006
  WL 1379596 (S.D.N.Y. May 18, 2006) .............................................................................. 96

DeAngelis v. Lutheran Med. Ctr., 445 N.Y.S.2d 188 (N.Y. App. Div. 1981)............................. 74

Decker v. Roberts, 3 A.2d 855 (Conn. 1939)........................................................................68. 69

Devaney v. Chester, 813 F.2d 566 (2d Cir. 1987).................................................................... 100

Dieterich v. Harrer, 857 A.2d 1017 (Del. Ch. 2004)................................................................. 62

Douzinas v. Am. Bureau of Shipping, Inc., 888 A.2d 1146 (Del. Ch. 2006) ............................... 87

Dubary v. Irish, 542 A.2d 711 (Conn. 1988)............................................................................. 69

Dura Pharms., Inc. v. Broudo, 544 U.S. 336 (2005) ............................................................21, 88

Emergent Capital Inv. Mgmt., L.L.C. v. Stonepath Group, Inc., 343 F.3d 189 (2d Cir.
  2003) .............................................................................................................................22, 58

Erickson v. Pardus, 127 S. Ct. 2197 (2007) .............................................................................. 18



                                                                    vi
            Case 1:07-cv-02618-DAB Document 32 Filed 08/14/07 Page 8 of 113




Fidel v. Farley, 392 F.3d 220 (6th Cir. 2004)............................................................................ 32

Fin. One Pub. Co. Ltd. v. Lehman Bros. Special Fin., Inc., 414 F.3d 325 (2d Cir.
   2005) .............................................................................................................................69, 70

First Nat’l City Bank v. Banco Para El Comercio Exterior de Cuba, 462 U.S. 611
    (1983)................................................................................................................................. 70

Fraternity Fund Ltd. v. Beacon Hill Asset Mgmt. L.L.C., 376 F. Supp. 2d 385
   (S.D.N.Y. 2005).................................................................................................................. 64

Gelfman v. Weeden Investors, L.P., 859 A.2d 89 (Del. Ch. 2004) ............................................. 71

Glorioso v. Police Dep’t of Burlington, 826 A.2d 271 (Conn. Super. Ct. 2003)......................... 68

Goldman v. Belden, 754 F.2d 1059 (2d Cir. 1985) .................................................................... 24

Gotham Partners, L.P. v. Hallwood Realty Partners, L.P., 817 A.2d 160 (Del. 2002)............... 85

Grace v. Morgan, No. Civ.A. 03C05260JEB, 2004 WL 26858 (Del. Super. Ct. Jan. 6,
   2004) .............................................................................................................................80, 81

Halperin v. eBanker USA.com, Inc., 295 F.3d 352 (2d Cir. 2002) ............................................. 24

Hanks v. Powder Ridge Rest. Corp., 885 A.2d 734 (Conn. 2005).............................................. 71

Hartford Fire Ins. Co. v. Leninski, No. CV970396097S, 2002 WL 31513608 (Conn.
   Super. Ct. Oct. 29, 2002) .................................................................................................... 77

Higazy v. Millennium Hotel & Resorts, CDL (NY) L.L.C., 346 F. Supp. 2d 430
   (S.D.N.Y. 2004).................................................................................................................. 97

Hunt v. Alliance N. Am. Gov’t Income Trust, Inc., 159 F.3d 723
(2d Cir. 1998) .......................................................................................................... 24, 28. 29, 30

In re Azurix Corp. Sec. Litig., 198 F. Supp. 2d 862 (S.D. Tex. 2002) ........................................ 41

In re Bigmar, Inc., No. Civ.A. 19289-NC, 2002 WL 550469 (Del. Ch. Apr. 5, 2002) ..........80, 86

In re Cencom Cable Income Partners, L.P. Litig., No. C.A. 14634, 2000 WL 130629
    (Del. Ch. Jan. 27, 2000) ...................................................................................................... 65

In re Citigroup, Inc. Sec. Litig., 330 F. Supp. 2d 367 (S.D.N.Y. 2004)...................................... 42




                                                                     vii
            Case 1:07-cv-02618-DAB Document 32 Filed 08/14/07 Page 9 of 113



In re Goldman Sachs Mut. Funds, No. 04 Civ. 2567, 2006 WL 126772 (S.D.N.Y. Jan.
    17, 2006) ............................................................................................................................ 61

In re Investors Funding Corp. of N.Y. Sec. Litig., 523 F. Supp. 533 (S.D.N.Y. 1980)................ 59

In re JP Morgan Chase Sec. Litig., 363 F. Supp. 2d 595 (S.D.N.Y. 2005) ................................ 42

In re Salomon Analyst Winstar Litig., No. 02 Civ. 6171, 2006 WL 510526 (S.D.N.Y.
    Feb. 28, 2006)..................................................................................................................... 24

In re Triarc Cos., 791 A.2d 872 (Del. Ch. 2001)....................................................................... 61

In re Walt Disney Co. Derivative Litig., 907 A.2d 693 (Del. Ch. 2005)..................................... 86

Ins. Co. of N. Am. v. Johnson, 959 F.2d 240 (1992) .................................................................. 94

Int’l Bus. Machs. Corp. v. Liberty Mut. Ins. Co., 363 F.3d 137 (2d Cir. 2004)......................45, 69

Internet Law Library, Inc. v. Southridge Capital Mgmt., L.L.C., 223 F. Supp. 2d 474
    (S.D.N.Y. 2002).............................................................................................................39, 49

Jaywyn Video Products, Ltd. v. Servicing All Media, Inc., 179 A.D.2d 397............................... 93

Kalnit v. Eichler, 85 F. Supp. 2d 232 (S.D.N.Y. 1999)............................................................ 100

Kalnit v. Eichler, 264 F.3d 131 (2d Cir. 2001) .......................................................................... 32

Katz v. Emmett, 641 N.Y.S.2d 131 (N.Y. App. Div. 1996)........................................................ 79

Keams v. Tempe Technical Inst., Inc., 993 F. Supp. 714 (D. Ariz. 1997)................................... 99

Kinsey v. Cendant Corp., No. 04 Civ. 0582, 2005 WL 1907678 (S.D.N.Y. Aug. 10,
   2005) .................................................................................................................................. 71

Klaxon Co. v. Stentor Elec. Mfg. Co., 313 U.S. 487 (1941)....................................................... 46

Kostiuk v. Queally, 267 A.2d 452 (Conn. 1970)........................................................................ 69

Kuczynski v. McLaughlin, 835 A.2d 150 (Del. Super. Ct. 2003)................................................ 74

Lasker v. N.Y. State Elec. & Gas Corp., 85 F.3d 55 (2d Cir. 1996)........................................... 41

Legatski v. Bethany Forest Assoc., Inc., No. 03C-10-011-RFS, 2006 WL 1229689
   (Del. Super. Ct. Apr. 28, 2006) .................................................................... 79, 81, 84, 85, 88

Luce v. Edelstein, 802 F.2d 49 (2d Cir. 1986) ....................................................................36, 100



                                                                    viii
           Case 1:07-cv-02618-DAB Document 32 Filed 08/14/07 Page 10 of 113




Madison Real Estate Immobbielien-Anlagegesellschaft Beschrankt Haftende KG v.
  Geno One Fin. Place L.P., No. Civ.A.1928-N, 2006 WL 456779 (Del. Ch. Feb. 22,
  2006) .................................................................................................................................. 81

Madison Realty Partners 7, L.L.C. v. AG ISA, L.L.C., No. CIV.A. 18094, 2001 WL
  406268 (Del. Ch. Apr. 17, 2001)......................................................................................... 77

Malone v. Brincat, 722 A.2d 5 (Del. 1998) ..........................................................................82, 88

Malpiede v. Townson, 780 A.2d 1075 (Del. 2001) .................................................................... 89

McMahon v. New Castle Assoc., 532 A.2d 601 (Del. Ch. 1987)................................................ 81

Metro. Commc'n Corp. BVI v. Advanced Mobilecomm Techs. Inc., 854 A.2d 121 (Del.
   2004) .................................................................................................................................. 88

Mfrs. Hanover Trust Co. v. Yanakas, 7 F.3d 310 (2d Cir. 1993)................................................ 22

Meyer v. Holley, 537 U.S. 280 (2003)....................................................................................... 98

Miller v. Am. Real Estate Partners, L.P., No. CIV.A.16788, 2001 WL 1045643 (Del.
   Ch. Sept. 6, 2002) ............................................................................................................... 85

Miller v. Lazard, Ltd., 473 F. Supp. 2d 571 (S.D.N.Y. 2007) ...............................................18, 33

Morse v. Weingarten, 777 F. Supp. 312 (S.D.N.Y. 1991).......................................................... 47

Muller-Paisner v. TIAA-CREF, 446 F. Supp. 2d 221 (S.D.N.Y. 2006)...................................... 35

Natural Res. Corp. v. Royal Res. Corp., 427 F. Supp. 880 (S.D.N.Y. 1977).............................. 46

Northrop v. Hoffman of Simsbury, Inc., 134 F.3d 41 (2d Cir. 1997) .......................................... 47

PaineWebber Inc. v. Bybyk, 81 F.3d 1193 (2d Cir. 1996) .......................................................... 94

Patton v. Simone, 626 A.2d 844 (Del. Super. Ct. 1992)............................................................. 75

People v. Toomey, 203 Cal. Rptr. 642 (Cal. Ct. App. 1984) .................................................97, 99

Quintel Corp. v. Citibank, N.A., 596 F. Supp. 797 (S.D.N.Y. 1984) .......................................... 20

Rahl v. Bande, 328 B.R. 387 (S.D.N.Y. 2005) .......................................................................... 88

Republic of Ecuador v. ChevronTexaco Corp., 376 F. Supp. 2d 334 (S.D.N.Y. 2005)............... 69




                                                                     ix
          Case 1:07-cv-02618-DAB Document 32 Filed 08/14/07 Page 11 of 113



Rombach v. Chang, 355 F.3d 164 (2d Cir. 2004) ...................................................................... 76

Ronan Assocs., Inc. v. Local 94094A-94B, 24 F.3d 447 (2d Cir. 1994)...................................... 94

Roselink Investors L.L.C. v. Shenkman, 386 F. Supp. 2d 209 (S.D.N.Y. 2004).......................... 47

Roth v. Jennings, 489 F.3d 499 (2d Cir. 2007) .....................................................................18, 50

Rozani v. Sanofi S.A., 899 F.2d 195 (2d Cir. 1990) ................................................................. 100

Sack v. Low, 478 F.2d 360 (2d Cir. 1973) ................................................................................. 46

San Leandro Emergency Med. Group Profit Sharing Plan v. Phillip Morris Cos., 75
   F.3d 801 (2d Cir. 1996)....................................................................................................... 41

Sempra Energy Trading Corp. v. Algoma Steel, Inc., No. 00 Civ. 9227 (GEL), 2001
   WL 282684 (S.D.N.Y. Mar. 22, 2001) ................................................................................ 95

Seybold v. Groenink, No. 06 Civ. 772, 2007 WL 737502 (S.D.N.Y. Mar. 12, 2007) ............70, 79

Shapiro v. Merrill Lynch, Pierce, Fenner & Smith, 495 F.2d 228 (2d Cir. 1974)....................... 20

Shaw v. Digital Equip. Corp., 82 F.3d 1194 (1st Cir. 1996) ..................................................... 36

Shields v. Citytrust Bancorp, Inc., 25 F.3d 1124 (2d Cir. 1994)................................................. 35

Small v. Fritz Cos., 132 Cal. Rptr. 2d 490 (Cal. 2003) .........................................................44, 45

Solar Cells, Inc. v. True N. Partners, L.L.C., No. Civ.A. 19477, 2002 WL 749163
   (Del. Ch. Apr. 25, 2002) ..................................................................................................... 80

Sommer v. Fed. Signal Corp., 593 N.E.2d 1365 (N.Y. 1992) .................................................... 71

Sonet v. Timber Co., L.P., 722 A.2d 319 (Del. Ch. 1998).......................................................... 87

Suez Equity Investors, L.P. v. Toronto-Dominion Bank, 250 F.3d 87 (2d Cir. 2001).................. 42

Tellabs, Inc. v. Makor Issues & Rights, Ltd., 127 S. Ct. 2499 (2007)...................................passim

Tempo Shain Corp. v. Bertek, Inc., 120 F.3d 16 (2d Cir. 1997) ................................................. 22

Tooley v. Donaldson, Lufkin, & Jenrette, Inc., 845 A.2d 1031 (Del. 2004).....................60, 61, 65

VGS, Inc. v. Castiel, No. C.A. 17995, 2000 WL 1277372 (Del. Ch. Aug. 31, 2000),
  aff'd, 781 A.2d 696 (Del. 2001)........................................................................................... 80




                                                                 x
          Case 1:07-cv-02618-DAB Document 32 Filed 08/14/07 Page 12 of 113



Ventres v. Goodspeed Airport, L.L.C., 881 A.2d 937 (Conn. 2005)......................................97, 99

Xerion Partners I L.L.C. v. Resurgence Asset Mgmt., L.L.C., 474 F. Supp. 2d 505
   (S.D.N.Y. 2007).......................................................................................................35, 36, 39

Zaro Licensing, Inc. v. Cinmar, Inc., 779 F. Supp. 276 (S.D.N.Y. 1991)................................... 92


                                          FEDERAL STATUTES

15 U.S.C. § 78u-4(b)(2) (2000)................................................................................................. 31

17 C.F.R. § 240.10b-5 (2007) ........................................................................................20, 21, 29

                                             FEDERAL RULES


Fed .R. Civ. P. 8(a)(2) (2006) ................................................................................................... 18

Fed. R. Civ. P. 15(a) (2006)..................................................................................................... 99

Fed. R. Civ. P. 9(b) (2006)...................................................................................................47, 88




                                                                 xi
       Case 1:07-cv-02618-DAB Document 32 Filed 08/14/07 Page 13 of 113




                                 PRELIMINARY STATEMENT

       In approximately 140 pages of briefing in support of five separate Motions to Dismiss1

SDCERA’s Complaint, none of the defendants, Amaranth Advisors L.L.C. (“Advisors”),

Nicholas M. Maounis (“Maounis”), Charles H. Winkler (“Winkler”), Robert W. Jones (“Jones”),

and Brian Hunter (“Hunter”), dispute the three central facts in this case: first, that prior to

SDCERA’s September 2005 investment of $175 million in Amaranth Partners LLC (“Amaranth”

or the “Fund”), Advisors, Maounis, Winkler, and Jones (together, the “Fraud Defendants”)

expressly portrayed the Fund as a multi-strategy, risk-managed investment that eschewed the

promise of “home run” returns from risky gambles in favor of modest gains achieved through

diversification, hedging and active risk management; second, that just one year later, in

September 2006, the Fund self-destructed, losing $6.6 billion dollars of its investors’ money in

an unprecedented and humiliating public meltdown because it had indeed chased after home-run

returns by gambling – and losing – the vast majority of its assets on long-shot, un-hedged bets in

the notoriously volatile natural gas futures markets; and third, that in the time between

SDCERA’s investment and the Fund’s collapse, the defendants repeatedly and specifically told

SDCERA that the Fund was not over-concentrated in energy investments, which they described

as both risk-controlled and ever-decreasing as a percentage of the Fund’s overall investments

across a well-managed and diversified portfolio.

       This case is thus not, as the defendants suggest, merely about an unhappy investor

looking for someone to blame. On the contrary, SDCERA was prepared to accept the general


1
  This Memorandum addresses only the defendants’ substantive arguments. Hunter’s
jurisdictional challenge is addressed in Plaintiff’s Memorandum in Opposition to Defendant
Brian Hunter’s Motion to Dismiss Complaint for Lack of Personal Jurisdiction.



                                                  1
       Case 1:07-cv-02618-DAB Document 32 Filed 08/14/07 Page 14 of 113



risks associated with investing, and even the specific risks of the Fund that were disclosed to it.

It justifiably relied, however, on the defendants’ express promises that these risks would be

actively managed, and more importantly, that as an investor in the Fund, it would not be exposed

to certain risks, particularly the very risk that ultimately brought down the fund, over-exposure of

the Fund’s portfolio to a single, high-risk, volatile investment. This case is thus about how and

why SDCERA’s investment was lost. As alleged in the Complaint, SDCERA’s investment in

the Fund would never have even occurred – and would certainly have been withdrawn – but for

the Fraud Defendants repeated misrepresentation of the Fund as risk managed, diversified, and

conservative. In reality, with Hunter’s complicit assistance, the Fund was nothing more than a

high-stakes, high-risk bet on a reckless strategy of total, un-hedged commitment to speculative

and highly-leveraged trades in a notoriously volatile commodity market. That is not the

investment that SDCERA signed up for, and its losses are a direct result of the defendants’ fraud,

recklessness, and other breaches of duties owed to SDCERA.

       Defendants’ Motions should be denied because they are each based on nothing more than

the exaggerated effects of manifestly inadequate risk disclosures and non-existent pleading

technicalities, none of which merits dismissal of SDCERA’s well-pled and meritorious claims.

       SDCERA’s Fraud Claims are Well-Pled

       Counts I and II of the Complaint assert causes of action for securities and common law

fraud, respectively, against the Fraud Defendants as a result of their making numerous material

misstatements and omissions by which SDCERA was induced to invest and remain an investor

in the Fund, including:

·   Maounis sold the Fund to SDCERA as a conservative investment offering reasonable returns
    from a multi-strategy portfolio. Diversification, hedging and other risk controls would offset
    the risks of each investment, and the Fund would avoid over-concentration of its assets in any
    one volatile investment or market. Similar representations were repeated after SDCERA’s



                                                 2
       Case 1:07-cv-02618-DAB Document 32 Filed 08/14/07 Page 15 of 113



    investment as well. Maounis, however, was actually approving the reckless concentration of
    the Fund’s assets in volatile natural gas futures, using the “home run” returns he was
    generating on paper to prop up the Fund’s lackluster performance, and allowing Hunter to
    continue the Fund’s risky, undisclosed gambles without any limits on his trading. (See, e.g.,
    Compl. at ¶¶ 41-44, 56-58, 60, 75)

·   Winkler was present for many of Maounis’ misrepresentations both before and after
    SDCERA’s investment, and either echoed or failed to contradict them. As Chief Operating
    Officer, Winkler had an active role in the Fund’s management and had approved the Fund’s
    reckless natural gas trading and the elimination of risk controls from the energy trading
    portfolio. Winkler, however, never disclosed that he knew the representations he, Maounis
    and others were making as to the Fund’s operation and its risk controls were materially false.
    (See, e.g., Compl. at ¶¶ 5, 7, 12, 13, 33, 41-43, 48, 49, 56, 57, 62, 66, 70, 78, 79, 98)

·   Jones, the Fund’s Chief Risk Officer, was also present for and echoed or was silent as to
    many of Maounis’ misrepresentations. Jones, like Winkler, was aware that the information
    concerning the Fund’s operations that was being presented to SDCERA was materially false.
    In addition, Jones never disclosed the elimination of the Fund’s usual risk controls on the
    energy trading portfolio, which he, himself, had recklessly, and expressly authorized. (See,
    e.g., Compl. at ¶¶ 60, 64-68, 70, 73, 78, 79, 98)

·   Advisors is responsible for each of the misrepresentations of its officers as described above,
    other oral misstatements by its personnel, and for the misstatements and omissions made in
    the 2 Private Placement Memoranda (“PPMs”)2 provided to SDCERA and in other related
    documents. Chief among these are express commitments to use meaningful risk controls,
    including at a minimum, diversification and hedging, in order to prevent over-concentration
    of the Fund’s assets in volatile investments. Advisors, however, had already expressly
    abandoned diversification and risk control, and had allowed the Fund’s reckless
    concentration in natural gas futures. (See, e.g., Compl. at ¶¶ 33-37, 71, 79)

       Each of the defendants ignore the limited effect of the risk disclosures that were made to

SDCERA, given the context in which they were made. Read alongside the Fraud Defendants’

contemporaneous statements assuring risk management and diversification in the Fund,

SDCERA cannot reasonably be said to have been notified of the risk of the defendants’


2
  Copies of both the March 2003 PPM (“2003 PPM”) and January 2006 PPM (“2006 PPM”) are
attached as Ex. A and B, respectively to the Affidavit of Christina Burgos filed herewith
(“Burgos Aff.”). Both documents as well as others attached as exhibits thereto, were exhibits to
Advisors’s Mem. and were also referenced in the Complaint (Burgos Aff. Ex. K). The Court
may thus consider these documents without converting Defendants’ motions into motions for
summary judgment. See Chambers v. Time Warner, Inc., 282 F.3d 147, 152-53 (2d Cir. 2003).



                                                 3
       Case 1:07-cv-02618-DAB Document 32 Filed 08/14/07 Page 16 of 113



fraudulent and reckless conduct. To the contrary, both PPMs expressly represented that

Advisors simply would not allow over-concentration in volatile futures to the point that a single

market’s temporary movement could bring down the Fund. SDCERA’s reliance on each of the

material misrepresentations made by Maounis, Winkler, Jones and Advisors was justified.

       The Complaint alleges the misrepresentations themselves, and the facts from which a

strong inference of scienter can be drawn, with requisite particularity. Maounis, Winkler, Jones

and Advisors are each alleged to have made at least one specific, material misstatement or

omission on at least one specific occasion, and to have had personal knowledge of the falseness

of the statement or of the need to correct a false material statement or impression conveyed to

SDCERA. There is also no merit in the defendants’ choice-of law arguments as to SDCERA’s

common law fraud claims, all of which are actionable under any applicable State law.

       None of the Counts of the Complaint Assert Derivative Claims

       Counts III, V, VI and VIII of the Complaint allege claims for gross negligence (against

all defendants) breach of fiduciary duty (against the Fraud Defendants) and aiding and abetting

breach of fiduciary duty (agains Hunter, Winkler, and Jones). Contrary to defendants’

assertions, these causes of action are not derivative claims (i.e., alleging injury to and seeking

recovery on behalf of the Fund, not SDCERA, individually). The Complaint alleges that specific

misrepresentations were made to SDCERA, and that the resulting injuries were also

demonstrably particular to SDCERA, and were separate and apart from any injury to Fund, itself.

Under such circumstances, the law is clear that SDCERA has standing to bring individual, direct

claims against the defendants. Moreover, both the nature of SDCERA’s particular claims, as

well as the structure of the Fund itself, allow injuries to pass through the Fund and impact

SDCERA as an individual victim and real party in interest.




                                                  4
       Case 1:07-cv-02618-DAB Document 32 Filed 08/14/07 Page 17 of 113




       Neither Connecticut Law nor Defective Risk Disclosures
       Merit Dismissal of SDCERA’s Gross Negligence Claims

       SDCERA’s gross negligence claims (Counts III and VIII) arise out of the Fraud

Defendants’ reckless mismanagement of the Fund, and Hunter’s own reckless trading.

Defendants again incorrectly assert these claims are governed and barred by Connecticut law.

Connecticut allows plaintiffs to assert both gross negligence claims as well as claims for a

defendant’s wanton or reckless breach of duty. As such, the conduct alleged in Counts III and

VIII of the Complaint is just as actionable under Connecticut law as it is under the laws of New

York, California or Delaware. Should Connecticut law be applied to these claims, SDCERA is

still entitled to the benefit of all reasonable inferences capable of being drawn from the facts of

its Complaint, and its otherwise well-pled claim should not be dismissed. Similar inferences

drawn from the Complaint also negate the contention that these claims are barred by the

“economic loss doctrine.” Read as a whole, the Complaint alleges the defendants’ reckless

trading began at least as early as SDCERA’s due diligence on the investment, i.e., before any

contract existed on which an application of the doctrine could be predicated.

       Advisors, Maounis, Winkler and Jones Breached Their Fiduciary Duties

       Count V of the Complaint alleges that each of the Fraud Defendants also breached

fiduciary duties owed to SDCERA as an investor-member of the Fund. Maounis, himself, said it

best during a presentation to SDCERA’s board on July 21, 2005: “We have a fiduciary

responsibility to our investors[.]” (Compl. At ¶ 44). Under the governing Delaware law, that

fiduciary responsibility specifically includes a duty of complete candor owed by Advisors and its

officers (including Maounis, Winkler and Jones). Each of the Fraud Defendants breached this

duty, as well as duties of care and good faith when they concealed from SDCERA the true extent




                                                  5
       Case 1:07-cv-02618-DAB Document 32 Filed 08/14/07 Page 18 of 113



of the Fund’s reliance upon long-shot gambles and risky speculation in one of the most volatile

markets in existence. Neither the defective risk disclosures in the PPMs, the similarly obtuse

monthly performance updates sent to investors, nor any other disclosure or provision of any

document disclaimed these duties or put SDCERA on notice that they were being breached.

       Winkler, Jones and Hunter also Aided and Abetted Breaches of Fiduciary Duty

       Count VI of the Complaint alleges that Hunter, Winkler and Jones aided and abetted the

particular breaches of fiduciary duties committed by Advisors and Maounis. Advisors was the

designated Fund manager and Maounis controlled Advisors. By diverting Fund assets to Hunter

for use in his reckless trading schemes and concealing the same from SDCERA, Maounis and

Advisors breached their fiduciary duties of candor, care and good faith. As Advisors’s Chief

Risk Officer, however, Jones was complicit in allowing Hunter’s wild speculation to swallow the

Fund whole. Similarly, as Advisors’s Chief Operating Officer, Winkler was expressly privy to

the Fund’s operations and specifically aware of Hunter’s reckless trading and Maounis’

sanctioning of it. Through their silence and complicity, they are guilty of aiding and abetting

Maounis’ and Advisors’s breaches, as is Hunter, who’s reckless speculation was the direct

source of the Fund’s collapse.

       Advisors is Estopped from Denying it Breached its Contractual Obligations

       Count IV of the Complaint asserts that Advisors also breached contractual obligations to

SDCERA through its mismanagement of the Fund. Advisors is a party to the LLC Agreement,

which incorporates both the Subscription Agreement and 2003 PPM by reference.

Independently, however, Advisors is also bound to the terms of the Subscription Agreement –

including the representations made in the 2003 PPM, which was incorporated therein by

reference – by virtue of being an intended beneficiary of the Agreement. Advisors specifically




                                                 6
       Case 1:07-cv-02618-DAB Document 32 Filed 08/14/07 Page 19 of 113



breached its obligation to SDCERA, as expressly defined in the 2003 PPM, to employ

appropriate risk controls in its management of the Fund, and to prevent the Fund’s over-

concentration in any particular volatile investment.

       Advisors, Maounis, Winkler and Jones are Vicariously Liable for Hunter’s Torts

       Count VII asserts claims for vicarious liability as to the Fraud Defendants, who are each

personally responsible for Hunter’s gross negligence. Advisors – Hunter’s employer – is, of

course liable for damages caused by his torts committed in the scope of his employment.

Maounis, Winkler and Jones, however, because of their direct involvement and complicity in

Hunter’s torts may, by virtue of supervisory culpability, also be held liable for the consequences

of Hunter’s gross negligence.

                                   STATEMENT OF FACTS

       In September 2006, Amaranth collapsed after losing over $6 billion worth of value as a

result of its reckless accumulation of untradable positions in the notoriously risky and volatile

natural gas futures markets. (Compl. at ¶ 4.) SDCERA was one of many investors who watched

as millions of dollars of their investments abruptly disappeared in what was, to date, one of the

largest implosions ever of a hedge fund. (Compl. at ¶ 23.) Large as it was, the reasons for the

Fund’s collapse were surprisingly simple. Beginning in 2005, Advisors, as Manager of the Fund,

had allowed its lead energy trader, defendant Brian Hunter, to make increasingly larger and

riskier bets on the difference between the price of natural gas futures in two given months (the

“spread”). (Compl. at ¶¶ 58, 61-62.) When the notoriously volatile natural gas futures market

temporarily shifted unfavorably, Hunter’s positions were by then so large, leveraged, and so

utterly unprotected by risk management controls, that the Fund could not settle its losses without

liquidating its remaining assets. (Compl. at ¶¶ 52, 87.)

       The Fund collapsed in September 2006 for four reasons in particular:


                                                 7
       Case 1:07-cv-02618-DAB Document 32 Filed 08/14/07 Page 20 of 113



       Hunter’s gambles didn’t pay off. Natural gas prices temporarily turned against the

positions Hunter had taken for the Fund in early September 2006, prompting margin calls from

the lenders which had financed Advisors’s highly leveraged trading. (Compl. at ¶ 85.)

       Hunter’s gambles were enormous. Hunter traded so heavily that Advisors was directed

by the New York Mercantile Exchange (“NYMEX”) to reduce the number of contracts it held

pursuant to Commodity Futures Trading Commission (“CFTC”) volume limitations. (Compl. at

¶¶ 55-59, 83.) Volume, however, was Hunter’s goal: he was manipulating the spread price by

executing large trades, using volume swings of his own making to trick the market into moving.

(Compl. at ¶ 63.) Rather than reduce Advisors’s positions, Hunter shifted his trades to the

unregulated ICE exchange, where he could trade without being noticed. (Compl. at ¶ 83.) When

the market turned, Advisors owned so many natural gas positions that it effectively was the

market, and there were no buyers for its rapidly devaluing contracts. (Compl. at ¶81.)

       Hunter’s trades were highly leveraged. Mounting losses and margin calls dried up

Advisors’s access to capital. (Compl. at ¶¶ 87-88.) Hunter could no longer trick the market with

volume trades, so the value of Advisors’s positions continued to slide. (Compl. at ¶ 87.)

       The risks of Hunter’s trading were not controlled. Hunter’s trading was made

possible by the other defendants’ waiver of the Fund’s risk management policies. Jones

personally allowed Hunter to trade without adhering to risk controls imposed on other Fund

portfolios. (Compl. at ¶¶ 65-66.) Maounis and Winkler’s diversion of the Fund’s assets to

Hunter ignored diversification, allowed over-concentration of the Fund’s assets in a volatile

market, and bet the Fund’s future on the natural gas market spread. (Compl. at ¶¶ 87-88.)

       For SDCERA, the collapse of the fund was particularly shocking, not only because of the

amount of its investment, but because the defendants expressly induced its investment by




                                                8
       Case 1:07-cv-02618-DAB Document 32 Filed 08/14/07 Page 21 of 113



promising that these very conditions would not be allowed to exist under their management.

       Defendants’ Initial Oral Misrepresentations

       In or about January 2005, SDCERA’s investment advisor, Rocaton Advisors, L.L.C.

(“Rocaton”) recommended that it invest in the Fund. (Compl. at ¶ 39.) Rocaton informed

SDCERA that Advisors representatives stated, among other things, that:

·   Advisors’s risk management team, including defendant Jones, actively managed the Fund’s
    investment strategies, both at the multi-strategy and individual strategy level;

·   The Fund was operated as a multi-strategy, diversified hedge fund with an emphasis on
    investing in strategies that offered the best balance of opportunity and risk control;

·   Risk management was an integral component of capital allocation decision-making, with all
    such decisions begin made within will-defined risk parameters, including that strategies that
    exceed a predetermined risk budget for the fund will be de-funded as necessary.

(Compl. at ¶¶ 39, 40.)

       Each such statement was false and known to be false by the defendants when made.

(Compl. at ¶¶ 4, 7.) Specifically, beginning no later than 2005, the Fund was being run as a de

facto single-strategy natural gas fund, placing billions of dollars at risk in highly volatile markets

without having the represented risk controls in place. (Compl. at ¶¶ 7-8, 13-16.)

       Further misrepresentations followed. In March 2005, SDCERA’s representatives

traveled to Advisors’s offices in Connecticut to continue SDCERA’s due diligence review of the

Fund. (Compl. at ¶41.) Defendants Maounis, Winkler and Jones each met with SDCERA and

each repeated many of the same misrepresentations previously made to Rocaton. (Compl. at ¶¶

41-42.) In particular, Maounis, Winkler and Jones each told SDCERA that the Fund used a

diversified, multi-strategy investment approach combined with the proactive participation of the

risk management team working with the Fund’s portfolio managers as two of the principal means

of managing the Fund’s overall exposure to investment risk. (Compl. at ¶¶ 42-43.)

       These portrayals of the risk management characteristics of the Fund were known by each


                                                  9
       Case 1:07-cv-02618-DAB Document 32 Filed 08/14/07 Page 22 of 113



of the Fraud Defendants then to be inaccurate. (Compl. at ¶¶ 4, 7, 13-16.) Hunter had already

been hired at the time of this meeting, and had already begun – with the knowledge and consent

of the Fraud Defendants, his reckless and uncontrolled spread trading. (Compl. at ¶¶ 47-48.)

       The Fraud Defendants also omitted material information at the March 2005 meeting.

SDCERA’s representatives were neither introduced to nor told anything about Hunter. (Compl.

at ¶¶ 42, 48-49.) The Fraud Defendants’ failure to disclose Hunter’s employment by Advisors

was a material omission since Hunter’s background was directly relevant to the level of risk

faced by potential Fund investors. In particular, only months prior to his 2004 arrival at

Advisors, Hunter was demoted by his former employer Deutsche Bank, and his year-end bonus

withheld, after Hunter’s energy trading group lost $51.2 million during a single week in

December 2003. (Compl. at ¶ 46.)

       Advisors and SDCERA next met on July 21, 2005 when Maounis spoke to SDCERA’s

Board of Trustees. (Compl. at ¶¶ 5, 44.) Again, Maounis emphasized risk management,

conservative strategies, and diversification as reasons why SDCERA should invest in the Fund:

     What [the Board] should be looking for in managers are multi-strategy managers.
     . . .The most important thing for us is really to minimize the downside. . . . We don’t
     want to hit home runs, we want to get singles and doubles. So we want to
     minimize that downside. . . . It’s not okay to lose money in the year. And that’s
     really what we try to do. . . . We’re targeting high-single digit to low double digit
     returns with small volatility. That’s what we’re targeting.

     (Compl. at ¶ 44.) (emphasis added)

       Maounis concluded his presentation by assuring SDCERA’s Board that “we have a

fiduciary responsibility to our investors.” (Compl. at ¶ 44.)

       Maounis’s statements to the SDCERA Board were false and misleading. (Compl. at ¶¶ 4,

7-8, 13-16.) By no later than April 2005, Maounis was already relying upon Hunter’s reckless

trades to prop up the Fund’s overall weaknesses. (Compl. at ¶ 47.) Pitching the fund as he did,



                                                10
         Case 1:07-cv-02618-DAB Document 32 Filed 08/14/07 Page 23 of 113



all the while knowing the extent to which its profits came from reckless and uncontrolled trading

in the most volatile and speculative of commodities, was materially misleading.

         Defendants’ Written Misrepresentations in the Fund Documents

         In reliance on these misrepresentations, and on the Amaranth Partners L.L.C.

Subscription Agreement (“Subscription Agreement”),3 the 2003 PPM, and the Amaranth

Partners LLC Amended and Restated Limited Liability Company Agreement (“LLC Agree-

ment”), the most current version of which as of September 2005 was the Fourth Amended and

Restated Limited Liability Company Agreement (“Fourth LLC Agreement”),4 (together, the

“Fund Documents”), SDCERA invested $175 million in the Fund. (Compl. at ¶ 50.)

         While the Fund Documents contained a variety of risk disclosures, and affirmations of

investment management discretion delegated to Advisors and its personnel, each such provision

was expressly qualified by the Fund Documents’ descriptions of its risk management policies,

which portrayed the Fund as a materially different – and far safer investment than SDCERA was

actually making. Specifically, the 2003 PPM repeated the same or similar false promises of

diversification as a primary tool for achieving risk management that were initially made by the

Fraud Defendants. (Compl. at ¶¶ 34-37.) The most prominent misrepresentation appeared under

the sub-heading, “Risk Management” (emphasis original):

        Risk management is integral to the Manager’s goal of identifying investment
        opportunities having superior risk/reward parameters. Accordingly, the Manager
        seeks to continuously monitor the risk parameters and expected volatility of the
        Fund’s overall portfolio and attempts to prevent over-concentration of the




3
    Burgos Aff., Ex. C.
4
 Burgos Aff., Ex. D. The Fifth Amended and Restated Limited Liability Company Agreement
dated January 31, 2006 (“Fifth LLC Agreement”) is Ex. E to the Burgos Aff.



                                                11
       Case 1:07-cv-02618-DAB Document 32 Filed 08/14/07 Page 24 of 113



     portfolio in any particular investment asset, strategy or market. However, the
     Manager does not, in general, attempt to hedge all market or other risks inherent in
     the Fund’s portfolio, and hedges certain risks, if at all, only partially. Specifically,
     the Manager may determine that it is economically unattractive or otherwise
     undesirable to hedge certain risks (either with respect to particular positions or the
     Fund’s overall portfolio) and instead rely on diversification to control such risks.

Burgos Aff., Ex. A at p. 12 (emphasis added, italics original).

       This clause was materially misleading. When SDCERA received the 2003 PPM,

defendants were already allowing Hunter to trade without any risk controls. (Compl. at ¶¶ 64-

65.) Moreover, far from the continuous monitoring of volatility and risk promised, the

defendants were actually encouraging concentration of the Funds’ assets in volatile energy

markets. (Compl. at ¶¶ 56-58, 66.) Finally, the clause falsely states that Advisors will use either

hedging or diversification for risk management. Jones, however, was already willfully excluding

Hunter’s trading from all risk controls, while Maounis, Winkler and Jones were actively

encouraging the Fund’s over-accumulation of natural gas spread positions, and providing Hunter

with the capital and leverage to build recklessly large trading positions. (Id.)

       Each of Advisors’s expressions of risk control colored the context of every risk

disclosure made to SDCERA. Combined with the defendants’ promises of risk management,

volatility monitoring, and the prevention of over-concentration, these disclosures actually

reinforced the Defendants’ commitment to maintaining a balanced portfolio in order to avoid the

risk of concentration in a single, volatile investment. (Compl. at ¶ 35.)

       Defendants’ Post-Investment Misrepresentations

       The defendants further duped SDCERA into leaving its capital investment within the

Fund, ultimately to its serious detriment when the Fund collapsed. (Compl. at ¶¶ 85-94.) In

October 2005, Advisors sent a letter, signed by Maounis, to the Fund’s investors purporting to

describe the Fund’s September 2005 performance. See Amaranth September 2005 Update



                                                 12
          Case 1:07-cv-02618-DAB Document 32 Filed 08/14/07 Page 25 of 113



(“September 2005 Update”).5 The September 2005 Update listed energy trading as one of many

Fund strategies. It gave no indication of the potential these investments had to completely

destabilize the Fund. Id. Moreover, on October 10, 2005, during a conference call between

Advisors and Rocaton, Advisors stated capital allocated to energy trading would be reduced,

further reinforcing the perception of a limited role for these investments in the Fund. (Compl. at

¶ 55.) These statements were materially false and misleading. The promised reduction never

happened, and the defendants were at that time increasing the capital at Hunter’s disposal. (Id.)

         The Amaranth October 2005 Update (“October 2005 Update”)6 also buried discussion of

energy trading in the middle of several paragraphs describing the performance of other

investments. Id. As to energy trading, the Update discussed a loss due to “extreme volatility in

the natural gas, power, crude, and energy stock markets,” but indicated that in light of this

volatility, the Fund would take a cautious approach to future energy trading thus again expressly

reinforcing the impression that the Fund was well insulated from destabilizing risks. Id. These

statements (and omissions as to the Fund’s true exposure to such risks) were false and

misleading and known to be so by each of the defendants. (Compl. at ¶¶ 56-58, 66.)

         In January 2006, the Fund released the 2006 PPM, which reinforced the overall

impression that risk management was an integral and continuously monitored part of this multi-

strategy fund. In particular, the 2006 PPM again emphasized Advisors’s use of risk controls in

its fund management, such as limiting the Fund’s exposure to volatility and over-concentration

by employing diversification and hedging. Significantly, the language in the 2006 PPM’s “Risk

Management” section was almost entirely unchanged from that found in the 2003 PPM. The


5
    Burgos Aff., Ex. F.
6
    Burgos Aff., Ex. G.



                                                 13
          Case 1:07-cv-02618-DAB Document 32 Filed 08/14/07 Page 26 of 113



overall pattern of the document remained as well, i.e. its reservation of investment discretion to

Advisors, its description of generic and specific risks, and its commitment to risk adjusted

returns and risk management. Compare Burgos Aff, Ex. A with Ex. B. Energy trading was

mentioned in both the new and old PPMs, but so were many other strategies. Id. The 2006 PPM

was thus materially misleading for the same reasons as its predecessor.

          Defendants March 29, 2006 email from Advisors’s Steven Johnson to the Fund’s

investors was also misleading.7 It announced that Harry Arora, Advisors’s portfolio manager for

energy trading, “decided to leave Amaranth last night,” and would be replaced by Hunter.

(Compl. at ¶ 69.) No mention was made, however, of the fact that Mr. Arora’s departure was

related to his and other risk management personnel’s disapproval of Hunter’s trading. (Compl. at

¶ 70.) Nor was Hunter’s Deutsche Bank background discussed, i.e., his enormous energy trading

losses. (Id.) These were material omissions, since this information would have directly

impacted SDCERA’s overall risk assessment of the Fund, particularly its exposure to risky

energy trading.

          In late-May 2006, SDCERA’s received the statement of its own Fund account for the

month of April 2006 (“April Statement”), which revealed that in April, alone, the Fund’s value

had increased more than 13%.8 (Compl. at ¶ 71.) SDCERA called Advisors’s Johnson on June

2, 2006 to voice concerns about the amount of the increase. (Id.) Johnson attempted to allay

SDCERA’s concerns by stating that Advisors was having the Fund cash out of its energy

positions to reduce risk, and would “move conservatively to capitalize the risk of the positions on

[the Fund’s] books.” (Id.) These reassurances were mirrored by Maounis’ own reassuring


7
    Burgos Aff., Ex. H.
8
    Burgos Aff., Ex. I.



                                                14
          Case 1:07-cv-02618-DAB Document 32 Filed 08/14/07 Page 27 of 113



statements in the April 2006 Update, received in mid-May by Rocaton.9

          Advisors, Maounis, Winkler and Jones each made similar statements or omissions during

a call with Rocaton on June 7, 2006, less than two weeks before what would be the last deadline

for SDCERA to withdraw its capital before the Fund’s collapse, and in the May 2006 Update,10

received by SDCERA and Rocaton after the withdrawal notice deadline had already passed. The

defendants explained the May losses, saying that there had been an “unprecedented” dry-up in

liquidity in the natural gas market in the final two weeks of the month while Advisors was

attempting to unwind its natural gas spreads; that the relationship between natural gas and fuel

oil inverted as had never happened before; that as a result, Advisors had significantly

recalibrated its risk models to incorporate these developments; and that Advisors would be

reducing its notional energy exposure by approximately 50%. (Compl. at ¶ 73.)

          All of the June 2006 statements were false and misleading and known to be so when

made. (Compl. at ¶¶ 71, 74-75.) As of June 30, 2006, Advisors had actually increased its energy

trading positions to the point where it had 56% (or $4.76 billion) of its capital allocated to energy

trading. (Compl. at ¶ 75.) The Fraud Defendants were each aware of this fact, yet none of them

informed SDCERA. (Compl. at ¶¶ 74 – 76.) Finally, these misrepresentations perpetuated the

false impression of the Fund as a multi-strategy, risk-controlled fund that avoided volatility and

concentration in particular markets. (Compl. at ¶ 77.) SDCERA justifiably relied on each of the

Fraud Defendants’ misrepresentations up through the June 16 capital withdrawal deadline, and

thus retained its investment in the Fund. (Compl. at ¶ 77.)




9
    Burgos Aff., Ex. J.
10
     Burgos Aff., Ex. K.



                                                 15
        Case 1:07-cv-02618-DAB Document 32 Filed 08/14/07 Page 28 of 113



       Defendants’ Misrepresentations on the Eve of the Fund’s Collapse

       By the end of June, Hunter’s trading positions were so large, they had become illiquid –

there was simply no exit for the Fund from its positions. (Compl. at ¶ 75.) Faced with the need

to raise cash but unable to liquidate Hunter’s energy trades, Advisors, at the direction of

Maounis, Winkler and Jones, sold off other investments, thereby decreasing diversification

further, and increasing the Fund’s exposure to Hunter’s reckless trades. (Compl. at ¶ 75.) Then,

on an August 10, 2006 call with Rocaton, the Fraud Defendants falsely represented that Advisors

had dramatically reduced the Fund’s notional exposure and previously increased capital support

of Advisors’s energy strategies. (Compl. at ¶ 78.) The Fraud Defendants each also maintained

that Advisors’s risk management personnel had spent significant time investigating the proper

size of its positions in the natural gas market. (Id.)

       On August 14, 2006, after the mid-August collapse of an unrelated hedge fund that traded

in natural gas, SDCERA contacted Advisors’s Johnson to ask about the Fund’s natural gas

investments. (Compl. at ¶ 79.) Johnson again falsely reassured SDCERA that there was no

cause for concern. (Id.) In particular, Johnson stated that the Fund’s energy portfolio was ably

managed and that Advisors was reducing the Fund’s energy exposure. (Id.) Finally, Johnson

described the volatility of the Fund’s existing gas positions as controlled, and that the Fund was

“long in the wings,” hedge fund jargon for adequately hedged. (Id.) Maounis echoed these

statements in the July 2006 Update, which Rocaton received on August 18, and in which

Maounis similarly described the Fund’s supposed “reposition[ing] of our [natural gas] holdings,”

and “targeting [of] a smaller allocation for natural gas in the future.” (Compl. at ¶ 80.)

       The Fraud Defendants had in fact allowed the Fund to invest in far riskier positions than

those expressed or implied by their representations. (Compl. at ¶ 81.) Hunter’s energy trades




                                                  16
       Case 1:07-cv-02618-DAB Document 32 Filed 08/14/07 Page 29 of 113



had increased, not decreased, and had not been properly hedged. (Compl. at ¶ 81.) Jones

expressly waived any such risk controls for Hunter’s trades, and this waiver was authorized by

Maounis and approved of by Winkler. (Compl. at ¶¶ 56-58, 66.) Finally, the Fund was no

longer in a position to decrease the size of its energy portfolio – the Fund was the market, there

were no counterparties, and Hunter’s positions had thus become illiquid. (Compl. at ¶ 81.)

       SDCERA’s Damages

       SDCERA had relied on the misrepresentations of the defendants in initially investing

with the Fund, and later, in electing to remain invested in the Fund. Following the Fund’s

collapse, on September 18, 2006, SDCERA issued a written request for full redemption of its

capital. (Compl. at ¶ 89.) The Fund’s losses continued to mount, however, as Advisors and the

other defendants continued to grapple with the illiquidity of Hunter’s portfolio. (Compl. at ¶ 90.)

On September 29, 2006, after finding distress buyers for Hunter’s entire natural gas portfolio,

Advisors announced to the Fund’s investors that all redemption requests payable on September

30 and October 31 – including SDCERA’s – were “temporarily suspended.” (Compl. at ¶ 94.)

To date, SDCERA’s redemption requests have not been honored in full, and SDCERA has lost

nearly two-thirds of its original $175 million investment. (Id.)


                                          ARGUMENT

I.     THE APPLICABLE LEGAL STANDARDS

       A.      Regardless Of The Claim, The Court Must Accept As True All Factual
               Allegations In SDCERA’s Complaint

       Defendants move to dismiss SDCERA’s complaint under Rule 12(b)(6) of the Federal

Rules of Civil Procedure (“FRCP”) for failure to state a claim. In ruling on defendants’ motions,

the Court must employ two different standards of review to determine if SDCERA’s claims

survive dismissal. First, the Court must evaluate SDCERA’s claims for gross negligence, breach


                                                17
       Case 1:07-cv-02618-DAB Document 32 Filed 08/14/07 Page 30 of 113



of contract, breach of fiduciary duty, aiding and abetting breach of fiduciary duty, and vicarious

liability against defendants under FRCP 8(a)(2), which simply requires, as discussed further

below, that SDCERA provide a “plain statement” of its claim alleging plausible grounds for

entitlement to relief. Bell Atl. Corp. v. Twombly, 127 S. Ct. 1955, 1965-66 (2007). On the other

hand, to test the sufficiency of SDCERA’s securities law and common-law fraud claims against

the Fraud Defendants, the Court must find that SDCERA has satisfied the heightened pleading

standards of FRCP 9(b) and the Private Securities Litigation Reform Act of 1995 (“PSLRA”),

also discussed below. Miller v. Lazard, Ltd., 473 F. Supp. 2d 571, 580 (S.D.N.Y. 2007).

       Regardless of the type of claim and its corresponding legal standard on a motion to

dismiss, however, the Court in its analysis must accept all of the factual allegations in

SDCERA’s complaint as true. See Tellabs, Inc. v. Makor Issues & Rights, Ltd., 127 S. Ct. 2499,

2509 (2007); Roth v. Jennings, 489 F.3d 499 (2d Cir. 2007). Furthermore, the Court must

consider SDCERA’s complaint in its entirety, as well as any other sources ordinarily examined

when ruling on a motion to dismiss, including documents referred to in the Complaint. Tellabs,

127 S. Ct. at 2509; Roth, 489 F.3d at 509.

       B.      For Its Non-Fraud Claims, SDCERA Need Only Allege Facts Establishing
               Plausible Grounds For Relief

       FRCP 8 requires SDCERA to provide “a short and plain statement of [its] claim”

establishing that it is entitled to relief. Fed .R. Civ. P. 8(a)(2). This statement need only provide

Defendants with fair notice of the claims and their bases. See Erickson v. Pardus, 127 S. Ct.

2197, 2200 (2007) . SDCERA’s Complaint must provide “factual allegations sufficient ‘to raise

a right to relief above the speculative level.’” ATSI Commc’ns, Inc. v. Shaar Fund, Ltd., Nos.

05-5132-cv, 05-2593-cv, 2007 WL 1989336, at *5 (2d Cir. July 11, 2007) (quoting Twombly,

127 S. Ct. at 1965). Accordingly, to survive dismissal, SDCERA must be found to have alleged



                                                 18
       Case 1:07-cv-02618-DAB Document 32 Filed 08/14/07 Page 31 of 113



“enough facts to state a claim to relief that is plausible on its face.” See Twombly, 127 S. Ct. at

1974. While allegations giving rise to mere speculation and possibility are insufficient, a

complaint alleging facts raising a reasonable expectation that discovery will reveal evidence

supporting plaintiff’s claims will survive a motion to dismiss. See id. at 1965.

       The Complaint provides defendants with fair notice of its claims and their grounds.

SDCERA has thus met its pleading burdens as to its claims for gross negligence, breach of

contract, breach of fiduciary duty, aiding and abetting of fiduciary duty, and vicarious liability.

       C.      SDCERA’s Fraud Claims Must Meet The Heightened Pleading Standards Of
               FRCP 9(b) And PSLRA

       On a motion to dismiss for failure to state a claim, the sufficiency of SDCERA’s fraud

allegations must meet the requirements of FRCP 9(b), while the securities fraud allegations must

also comply with the PSLRA. See ATSI Commc’ns, 2007 WL 1989336, at *6. Under FRCP

9(b), SDCERA must plead both fraud causes of action with particularity, meaning that it must

“(1) specify the statements that the plaintiff contends were fraudulent, (2) identify the speaker,

(3) state where and when the statements were made, and (4) explain why the statements were

fraudulent.” ATSI Commc’ns, 2007 WL 1989336, at *6.

       Likewise, SDCERA’s Complaint must also fulfill the heightened pleading standards of

the PSLRA. Id. Under these standards, SDCERA must “(1) ‘specify each statement alleged to

have been misleading [and] the reason or reasons why the statement is misleading,’ and (2) ‘state

with particularity facts giving rise to a strong inference that the defendant acted with the required

state of mind.’” Tellabs, 127 S. Ct. at 2508; ATSI Commc’ns, 2007 WL 1989336, at *6. To

satisfy a “strong inference” of scienter, SDCERA must allege facts showing that the Fraud

Defendants had the motive and opportunity to commit fraud, or that there is strong circumstantial

evidence of conscious misbehavior or recklessness. Id. In determining whether SDCERA has



                                                 19
       Case 1:07-cv-02618-DAB Document 32 Filed 08/14/07 Page 32 of 113



satisfied this requirement, the Court must consider “all of the facts alleged, taken collectively” –

not just any one allegation in isolation. Tellabs, 127 S. Ct. at 2509. While the Court must take

into account plausible opposing inferences in its determination, where, as here, a plaintiff has

provided a cogent inference of scienter, at least as compelling as any opposing inference that

could be drawn, the complaint will survive a motion to dismiss. Id. at 2509-10.

       While the PSLRA requires SDCERA to meet its heightened standards, private securities

actions under the PSLRA remain “‘an indispensable tool with which defrauded investors can

recover their losses’ – a matter crucial to the integrity of domestic capital markets.” Tellabs, 127

S. Ct. at 2508 n.4 (emphasis added). Indeed, the very purpose of Section 10(b) and Rule 10b-5 is

“to protect the investing public and to secure fair dealing in the securities markets by promoting

full disclosure of inside information so that an informed judgment can be made by all investors

who trade in such markets.” Shapiro v. Merrill Lynch, Pierce, Fenner & Smith, 495 F.2d 228,

235 (2d Cir. 1974) (emphasis added). These protections adhere not only to the unsophisticated

investor, but also to the sophisticated investor. Quintel Corp. v. Citibank, N.A., 596 F. Supp.

797, 801 (S.D.N.Y. 1984).

       As to each of its securities and common-law fraud claims, SDCERA has specified the

fraudulent statement at issue, identified its speaker or sponsor, provided the time and place of the

statement, and explained why the statement was fraudulent. See, infra, Section II(C).

Furthermore, SDCERA has alleged sufficient facts from which a strong inference of scienter

may be derived, namely both motive and opportunity, and recklessness. See, infra, Section II(B).

II.    SDCERA’S COMPLAINT STATES CLAIMS AGAINST THE FRAUD
       DEFENDANTS FOR VIOLATIONS OF SECTION 10(B) OF THE SECURITIES
       EXCHANGE ACT OF 1934 AND SEC RULE 10B-5 (COUNT I)

       Under Section 10(b) of the Securities Exchange Act of 1934, it is unlawful to “use or

employ, in connection with the purchase or sale of any security . . . any manipulative or


                                                 20
       Case 1:07-cv-02618-DAB Document 32 Filed 08/14/07 Page 33 of 113



deceptive device or contrivance in contravention of such rules and regulations as the [Securities

and Exchange Commission (“SEC”)] may prescribe[.]” 15 U.S.C. § 78j(b) (2000). In

accordance with Section 10(b), Securities Exchange Commission (“SEC”) Rule 10b-5

promulgated thereunder declares it unlawful, among other things, “[t]o make any untrue

statement of a material fact or to omit to state a material fact necessary in order to make the

statements made . . . not misleading.” 17 C.F.R. § 240.10b-5 (2007).

       The elements that a plaintiff must allege in order to assert a claim for securities fraud are

that the defendant (1) made a “material misrepresentation or omission” (2) with “scienter,” i.e.,

with intent or recklessness, (3) “a connection with the purchase or sale of a security,” which was

(4) relied on by the plaintiff, who (5) suffered an economic loss, which was (6) caused by the

allegedly fraudulent misrepresentation or omission. Dura Pharms., Inc. v. Broudo, 544 U.S.

336, 341 (2005).

       The Fraud Defendants’ motions each challenge the sufficiency of SDCERA’s

Complaint’s allegations of justified reliance, materiality, and scienter, as well as the particularity

with which the misrepresentations themselves are pled.11 The Fraud Defendants also seek to

escape liability by mischaracterizing SDCERA’s securities fraud claim as being premised solely

upon allegations of “corporate mismanagement.” In each case, however, the Fraud Defendants’

arguments are premised on distortions of the actual allegations of the Complaint and provide no

basis for dismissing Count I.




11
        None of the Fraud Defendants challenges the sufficiency of the Complaint’s allegations
as to loss causation or that the misrepresentations or omissions alleged were in conjunction with
the sale or purchase of a security.



                                                  21
       Case 1:07-cv-02618-DAB Document 32 Filed 08/14/07 Page 34 of 113



       A.      SDCERA’s Justified Reliance And Materiality Allegations Are Unaffected
               By The Risk Disclosures In The 2003 PPM And the Subscription Agreement

       SDCERA’s Complaint contains numerous allegations of justified reliance on the Fraud

Defendants’ misrepresentations as to the multi-strategy nature of the Fund and its use of risk

controls, including the utilization of investment diversification as a primary tool to minimize the

portfolio’s overall volatility and risk. (See, e.g., Compl. ¶¶ 17, 36, 50, 71, 74, 77.) The Fraud

Defendants contend, however, that any justified reliance on the identified pre-investment

misrepresentations was precluded by the merger clauses, risk disclosures, and managerial

discretion clauses present in the 2003 PPM and the Subscription Agreement. See Advisors’s

Mem. at pp. 12-19; Maounis’s Mem. at pp. 15-17; Winkler’s Mem. at p. 2; Jones’s Mem. at pp.

12-14. When viewed within the larger context of the Fund Documents and the Fraud

Defendants’ oral representations to SDCERA, however, these clauses simply did not apprise

SDCERA of the true nature of the Fund, which was a much riskier and vastly different enterprise

than such clauses conveyed. See Emergent Capital Inv. Mgmt., L.L.C. v. Stonepath Group, Inc.,

343 F.3d 189, 197 (2d Cir. 2003) (whether plaintiff has pled reasonable reliance element of

securities fraud cause of action must be assessed in light of the context of the entire transaction).

                       1.      The So-Called “Non-Reliance” Clauses of the 2003 PPM Do
                               Not Preclude SDCERA’s Justified Reliance On The Fraud
                               Defendants’ Misrepresentations

       Clauses that generally disavow reliance on extra-contractual sources (so-called “non-

reliance” clauses) are ordinarily unenforceable against a plaintiff, such as SDCERA, alleging that

it was fraudulently induced to enter into the agreement at issue. See Tempo Shain Corp. v.

Bertek, Inc., 120 F.3d 16, 21 (2d Cir. 1997) (holding that a general merger clause does not

preclude parol testimony where a claim is based on fraud in the inducement). Such clauses will

only be held to bar a claim for fraud in the inducement where they are accompanied by “explicit



                                                 22
       Case 1:07-cv-02618-DAB Document 32 Filed 08/14/07 Page 35 of 113



disclaimers of the particular representations that form the basis of the fraud-in-the-inducement

claim.” Mfrs. Hanover Trust Co. v. Yanakas, 7 F.3d 310, 316 (2d Cir. 1993).

       In this case, SDCERA has alleged that it was fraudulently induced to invest in the Fund

by the Fraud Defendants’ misrepresentations that the Fund employed a multi-strategy investment

approach and other risk controls to minimize the portfolio’s overall potential for loss. (Compl. ¶

97.) Nothing in either the 2003 PPM or the Subscription Agreement constitutes an “explicit

disclaimer” of liability for these particular misrepresentations. On the contrary, these

misrepresentations are echoed throughout the 2003 PPM in a series of clauses that affirm the

Fraud Defendants’ obligations to attempt to minimize volatility and over-concentration of the

Fund’s investments, and to do so by employing a wide variety of investment strategies in a wide

variety of investment asset classes and markets. (See, e.g., id. at ¶ 35 (quoting from the 2003

PPM, i.e., “The Fund is a multi-strategy price investment company that employs a diverse group

of trading strategies . . . . Risk management is integral to the Manager’s goal[, and] the manager

seeks to continuously monitor the risk parameters and expected volatility of the Fund’s overall

portfolio and attempts to prevent over-concentration of the portfolio in any particular asset,

strategy or market.”).)

       In other words, far from disclaiming the particular pre-contractual misstatements alleged

by SDCERA in this case, the 2003 PPM restates and supports them. Consequently, SDCERA’s

justified reliance on the Fraud Defendants’ misrepresentations made before its investment in the

Fund is not precluded by the “non-reliance” clauses identified by the Fraud Defendants.

                          2.   The Fraud Defendants’ Material Misrepresentations Are Not
                               Shielded By The “Bespeaks Caution” Doctrine

       The materiality of an alleged misrepresentation is a question of fact and thus not

ordinarily appropriate for adjudication on a Rule 12(b)(6) motion to dismiss. See Allen v.



                                                23
         Case 1:07-cv-02618-DAB Document 32 Filed 08/14/07 Page 36 of 113



Westpoint-Pepperell, Inc., 945 F.2d 40, 45 (2d Cir. 1991) (reversing district court’s

determination that misrepresentation was immaterial because “[u]nder New York Law, [a]s a

general rule, it presents a question of fact for the jury to determine whether [a nondisclosure] was

a material one or not” (internal quotes omitted)) (quoting Chiodo v. Garramone, 175 N.Y.S.2d

490, 492 (N.Y. Sup. Ct. 1958)). Only when an alleged misrepresentation is “so obviously

unimportant . . . that reasonable minds could not differ on the question of [its] importance,” can

a 12(b)(6) dismissal be granted for failure to plead the materiality of a misrepresentation. Id.

(quoting Goldman v. Belden, 754 F.2d 1059, 1067 (2d Cir. 1985). See also Halperin v. eBanker

USA.com, Inc., 295 F.3d 352, 357 (2d Cir. 2002) (misrepresentation is material “if there is a

substantial likelihood that a reasonable person would consider it important in deciding whether

to buy or sell [securities]”) (quoting Azrielli v. Cohen Law Offices, 21 F.3d 512, 518 (2d Cir.

1994).

         The “bespeaks caution doctrine” only permits adjudication of the materiality of a

misstatement at the pleading stage where “the cautionary language [of the relevant investment

documents] explicitly warns of or directly relates to the risk that brought about a plaintiff’s loss.”

In re Salomon Analyst Winstar Litig., No. 02 Civ. 6171, 2006 WL 510526 at *11 (S.D.N.Y. Feb.

28, 2006). Even where the investment documents contain extensive cautionary language,

dismissal of an alleged securities fraud claim for lack of materiality is not permitted if “it warned

investors of a different contingency than that which plaintiffs allege was misrepresented.” Hunt

v. Alliance N. Am. Gov’t Income Trust, Inc., 159 F.3d 723, 729 (2d Cir. 1998).

         Defendants correctly note that the “touchstone” of the “bespeaks caution” inquiry is

“whether defendants’ representations or omissions, considered together and in context, would

affect the total mix of information and thereby mislead a reasonable investor regarding the nature




                                                 24
       Case 1:07-cv-02618-DAB Document 32 Filed 08/14/07 Page 37 of 113



of the securities offered.” Halperin, 295 F.3d at 357 (emphasis added). Defendants’ argument,

however, merely plucks cautionary statements from the 2003 PPM, analyzes each in isolation,

and ignores their collective meaning in the larger context of the Fund Documents. Defendants’

cannot rely on this narrow exception to the presumption of truth that SDCERA’s allegations are

entitled to, as they mischaracterize the misstatements alleged in the Complaint, which were

unrelated to any of the risk disclosures defendants seek to hide behind.

                       a.      The 2003 PPM Expressly Limits The Fraud
                               Defendants’ Supposedly Unqualified Discretion.

       The Fraud Defendants ignore crucial qualifying language included in the 2003 PPM

under the heading “No Formal Diversification Policies,” in particular, that the Manager’s

supposedly unfettered investment discretion will be exercised in a manner “consistent with the

Fund’s investment objective.” Burgos Aff., Ex. A at pp. 29-30 (emphasis added by Advisors,

see Advisors’s Mem. at p. 3, n. 5). The 2003 PPM expressly defines the “Fund’s investment

objective” under a centered, capitalized and bold-faced heading, “THE FUND’S

INVESTMENT OBJECTIVE AND STRATEGIES,” and the sub-heading, “Investment

Objective”: “The Fund’s investment objective is to achieve superior risk-adjusted returns.” Id.

at p. 8 (heading emphasis original, underlining added).

       And while the Fund Documents, as the Fraud Defendants indicate, state in several places

that the Defendants are not subject to any specific limitations on their investment discretion (see

e.g., Advisors Mem. at p. 15 (quoting 2003 PPM statement that “[t]he Fund does not and will not

maintain any fixed requirements for diversifying its portfolio . . .”) (underlining original,

boldface added)), such pronouncements are expressly and implicitly qualified by clauses

affirmatively promising meaningful risk management, which the 2003 PPM expressly describes

under the heading “THE FUND’S INVESTMENT OBJECTIVE AND STRATEGIES” and



                                                 25
       Case 1:07-cv-02618-DAB Document 32 Filed 08/14/07 Page 38 of 113



the sub-heading, “Risk Management” (emphasis in original):

     Risk management is integral to the Manager’s goal of identifying investment
     opportunities having superior risk/reward parameters. Accordingly, the Manager
     seeks to continuously monitor the risk parameters and expected volatility of the
     Fund’s overall portfolio and attempts to prevent over-concentration of the portfolio in
     any particular investment asset, strategy or market. However, the Manager does not,
     in general, attempt to hedge all market or other risks inherent in the Fund’s portfolio,
     and hedges certain risks, if at all, only partially. Specifically, the Manager may
     determine that it is economically unattractive or otherwise undesirable to hedge
     certain risks (either with respect to particular positions or the Fund’s overall
     portfolio) and instead rely on diversification to control such risks.

     By investing in the Fund, subscribers are relying on the discretionary, market
     judgment of the Manager, trading in a wide range of strategies and markets, without
     being subject to diversification, leverage or any other form of trading policies.

       Burgos Aff., Ex. A at p. 12 (italics original).

       The 2003 PPM thus describes “risk management” as an “integral” part of meeting the

Fund’s objective, and lists specific strategies that Advisors claimed it employed in pursuit of this

objective, namely, (a) continuous monitoring of risk and volatility in the portfolio; (b)

diversification; (c) attempts to prevent asset over-concentration; and, (d) where appropriate,

hedging strategies.

       The only reasonable interpretation of the italicized language (and similar discretionary

language elsewhere in the Fund Documents) is that the Manager is not subject to any specific

trading limitations (such as a rule that the Fund portfolio must always be made up of a minimum

of six distinct investments in no less than four separate markets). This interpretation is consistent

with the language under the “No Formal Diversification Policies” heading relied on by

defendants, which merely states that the Fund is not subject to any “fixed requirements for

diversifying its portfolio among issuers, industries, instruments, markets or strategies” (emphasis

added), not that the fund may abandon risk-management or diversification altogether. Neither

paragraph, nor similar language elsewhere in the 2003 PPM, allows the Manager to abandon



                                                 26
        Case 1:07-cv-02618-DAB Document 32 Filed 08/14/07 Page 39 of 113



meaningful (i.e., risk managing) diversification, which it has expressly promised to engage in as

part of its attempts to meet the “Fund’s investment objective.”

       These limits on defendants’ supposedly limitless investment discretion are bolstered

further by the express fundamental description of the Fund as “a multi-strategy private

investment company that employs a diverse group of trading strategies,” and which “does not

focus on, nor is its trading limited to, any geographic area, industry sector, issuer credit rating or

issuer market capitalization level.” Burgos Aff., Ex. A at p. 8. Such representations mirrored

those made by the Fraud Defendants to SDCERA and its agent in order to induce SDCERA’s

investment in the Fund. They serve only to reinforce the specific promise made in the “Risk

Management” clause that Advisors would employ diversification and monitoring to reduce

volatility, prevent over-concentration of the Fund’s assets in any one strategy, and achieve the

Fund’s objective of superior risk adjusted returns.

       The express and implied promise that the Fund was being and would continue to be

operated with meaningful, risk-controlling diversification was similarly reinforced by the pages

of disclosures as to the particular risks of individual strategies and investments. See id. at pp. 19-

33. Presumably these myriad risks are the reason Maounis told SDCERA they should invest in a

diversified multi strategy fund in the first place, since diversification would decrease the risk that

volatility or risk in one particular market could trounce the whole portfolio. See id. at 12 (noting

diversification is integral to preventing over-concentration of the portfolio in any particular

investment). As such, although there is no dispute that the 2003 PPM informed SDCERA of

certain risks, general and specific, the overall impression formed from the entirety of the 2003

PPM is that because of these risks, the Fraud Defendants would maintain diversification in the

portfolio and steer clear of destabilizing concentrations of assets in volatile securities.




                                                  27
       Case 1:07-cv-02618-DAB Document 32 Filed 08/14/07 Page 40 of 113



                       b.      The Picture Of The Fund Painted By The 2003 PPM
                               Was Materially Different From The Reality Of Its
                               Operation.

       The Fraud Defendants fundamentally mischaracterize SDCERA’s allegations as to why

the 2003 PPM was misleading. See Advisors’s Mem. at p. 12. Read as a whole, the Complaint

alleges that both the 2003 PPM and the statements made by the Fraud Defendants prior to its

execution included express representations that the Fund would take very specific steps to limit

its exposure to two threats in particular: over-concentration and volatility. SDCERA has not

alleged that defendants are liable for securities fraud merely because they invested in speculative

or volatile instruments or markets after representing that it was not their policy to do so. Rather,

SDCERA has alleged that the Fraud Defendants expressly created the expectation that they

would operate the Fund as a “multi-strategy fund,” meaning that if in their discretion, they

decided an investment in such products was prudent, the risk of such investment would be

expressly counterbalanced by appropriate risk controls, which at a minimum meant either

hedging strategies or meaningful diversification. As Defendant Maounis said, the Fund was

supposedly “not trying to hit home runs.” Compl. at ¶ 44. SDCERA has alleged that the

performance of the Fund in the very first month it became an investor (the best single month in

the Fund’s history, a home run if there ever was one) proves that the oral and written

representations it received to this effect were untrue when made to SDCERA: the Fund was

already being operated in a manner contrary to the reasonable expectations created by these

statements. (Compl. at ¶55.)

       In a case with striking factual similarities to the present case, the Second Circuit held that

the “bespeaks caution doctrine” was inapplicable where the investment documents created the

express impression that particular risk management strategies would be used by an investment

fund which the defendants knew or should have known were not in fact being used. See Hunt,


                                                 28
       Case 1:07-cv-02618-DAB Document 32 Filed 08/14/07 Page 41 of 113



159 F.3d 723. In Hunt, plaintiffs invested in a mutual fund formed to invest in securities

guaranteed by various foreign governments. Id. at 724. Following a devaluation of the Mexican

Peso that caused a drastic decrease in the fund’s value, plaintiffs sued the fund and its managers

for violations of Section 10(b) and Rule 10b-5. Among other alleged misrepresentations,

plaintiffs alleged that the fund’s prospectus did not adequately disclose the risks of the

investment since it “misleadingly stated that the Fund manager intended to use hedging

techniques to reduce currency risk when the defendants knew (or recklessly disregarded) that, as

a practical matter, the Fund could not use hedging techniques to protect against currency

fluctuations.” Id. at 724-25. The District Court granted the defendants’ motion to dismiss the

complaint and denied plaintiff leave to replead, holding as to plaintiffs’ hedging/risk disclosure

claims that, “in combination with the other warnings contained in the prospectus, a reasonable

investor should have been fully apprised of the risks that the Fund would be unable to effectively

hedge its foreign investments,” and as such, “due to the explicit warnings of such devices’

possible unavailability and ineffectiveness, any misstatements or omissions were immaterial as a

matter of law.” Id. at 726-27.

       On appeal, the Second Circuit reversed this determination, finding that the disclosures did

not, in fact, “bespeak caution,” since “[t]he cautionary language contained in the prospectus . . .

warned investors of a different contingency than that which plaintiffs allege was

misrepresented.” Id., at 729. Specifically, the Second Circuit held:




                                                 29
       Case 1:07-cv-02618-DAB Document 32 Filed 08/14/07 Page 42 of 113



     The prospectu[s] warned that the Fund’s hedging maneuvers might fail, not that the
     Fund would have no opportunity to use hedging maneuvers. Plaintiffs allege the
     prospectuses were misleading as to the latter. That the prospectuses disclosed the
     possible inefficacy of hedges does not shield the Fund from liability for
     misrepresenting the availability of hedging opportunities. According to plaintiff’s
     theory, investors who trusted the astuteness of the Fund’s managers would be
     reassured as to their ability to reduce risk through hedging, notwithstanding the
     warning that their hedging efforts might be foiled, whereas in truth, according to the
     Amended Complaint, the Fund would have no opportunity to reduce the risk of
     currency fluctuation by hedging.

Hunt, 159 F.3d at 729 (emphasis added).

       Just as in Hunt, the 2003 PPM contains a variety of risk disclosures and disclaimers as to

the particular risks involved with investing, generally, and with particular strategies and

investments they might choose to individually undertake. See Burgos Aff., Ex. A at pp. 19-33.

Even more so than in Hunt, however, the disclosure of these specific risks reinforced the

impression created by the 2003 PPM that they would be specifically and carefully managed in a

way that they were obviously not. It does not, however, disclose (a) the risk that defendants

might choose to abandon risk controls as to a particular investment (as the Complaint alleges was

the case with Hunter’s trades); (b) the risk that they might abandon both diversification and

hedging as strategies to mitigate the risk to the rest of the Fund from any particular investment;

and (c) the risk that they would undertake an investment for which risk controls were, in fact, not

even possible, since Hunter’s strategy employed rendered Advisors’s positions completely

illiquid and thus utterly exposed to market fluctuations. SDCERA’s claim bears especially

strong resemblance to Hunt in light of this last point, since the crux of the court’s decision in

Hunt was the advertisement of risk controls as a soothing palliative, when in reality, the nature of

the investment made the employment of risk controls impossible. Hunt, 159 F.3d at 729.

       As an example, the 2003 PPM notes that it might invest in “energy-based financial

instruments,” which are traded in markets that “may expose the Fund to unusually volatile



                                                 30
       Case 1:07-cv-02618-DAB Document 32 Filed 08/14/07 Page 43 of 113



returns and illiquidity.” Burgos Aff., Ex. A at p. 27. Aware as the Defendants obviously were of

the risks of these instruments – particularly volatility and illiquidity – the 2003 PPM makes

abundantly clear that no reasonable investor could have expected that they would invest so

heavily in them that the realization of the risks inherent in the investment would materially alter

the Fund’s fortunes one way or another – boom or bust. The reasonable expectation created by

the 2003 PPM (and, of course, by the statements to the same effect made to SDCERA and its

representatives prior to its execution) is that the Fund would simply not expose itself to these

risks at the levels that it was already doing at the time SDCERA was induced to invest. That is

the misrepresentation alleged by the Complaint, and there was no disclosure in the Fund

Documents or elsewhere of the risk that the defendants would disregard their stated investment

objective and risk management goals, which the Complaint alleges was the case. (Compl. at ¶

7.)

       B.      SDCERA’s Complaint Alleges Facts Supporting A Strong Inference That
               Each Of The Fraud Defendants Acted With Scienter

       To plead a cause of action for securities fraud, a plaintiff must also allege “facts

evidencing scienter, i.e., the defendant’s intention to deceive, manipulate, or defraud.” Tellabs,

127 S. Ct. at 2504 (internal quotes omitted). Under the PSLRA, such facts must “giv[e] rise to a

strong inference that the defendant acted with the required state of mind.” 15 U.S.C. § 78u-

4(b)(2) (2000).

       In its most recent examination of the PSLRA, the Supreme Court held that facts give rise

to a “strong inference” when the inference of scienter is “cogent and at least as compelling as

any opposing inference of nonfraudulent intent.” Tellabs, 127 S. Ct. at 2505. While the “at least

as compelling” standard presents a higher pleading burden than the traditional Rule 12(b)(6) “all

reasonable inferences” standard of review, a plaintiff need not prove scienter at the pleading



                                                 31
       Case 1:07-cv-02618-DAB Document 32 Filed 08/14/07 Page 44 of 113



stage, or even allege facts from which scienter may be deemed a probable conclusion. Id. (“The

inference . . . need not be irrefutable, i.e., of the ‘smoking-gun’ genre, or even the ‘most

plausible of competing inferences.’”) (quoting Fidel v. Farley, 392 F.3d 220, 227 (6th Cir.

2004)). Rather, the allegations must only give rise to an inference of scienter that is not less

compelling than any competing explanation. SDCERA has alleged numerous facts that together

easily meet its pleading burden as to each of the Fraud Defendants.

                       1.      SDCERA’s Complaint Contains Allegations Of Improper
                               Motive That Give Rise To A Strong Inference Of Scienter

       The Fraud Defendants claim that SDCERA has failed to sufficiently allege that they

possessed a motive to commit securities fraud from which an inference of scienter can be drawn.

See Advisors’s Mem. at pp. 20-21; Maounis’s Mem. at pp. 12-13; Winkler’s Mem. at pp. 5-6;

Jones’s Mem. at pp. 15. Each Fraud Defendant, however, relies on the same mischaracterization

of the Second Circuit’s decision in Kalnit v. Eichler, 264 F.3d 131 (2d Cir. 2001), i.e., that

motive cannot be alleged through allegations of personal financial benefit. In fact, as the

Supreme Court expressly acknowledged in Tellabs, “personal financial gain may weigh heavily

in favor of a scienter inference.” Tellabs, 127 S. Ct. at 2511 (emphasis added).

       Accordingly, the Complaint properly alleges scienter through allegations that each of the

Fraud Defendants derived very large, individual, financial benefits from their fraudulent

misstatements. For example, the Complaint alleges that Advisors paid itself a 20 percent

performance fee on the early “profits” made by the Fund as a result of Hunter’s risky trading

strategy, and that bonuses were awarded to Maounis, Winkler, and Jones in conjunction with

their operation of the Fund. (Compl. ¶ 7.) SDCERA also alleges that Advisors was using

Hunter’s larger profits to “scalp advisory fees on illusory mark to market ‘profits.’” (Id. at ¶ 63.)

Thus, the Complaint adequately alleges concrete benefits derived by each of the Fraud



                                                 32
       Case 1:07-cv-02618-DAB Document 32 Filed 08/14/07 Page 45 of 113



Defendants as a result of their misrepresentations that induced SDCERA’s $175 million

investment, which the Fraud Defendants used in their undisclosed scheme of making ever larger,

high stakes bets on volatile energy markets. (Id.)

       Moreover, the Complaint alleges that the Fraud Defendants were also motivated to keep

SDCERA’s investment dollars in the Fund in order to allow the Fund to continue to report high

“paper” profits, which defendants, in turn, used to “scalp advisory fees.” (Id. at ¶¶ 7, 63.)

Specifically, the Complaint alleges that

     because Hunter was buying so many of the [natural gas] contracts, the large spread
     price was supported, even increased, by Hunter’s purchases, resulting in Advisors
     reporting huge paper profits for the Fund. . . . [And] because Hunter’s positions were
     heavily leveraged, the prices could only be supported as long as the Fund’s lenders
     were willing to lend the Fund money to buy the contracts. When the financing was
     no longer available, Hunter could no longer prop up the price of his spread trades
     through additional purchases, and the market would inevitably collapse, which is
     exactly what happened in September 2006.

(Id. at ¶ 63.) In essence, without funding, including SDCERA’s capital investment, the Fraud

Defendants would not be able to reap the personal financial benefits that motivated them to

defraud SDCERA in the first place. The inference of scienter from all of these facts is strong, as

the Fraud Defendants’ motives of personal gain is “cogent and at least as compelling as any

opposing inference of nonfraudulent intent.” Tellabs, 127 S. Ct. at 2505.

                       2.      The Complaint Contains Allegations Of the Defendants’
                               Recklessness That Also Give Rise to a Strong Inference of
                               Scienter

       In addition to alleging personal financial benefits as a motive to defraud, a plaintiff may

plead scienter by alleging that a defendant acted recklessly. Miller, 473 F. Supp. 2d at 581.

Allegations of recklessness give rise to a strong inference of scienter when they allege that a

defendant’s conduct was “highly unreasonable” and “represent[ed] an extreme departure from

the standards of ordinary care to the extent that the danger was either known to the defendant or



                                                 33
       Case 1:07-cv-02618-DAB Document 32 Filed 08/14/07 Page 46 of 113



so obvious that the defendant must have been aware of it.” Id. (citing In re Carter-Wallace, Inc.

Sec. Litig., 220 F.3d 36, 39 (2d Cir. 2000)). SDCERA’s Complaint is rife with such allegations.

       The Complaint alleges that beginning prior to or when SDCERA was first solicited to

invest in the Fund, the Fund was already trading in an uncontrolled manner contrary to how the

Fraud Defendants represented to SDCERA that it was and would be run. (Compl. ¶¶ 7

(“[b]eginning in 2005, the Fund . . . was being run, either intentionally or negligently,12 as a de

facto single-strategy natural gas fund, placing billions of dollars at risk in highly volatile markets

and with no exit strategy”), 8 (“[b]eginning in 2005 . . . defendants staked out enormous,

undisclosed, and extremely risky positions in the natural gas commodity trading markets”.)13

       The Complaint also contains precise allegations as to each Fraud Defendant’s knowledge

of the falsity of their representations to SDCERA and the materiality of their omissions at the

time that they were made. For example, the Complaint alleges that Advisors, Maounis, Winkler,

and Jones were each aware – and, in fact, were affirmatively and repeatedly warned by

Advisors’s own risk management department – of the unjustifiable risks that were being taken by

Hunter, but Maounis, Winkler, and Jones overrode and/or ignored the warnings. (Id. at ¶¶ 15,

62, 66, 70.)

       Moreover, defendants’ trading strategies relied upon Hunter’s deceptive and

unsustainable manipulation of the market, as expressly approved by each of the Fraud


12
        Contrary to Maounis’s suggestion, this use of the word “negligently” has no impact on
SDCERA’s allegations of recklessness. See Maounis’s Mem. at p. 13. Not only does the
paragraph allege intentional misconduct, which Maounis does not contest is sufficient, but the
sufficiency of SDCERA’s recklessness allegations must be judged based on the context of the
entire complaint, not based on a single word. Tellabs, 127 S. Ct. at 2509.
13
        Thus, Advisors, Maounis, and Winkler are mistaken that SDCERA’s Complaint lacks
allegations of recklessness prior to September 1, 2005, when SDCERA made its investment in
the Fund. See Advisors’s Mem. at p. 21; Maounis’s Mem. at p. 13; Winkler’s Mem. at p. 7.



                                                 34
        Case 1:07-cv-02618-DAB Document 32 Filed 08/14/07 Page 47 of 113



Defendants. (Id. at ¶ 63.) There is no question that market manipulation is “highly

unreasonable, representing an extreme departure from the standards of ordinary care.” Muller-

Paisner v. TIAA-CREF, 446 F. Supp. 2d 221, 228 (S.D.N.Y. 2006) (Batts, J.). See ATSI

Commc’ns, 2007 WL 1989336, at *7 (market manipulation is specifically prohibited by Section

10(b)). Therefore, SDCERA’s Complaint contains sufficient allegations of recklessness that

give rise to a strong inference of scienter.14

        C.      SDCERA’s Securities Fraud Claims Are Pled With Particularity

        The PSLRA requires both the facts of the misrepresentation itself and the facts from

which the inference of scienter are to be drawn to be stated with particularity. Tellabs, 127 S. Ct.

at 2508. Nonetheless, the particularity requirement of the PSLRA “does not require plaintiffs to

plead ‘every single fact upon which their beliefs concerning false or misleading statements are

based.’” Xerion Partners I L.L.C. v. Resurgence Asset Mgmt., L.L.C., 474 F. Supp. 2d 505, 516

(S.D.N.Y. 2007) (quoting Shields v. Citytrust Bancorp, Inc., 25 F.3d 1124, 1128 (2d Cir.

1994)).15 Rather, the facts alleged in the complaint must simply be “‘sufficient to support a




14
        Advisors’s argument that the risk disclosures contained in the 2003 PPM preclude
SDCERA from asserting pre-investment recklessness (see Advisors’s Mem. at p. 21, n. 35)
suffers from the same deficiencies discussed above with respect to the elements of justified
reliance and materiality. See discussion, supra, at Section II(A).
15
        Jones is incorrect that under Xerion, “plaintiffs, like SDCERA, who allege that
defendants had access to contrary facts at the time they made allegedly misleading statements or
omissions ‘must specifically identify the report or statements containing this information.’”
Jones’s Mem. at p. 10. A plaintiff’s only burden is to state facts “sufficient to support a
reasonable belief as to the misleading nature of the statement or omission.” Xerion, 474 F. Supp.
2d at 516 (citing PSLRA, 15 U.S.C. § 78u-4(b)(1) (2000)). In Xerion, the Court only relied on
cases concerning particularity within the context of the release of contradictory information in
subsequent reports because the alleged misstatement in that case regarded information released
in an earlier report that was then contradicted in a subsequent one. Id. Here, however,
SDCERA’s allegations have nothing to do with the subsequent release of information in any
                                                                                      (continued…)


                                                 35
       Case 1:07-cv-02618-DAB Document 32 Filed 08/14/07 Page 48 of 113



reasonable belief as to the misleading nature of the statement or omission.’” Id. (quoting Shields,

25 F.3d at 1128).

       Advisors, Winkler, and Jones challenge SDCERA’s Complaint as lacking the requisite

particularity for failure to disclose the basis for its allegations made “on information and belief”

(see Advisors’s Mem. at pp. 21-23; Winkler’s Mem. at p. 2; Jones’s Mem. at p. 10), while

Maounis, Winkler, and Jones each claim that SDCERA’s Complaint does not identify specific

misrepresentations made by each of them individually, and that certain misrepresentations

asserted in the Complaint cannot satisfy the particularity burden because they are allegations of

“group” statements. See Maounis’s Mem. at pp. 7-8; Winkler’s Mem. at pp. 3-4; Jones’s Mem.

at pp. 11-12. Each of these criticisms of the Complaint, however, is mistaken, and SDCERA’s

Complaint does meet the heightened pleading standards of the PSLRA.

                       1.      The Bases For SDCERA’s Allegations Made “On Information
                               And Belief” Are Expressly Set Forth In, Or Reasonably
                               Inferred From, The Complaint

       Advisors, Winkler, and Jones overstate the law concerning the standards for pleading

with particularity in attacking the Complaint’s allegations made “on information and belief.”

Allegations of fraud can be based “upon information and belief” where such matters are

“peculiarly within the opposing party’s knowledge.” Luce v. Edelstein, 802 F.2d 49, 54 (2d Cir.

1986). While Advisors, Winkler, and Jones are not wrong that a complaint stating allegations

made “on information and belief” must also state with particularity the factual basis upon which

that belief is founded, courts “cannot hold plaintiffs to a standard that would effectively require

them, pre-discovery, to plead evidence.” Shaw v. Digital Equip. Corp., 82 F.3d 1194, 1225 (1st

(continued)
document; on the contrary, SDCERA alleges that all of the Fraud Defendants concealed their
misstatements until the very end when they were exposed upon the Fund’s collapse.



                                                 36
       Case 1:07-cv-02618-DAB Document 32 Filed 08/14/07 Page 49 of 113



Cir. 1996).16 “At the early stages of litigation,” therefore, the strict pleading burdens of the

PSLRA are generally relaxed as to allegations concerning facts solely within the knowledge of

another party. ATSI Commc’ns, Inc., 2007 WL 1989336, at *8. Further, in assessing

particularity, the Court must still “consider the complaint in its entirety” and not scrutinize

individual allegations in isolation. Tellabs, 127 S. Ct. at 2509.

       Advisors, Winkler, and Jones argue that paragraphs 9, 11-12, 14-15, 37, 39-41, 46-47, 51,

56-58, 60, 63-67, 71, 74-75, 78, and 83 of SDCERA’s Complaint are alleged “on information

and belief” without stating with particularity the facts on which such belief is based. (See

Advisors’s Mem. at pp. 22-23.) The basis for each of these allegations, however, is either

expressly stated or reasonably inferred from the Complaint, as follows:

       ·   The allegations made “on information and belief” in paragraphs 39, 40-41, 51, 75,
           and 78 concern the Fraud Defendants’ representations to or meetings with
           SDCERA’s agent, Rocaton. Therefore, the basis for these allegations is obviously
           SDCERA’s communications with Rocaton, a fact easily inferred from SDCERA’s
           allegation that Rocaton was SDCERA’s agent charged with identifying suitable
           investment opportunities. Moreover, because SDCERA was not on these calls, their
           actual content is within the knowledge of Defendants. (Compl. ¶ 38.)

       ·   The allegations made “on information and belief” in paragraphs 47 and 58 are
           statistics, and the paragraphs expressly mention the magazine articles from which
           they were taken. Paragraph 9 also references statistics, and although they are without
           attribution in that paragraph, the same statistics are discussed in paragraph 59, where
           they are attributed to Industrial Energy Consumers of America. Similarly, the
           allegations in paragraph 83 relate to NYMEX’s warnings to Advisors, and it may be
           reasonably inferred that the source of this information is NYMEX itself or news
           reports or magazine articles reporting the same.



16
       Advisors’s assertion that the Complaint’s allegations about the Fund’s lack of risk
management and controls are “conclusory” is absurd. Advisors’s Mem. at p. 22. The Fund’s
collapse due to its well-publicized over-investment in these volatile securities and the absence of
buyers to permit a market based exit strategy necessarily implies a failure of diversification,
hedging, or other controls to mitigate the impact on the Fund as a whole from these risky
investments.



                                                 37
       Case 1:07-cv-02618-DAB Document 32 Filed 08/14/07 Page 50 of 113



       ·   The allegations made “on information and belief” in paragraphs 9, 11-12, 14, 37, 60,
           63, 65, and 74-75 concern the circumstances leading to the collapse of the Fund,
           circumstances which are – pending discovery – within the peculiar knowledge of
           defendants. It can reasonably be inferred from the Complaint, when read in its
           entirety, that the basis for these allegations is the Fund’s own announcements of its
           collapse and public reports concerning it. The Complaint alleges particular defects in
           the trading behavior of defendants which SDCERA contends caused the Fund’s
           collapse, and these defects are consistent with the allegations in these paragraphs.
           (Id. at ¶¶ 60-68.)

       ·   The allegations made “on information and belief” in paragraphs 15, 46, 56-57, 64, 66-
           67, and 71 concern particular details about Advisors’s employees and workplace and
           are all clearly taken from information gleaned from or obtained from former Advisors
           employees. In fact, the Complaint expressly notes that information about the inner-
           workings of Advisors and the Fund was obtained from such sources. (Id. at ¶ 56.) It
           is thus a reasonable inference to be drawn from the Complaint that all references to
           such information came from those sources.

       Accordingly, there is no mystery as to the basis for any of the Complaint’s allegations

made “on information and belief,” all of which concern matters as to which SDCERA cannot be

charged with having specific personal knowledge at this early stage of litigation. The bases of

SDCERA’s “information and belief” allegations are thus adequately disclosed in the Complaint

for purposes of defeating the motions to dismiss.

                      2.      The Complaint Pleads Individual Misrepresentations By
                              Maounis, Winkler, And Jones With Particularity

       Maounis, Winkler, and Jones each incorrectly assert that the misrepresentations identified

in paragraphs 5 and 33 of the Complaint are not properly pled as to each of them individually.

See Maounis’s Mem. at p. 8 & n. 15; Winkler’s Mem. at pp. 3-4 (arguing that the “group

pleading doctrine” is inapplicable to oral statements); Jones’s Mem. at pp. 11-12 & n. 3 (same.)

At a minimum, the Complaint alleges that (1) all three of these defendants were present at the

March 2005 meeting where certain alleged misrepresentations were made (Compl. ¶¶ 5, 33, 41,

43); (2) the specific nature and content of the statements and omissions that were made (id.), and

(3) why the statements were false at the time that they were made (or why omitted information



                                                38
       Case 1:07-cv-02618-DAB Document 32 Filed 08/14/07 Page 51 of 113



should have been provided to SDCERA).17 (See, e.g., id. at ¶¶ 7-8). This level of specificity is

sufficient to attribute the statements to Maounis, Winkler, and Jones individually and to

withstand a motion to dismiss. See Internet Law Library, Inc. v. Southridge Capital Mgmt.,

L.L.C., 223 F. Supp. 2d 474, 481 (S.D.N.Y. 2002) (holding that defendants’ argument attacking

the allegation that three defendants made the same statement at the same time goes to the

pleading’s weight, not its sufficiency, and thus was an inappropriate basis for granting a motion

to dismiss).

       Significantly, none of these three defendants ever addresses the allegations set forth in

paragraphs 48 and 49 of the Complaint, which concern the Fraud Defendants’ failure to disclose

to SDCERA that the Fund’s energy trading desk employed – and would soon be run by – a trader

who, just months before, had been constructively fired from his former employer for reckless

energy trading that had wiped out an entire year’s worth of gains in a mere week. The

Complaint’s allegations of material omissions are, by definition, individually attributed – i.e., the

obvious implication of alleging that none of the Fraud Defendants said “x” is that each of them

individually failed to say “x.” These allegations, read along with the rest of the Complaint, meet

all of the requirements for pleading fraud-by-omission with particularity. 18 See Adler v. Berg



17
        Maounis’s attempt to disprove the falsity of his March 2005 (and July 2005)
representations to SDCERA by pointing to the September 2005 Update is a red herring. See
Maounis’s Mem at p. 10. A document purporting to describe the Fund’s operations in
September 2005, by definition, is irrelevant as to the Fund’s operation in March 2005 (or July
2005). Furthermore, the September 2005 Update is also irrelevant to SDCERA’s allegations
that the Fund was operating without appropriate risk controls as of September 2005, given that
the update’s disclosure of capital allocation percentages are insufficient to determine whether the
stated levels of diversification were sufficient to shield the Fund from the risks created by its
investments in the volatile energy sector.
18
       Furthermore, SDCERA alleges with particularity the moment and source of the revelation
of Hunter’s existence, namely, a 2006 (i.e., post-SDCERA’s investment) announcement by
                                                                                      (continued…)


                                                 39
       Case 1:07-cv-02618-DAB Document 32 Filed 08/14/07 Page 52 of 113



Harmon Assocs., 892 F. Supp. 98, 101 (S.D.N.Y. 1995) (“[T]o support a claim of fraud by

omission, Rule 9(b) . . . requires that the complaint allege (1) what omissions they were, (2) the

person responsible for the failure to disclose, (3) the context of the omissions and the manner in

which they misled the plaintiffs, and (4) what defendant obtained through the fraud.”).

Therefore, SDCERA’s omission allegations alone, which are pled with the requisite degree of

particularity, are sufficient to withstand Maounis’s, Winkler’s, and Jones’s motions to dismiss.

                       3.      Maounis’s July 2005 Misrepresentations Are Not Excused as
                               “Opinions Not Sincerely Held”

       Maounis’s argument that any misrepresentations he made at the July 21, 2005 SDCERA

Board meeting are excused for being “opinion[s] not sincerely held” overstates the law of this

narrow exception and ignores the broader scope of his misrepresentations. On a motion to

dismiss a securities fraud claim, a court must view the complaint in its entirety, and except as to

allegations of scienter, must accord the plaintiff the benefit of all reasonable inferences to be

drawn from the facts alleged therein. Tellabs, 127 S. Ct. at 2509. Applying this standard, this

Court must reject Maounis’s claim that paragraph 44 of the Complaint alleges only a single,

discrete misstatement. See Maounis’s Mem. at pp. 9-10 (quoting Compl. ¶ 44).

       SDCERA’s Complaint should be fairly read in its entirety as alleging that Maounis’s

entire presentation to the SDCERA Board was knowingly designed as one component of a larger

fraudulent sales pitch – which included the false statements made to Rocaton prior to March

2005; the false statements made by all of the Fraud Defendants to SDCERA during SDCERA’s


(continued)
Advisors that “Hunter would replace Harry Arora as the Portfolio Manager for the Fund’s energy
desk.” (Compl. ¶ 48.) See Xerion, 474 F. Supp. 2d at 516 (citing cases stating that, for
misstatements involving subsequently revealed, contradictory information, particularity can be
pled by specific identification of the “reports or statements containing this information”).



                                                 40
       Case 1:07-cv-02618-DAB Document 32 Filed 08/14/07 Page 53 of 113



March 2005 due diligence visit; and the defective disclosures in the 2003 PPM – to lure

SDCERA into making an enormous investment in a recklessly managed fund set up to line the

pockets of its principals through the use of mark-to-market accounting of volatile securities as a

basis for awarding huge executive compensation. Nit-picking a single, partial allegation as

Maounis does to arrive at his “opinion not sincerely held” position is inappropriate as a matter of

law, and misses the larger point of SDCERA’s Complaint entirely. See Tellabs, supra.

Nevertheless, it is absurd for Maounis to claim that he intended his July 2005 presentation during

a public Board meeting at which he knew the actual investment decision would be voted upon to

be mere casual commentary.

       Maounis’s substantive position is also unsupported by the cases he cites. Particularly

unfavorable to Maounis is San Leandro Emergency Medical Group Profit Sharing Plan v.

Phillip Morris Cos., 75 F.3d 801 (2d Cir. 1996), which expressly recognized a material

difference between mere expressions of optimism and situations where a defendant “‘hyped’ a

specific plan, thereby inducing investors to believe that alternatives were excluded.” Id. at 810

(citing In re Time Warner Inc. Sec. Litig., 9 F.3d 259, 268 (2d Cir. 1993)). SDCERA’s

Complaint alleges that Maounis’s July 21, 2005 speech to the SDCERA Board and his other

representations concerning the Fund’s investment strategy were just such “hype” designed to be

relied upon by SDCERA and to induce it to invest in the Fund. Under such circumstances, San

Leandro supports SDCERA’s claim that Maounis’s statements were misleading.

       Moreover, Maounis’s specific misrepresentations about the operating parameters of the

Fund, the types of risks defendants would be taking, and the ways in which those risks would be

managed, as alleged in paragraph 44 of the Complaint, are far different from the bland platitudes

supporting a finding of an “opinion not sincerely held” in Lasker v. N.Y. State Electric & Gas




                                                41
         Case 1:07-cv-02618-DAB Document 32 Filed 08/14/07 Page 54 of 113



Corp., 85 F.3d 55, 59 (2d Cir. 1996) (company stated it would not “compromise its financial

integrity”), and In re Azurix Corp. Securities Litigation, 198 F. Supp. 2d 862, 888 (S.D. Tex.

2002) (management is “working . . . to maximize the returns on our existing businesses”).

Maounis’s July 21, 2005 misrepresentation thus cannot be excused as “opinions not sincerely

held.”

         D.     SDCERA’s Securities Fraud Claim Alleges Much More Than Mere
                “Corporate Mismanagement”

         The Fraud Defendants incorrectly claim that SDCERA’s securities fraud claims are non-

actionable assertions of “corporate mismanagement.” See Advisors’s Mem. at pp. 19-20.

SDCERA’s claims are not comparable to those dismissed by the Court in In re Citigroup, Inc.

Sec. Litig., 330 F. Supp. 2d 367 (S.D.N.Y. 2004). Specifically, in Citigroup, the plaintiff’s

allegations were limited to an after-the-fact critique of the management of the fund without any

claim of fraudulent inducement, misstatement, or omission in the risk management disclosures.

Id. at 375-78. In contrast, SDCERA’s claims that it was fraudulently induced to invest in the

Fund by the Fraud Defendants’ numerous misstatements and misleading omissions of material

facts regarding the true nature of the Fund, the existence and utilization of Defendants’ touted

risk management policies and techniques, and Defendants’ entire approach to trading at the time

that the misrepresentations were made to SDCERA. (Compl. ¶¶ 4-5, 36-37, 97-99.) SDCERA’s

allegations, therefore, fall outside of the realm of “corporate mismanagement.” See In re JP

Morgan Chase Sec. Litig., 363 F. Supp. 2d 595, 618 (S.D.N.Y. 2005) (finding complaint alleged

securities fraud where it charged that defendants artificially inflated stock price by making

misrepresentations and omissions that concealed the nature of the transactions the bank had

conducted). See also Suez Equity Investors, L.P. v. Toronto-Dominion Bank, 250 F.3d 87, 99 (2d

Cir. 2001) (rejecting argument that plaintiff’s Section 10(b) claim alleged mere mismanagement



                                                42
       Case 1:07-cv-02618-DAB Document 32 Filed 08/14/07 Page 55 of 113



because “defendants allegedly made an affirmative misrepresentation to plaintiffs, as outside

investors, concerning the quality of the proffered securities”).

III.   SDCERA’S COMPLAINT STATES CLAIMS FOR COMMON LAW FRAUD
       AGAINST THE FRAUD DEFENDANTS (COUNT II)

       Contrary to the Fraud Defendants’ arguments, Count II of SDCERA’s Complaint sets

forth well-pled claims against the Fraud Defendants for common law fraud arising out of their

inducement of SDCERA to invest in the Fund (the “fraud-in-the-inducement” claims), as well as

the Fraud Defendants’ misrepresentations and omissions that caused SDCERA to forebear

withdrawal of its investment (the “holder” claims).

       A.      SDCERA’s Complaint States Common Law Fraud-In-The-Inducement
               Claims Against The Fraud Defendants

       Citing the nearly identical pleading criteria for both securities fraud and common law

fraud, the Fraud Defendants challenge SDCERA’s common law fraud-in-the-inducement claims

by relying upon the same flawed arguments used to attack SDCERA’s securities fraud claims.

See Advisors’s Mem. at p. 23; Maounis’s Mem. at p. 17; Winkler’s Mem. at pp. 7-8. For the

same reasons discussed in Section II, supra, SDCERA has adequately stated common law fraud

claims against the Fraud Defendants arising out of the misrepresentations and omissions that

they made to induce SDCERA to invest $175 million in the Fund.

       B.      SDCERA’s Complaint Also States Common Law Fraud-Holder Claims
               Against The Fraud Defendants

       The Fraud Defendants incorrectly argue that Connecticut law both governs and bars

SDCERA’s fraud-holder claims. The Fraud Defendants’ also claim – incorrectly – that even

under New York Law, SDCERA’s fraud-holder claims are not well-pled because (1) SDCERA

did not plead any post-investment misrepresentations by Winkler and Jones with the requisite

particularity; (2) the Fraud Defendants’ post-investment written and oral disclosures preclude



                                                 43
       Case 1:07-cv-02618-DAB Document 32 Filed 08/14/07 Page 56 of 113



materiality and justified reliance; and (3) SDCERA’s June 30, 2006 decision to withdraw only

profits, as opposed to its capital investment as well, negates causation. The Fraud Defendants

also contend that SDCERA’s allegations of fraudulent misrepresentations and omissions made

by the Fraud Defendants after June 16, 2006 cannot support its common law fraud cause of

action. As shown below, not a single one of these arguments is availing.

                        1.     Connecticut Law Does Not Bar SDCERA’s Common Law
                               Fraud - Fraud-Holder Claims

       The Fraud Defendants’ sole support for their claim that Connecticut law does not

recognize fraud-holder claims is Chanoff v. U.S. Surgical Corp., 857 F. Supp. 1011, 1018 (D.

Conn. 1994). See Advisors’s Mem. at p. 23; Maounis’s Mem. at p. 18 (citing Advisors’s Mem.);

Winkler’s Mem. at p.8 (same); Jones’s Mem. at p. 18.19 Chanoff, however, stands for nothing

more than the unremarkable proposition that speculative damages are not actionable. Chanoff,

857 F. Supp. At 1018.

       In Chanoff, the plaintiffs alleged that the defendants’ fraudulent concealment of certain

material facts concerning the fiscal health of the company caused them to refrain from selling or

hedging the corporation’s stock. Id. at 1014, 1017. The court found that “there [wa]s not one

precise point at which the defendants’ duty to disclose information . . . attached, and in light of

the difficulty in quantifying the value of earlier disclosure, the actual calculation of such

damages would be intractable at best.” Id. at 1018. Thus, the court held that “claims for

damages based on the plaintiffs’ failure to sell or hedge their stock are too speculative to be

actionable” because under Connecticut law, “[i]t is an established principle that a plaintiff cannot

19
        Defendants also cite a California state court case, Small v. Fritz Cos., 132 Cal. Rptr. 2d
490 (Cal. 2003). This case, however, merely cites Chanoff, without discussion or interpretation,
after a “but see” signal in its discussion of the states that have concluded that forbearance from
selling stock is sufficient reliance to support tort liability.



                                                  44
       Case 1:07-cv-02618-DAB Document 32 Filed 08/14/07 Page 57 of 113



recover profits which might have been realized if he had not been deceived, unless there is

evidence by which such profits can be estimated with reasonable certainty.” Id. at 1018-19

(internal quotes omitted, emphasis added).

       The Fraud Defendants’ mischaracterization of Chanoff is thus twofold: Not only does

Chanoff not hold that holder claims are barred by Connecticut law, but it actually expressly

acknowledges that such claims, if properly supported, can be actionable. Here, SDCERA’s

fraud-holder claim is readily distinguishable from the defective claim identified in Chanoff

because SDCERA’s damages are capable of calculation with a reasonable degree of certainty:

SDCERA alleges specific dates on which the Fraud Defendants’ misrepresentations were made,

as well as the dates on which it could have given notice to withdraw its investment. (Compl. ¶¶

2, 5, 10, 69-73, 76-81.) See also Burgos Aff., Ex. D at pp. 29-36 (setting forth the applicable

withdrawal deadlines). While SDCERA also contends it was damaged by misrepresentations

occurring after the notice deadlines, the alleged dates, combined with the readily ascertainable

value of SDCERA’s investment on a given date, provide a reasonable floor by which to calculate

SDCERA’s minimum damages, something not present in Chanoff. Therefore, Chanoff provides

no support for the Fraud Defendants’ motions to dismiss Count II of the Complaint.

       Because SDCERA’s holder claims are cognizable under Connecticut law, as they also are

under Delaware, New York, and California law, 20 this Court need not engage in a choice-of-law

analysis and may apply New York law to SDCERA’s common law fraud claims. See Int’l Bus.

Machs. Corp. v. Liberty Mut. Ins. Co., 363 F.3d 137, 143 (2d Cir. 2004) (in the absence of a true

conflict of laws, New York courts are free to apply New York law). See also Advisors’s Mem.


20
       See Small v. Fritz Cos., 132 Cal. Rptr. 2d 490, 494-95 (Cal. 2003) (holder claims
actionable under California law).



                                                45
        Case 1:07-cv-02618-DAB Document 32 Filed 08/14/07 Page 58 of 113



at pp. 23-25 & n.40 (acknowledging that New York and Delaware recognize the right to pursue

holder claims and that New York law would be applicable as the forum state’s laws “if

Connecticut law does not apply”).

                       2.      In the Event of a Conflict of Laws, California Law Would
                               Govern SDCERA’s Common Law Fraud-Holder Claims

       Should the Court nevertheless decide that a choice-of-law analysis is necessary, it “must

look to the choice-of-law rules of the state in which it sits – here New York – to resolve conflict-

of-law questions.” AroChem Int’l, Inc. v. Buirkle, 968 F.2d 266, 269-70 (2d Cir. 1992) (citing

Klaxon Co. v. Stentor Elec. Mfg. Co., 313 U.S. 487, 496 (1941)).

       Employing “interest analysis,” New York courts give “controlling effect to the law of the

jurisdiction which, because of its relationship or contact with the occurrence or the parties, has

the greatest concern with the specific issue raised in the litigation.” Babcock v. Jackson, 12

N.Y.2d 473, 481 (1963). In practice, for conflicts concerning so-called “conduct-regulating”

laws (including those pertaining to fraud and gross negligence), New York courts hold that “the

substantive law of the state in which the injury is suffered, rather than the state where the

fraudulent conduct was initiated, usually governs.” Bergeron v. Philip Morris, Inc., 100 F. Supp.

2d 164, 170 (E.D.N.Y. 2000) (citing Sack v. Low, 478 F.2d 360, 365 (2d Cir. 1973) (“[W]hen a

person sustains loss by fraud, the place of wrong is where the loss is sustained, not where

fraudulent representations are made.”)); Natural Res. Corp. v. Royal Res. Corp., 427 F. Supp.

880, 882 (S.D.N.Y. 1977) (fraud claims “arise where ‘plaintiffs’ pocketbooks are situated.’”

(citation omitted)).

       Because SDCERA’s pocketbook is situated in California, SDCERA suffered injury in

California as a result of the Fraud Defendants’ fraudulent conduct. (Compl. ¶ 23.)

Consequently, California’s law, not Connecticut’s, governs SDCERA’s fraud-holder claims



                                                 46
          Case 1:07-cv-02618-DAB Document 32 Filed 08/14/07 Page 59 of 113



under a proper choice of-law analysis.21 Because California law recognizes fraud-holder claims,

the Fraud Defendants’ choice-of-law argument is not a basis for dismissal of these claims.

                        3.      SDCERA’s Common Law Fraud-Holder Claims Are Well-Pled

          The elements of a common law fraud claim are substantially similar to those of a Section

10(b) claim for securities fraud. See Morse v. Weingarten, 777 F. Supp. 312, 319 (S.D.N.Y.

1991). A complaint must adequately plead that (1) the defendant made a misrepresentation or

omission of a material fact; (2) with the intent to deceive the plaintiff; (3) the plaintiff justifiably

relied upon the misrepresentation or omission; and (4) the defendant’s misrepresentation or

omission caused the plaintiff’s injury. Id. As noted above, the sufficiency of such claims is

assessed against the heightened pleading standards of FRCP 9(b), which requires that “the

circumstances constituting fraud . . . shall be stated with particularity.” Fed. R. Civ. P. 9(b)

(2006).

                        a.      The post-investment misrepresentations are alleged in
                                the Complaint with requisite particularity.

          The Complaint alleges the following misrepresentations were made by the defendants to

SDCERA in the post-investment period:

     a) “In the Spring and Summer of 2006, defendants increased the Fund’s allocation to natural
        gas even after Maounis had personally assured Rocaton and SDCERA that the Fund was

21
        The Complaint’s invocation of only New York and Delaware state laws does not
preclude application of another state’s law, such as California’s, to SDCERA’s claims should the
Court find it appropriate to do so. See AroChem, 968 F.2d at 270 (including in a conflicts
analysis an additional state that was not addressed in the parties’ papers); Bergeron, 100 F. Supp.
2d at 166 (construing the plaintiffs’ complaint to state claims under Massachusetts law and
denying the defendants’ motion to dismiss even though complaint had alleged only the
application of New York law). See also Northrop v. Hoffman of Simsbury, Inc., 134 F.3d 41, 45-
46 (2d Cir. 1997) (“[T]he failure in a complaint to cite a statute, or to cite the correct one, in no
way affects the merits of a claim. Factual allegations alone are what matters.”); Roselink
Investors L.L.C. v. Shenkman, 386 F. Supp. 2d 209, 226 (S.D.N.Y. 2004) (refusing to grant
motion to dismiss based on complaint’s invocation of incorrect state’s law).



                                                   47
   Case 1:07-cv-02618-DAB Document 32 Filed 08/14/07 Page 60 of 113



   reducing its exposure to that market. Winkler and Jones were complicit in Maounis’
   decisions, by action and inaction, and never informed SDCERA that the Fund was
   investing so heavily in energy or in natural gas specifically. By May 2006, defendants
   knew or should have known that the Fund’s natural gas positions were so large relative to
   the market and the market’s illiquidity that they could not exit the Fund’s positions
   without significantly impacting prices. However, instead of planning a controlled
   unwind, and in an effort to sustain the illusion of profits, defendants sought to “prop up”
   the market and these spreads by taking even larger long positions in natural gas.” (Compl.
   ¶ 12) (emphasis added).

b) “[A]s late as August 2006, defendants Maounis and Advisors were still telling SDCERA
   that the risks from the Fund’s energy trading portfolio had been appropriately decreased
   and hedged. Consequently, SDCERA was kept in the dark as to the peril which the Fund
   actually faced and, thus, SDCERA forewent invoking its contractual right to demand
   redemption of its investment.” (Compl. ¶ 17).

c) “[N]o one from SDCERA met with Hunter or even knew about him until 2006, when
   Advisors announced that Hunter would replace Harry Arora as the Portfolio Manager for
   the Fund’s energy desk. This announcement was misleading [because] . . . At no time
   during the due diligence period did Maounis, Winkler, Jones, or Advisors provide any
   information to SDCERA about Hunter. Consequently, SDCERA had no knowledge of
   Hunter’s background, training, experience, or role at the Fund before investing in the
   Fund.” (Compl. ¶¶ 48-49).

d) “Maounis acknowledged the volatility of natural gas trading and emphasized to investors
   (including SDCERA) certain ways that Advisors purportedly controlled the risk of such
   trading. In November 2005 correspondence to the Fund’s investors with an update on
   October 2005 performance, Maounis stated that natural gas markets have ‘pull-backs and
   volatile movements from time to time,’ and that, therefore, Advisors ‘continue[s] to play
   these markets largely from a relative value perspective, with great reliance on both
   options and spread transactions.’ In fact, these statements did not accurately characterize
   Advisors’s natural gas investments.” (Compl. ¶ 54).

e) In telephonic communications with Rocaton on June 7, 2006, Advisors, Maounis, Jones,
   and Hunter represented the following (which Rocaton then relayed to SDCERA’s Needle
   on June 13, 2006):

            (a)     the primary driver of the drawdown was an “unprecedented” dry-up in
liquidity in the natural gas market in the final two weeks of the month while Advisors was
attempting to unwind its natural gas spreads through profit-taking and asset relocation;

          (b)    the relationship between natural gas and fuel oil inverted as had never
happened before;

           (c)     as a result, Advisors had significantly recalibrated its risk models to
incorporate this previously unforeseen degree of illiquidity and the inverse relationship
between natural gas and fuel oil; and



                                             48
       Case 1:07-cv-02618-DAB Document 32 Filed 08/14/07 Page 61 of 113



             (d)    as a further result, Advisors would be reducing its notional energy
   exposure by approximately 50%.

              Upon information and belief, each of the[se] statements . . . was false (as
   Maounis, Winkler, Jones, Hunter and Advisors were aware). These statements, however,
   were relied upon by SDCERA in holding its investment and not considering exercise of its
   withdrawal rights.” (Compl. ¶¶ 73-74).

   f) In addition, the Complaint alleges that Advisors and each of the individual Defendants
      engaged in a post-investment pattern of deception designed to keep SDCERA from
      withdrawing its investment. (Compl. at ¶ 6). This pattern included making each of the
      statements and omission noted above, as well as disseminating additional misleading
      statements made in the 2006 PPM and the monthly Updates, each of which downplayed
      the true risks of the Fund, and failed to disclose the abandonment of, and unavailability of
      risk controls for the Fund’s energy trading portfolio.

       Each of the above allegations either identifies and/or quotes the particular individual

making the statement (e.g., “Maounis had personally assured Rocaton and SDCERA that the

Fund was reducing its exposure to that market”), alleges a failure to disclose information (e.g.,

“Winkler and Jones were complicit in Maounis’ decisions, by action and inaction, and never

informed SDCERA that the Fund was investing so heavily in energy or in natural gas

specifically”), or alleges misrepresentations by each of Maounis, Winkler and Jones in a

sufficiently particular manner as per the Court’s decision in Internet Law Library, Inc., supra.

These allegations are all pled with sufficient particularity for the reasons stated previously with

respect to similar challenges raised by defendants with respect to SDCERA’s securities fraud

allegations. See, supra, Section II(C). SDCERA’s allegations of scienter as to each defendant

previously pled with respect to its securities fraud claim are equally applicable to the post

investment misrepresentations. As such, these allegations regarding the defendants’ motives to

commit fraud and the recklessness with which the misrepresentations were made, too, are pled

with particularity and give rise to a strong inference of scienter. See, supra, Section II(B).

                       b.      Whether information disclosed by the Fund during
                               2006 was sufficient to alert SDCERA to the Defendants’



                                                 49
        Case 1:07-cv-02618-DAB Document 32 Filed 08/14/07 Page 62 of 113



                               reckless trading is a question of fact not appropriate for
                               adjudication on a motion to dismiss.

       The materiality of a particular misrepresentation is not an appropriate basis for a motion

to dismiss. See Allen, 945 F.2d at 45 (reversing grant of 12(b)(6) dismissal of fraud claim

because “[a]s a general rule, it presents a question of fact for the jury to determine whether [a

nondisclosure] was a material one or not.”) (citations omitted). Advisors’s argument that

information released in 2006 effectively apprised SDCERA of the Fund’s engagement in

mountains of unhedged energy trading is thus not ripe for consideration at this time by the Court.

See Advisors’s Mem. at 25-28. SDCERA has alleged that in addition to the statements contained

in the documents cited by defendants, it was simultaneously being assured by Advisors that the

exposure to volatile energy markets was decreasing. (Compl. ¶¶ 33-37, 55, 71, 73). These

allegations must be accepted as true on a motion to dismiss, and as such, the defendants’

challenges as to both materiality and reliance, to the extent they are based on the impact of the

cited disclosures on SDCERA, must be rejected. See Roth, 489 F.3d 499, 510 (on motion to

dismiss, court “must accept as true all of the factual allegations set out in plaintiff's complaint,

draw inferences from those allegations in the light most favorable to plaintiff, and construe the

complaint liberally”).

                         c.    Neither the Fund’s monthly performance updates nor
                               the 2006 PPM apprised SDCERA of the true nature of
                               the Fund’s operations.

       Should the Court reach the materiality question, however, the disclosures cited by

defendants serve, if anything, to bolster the materiality of the misrepresentations alleged in the

Complaint. Advisors argues that the monthly update letters sent by Maounis to the Fund’s

investors “reiterated the risks in the Subscription Agreement and the 2003 PPM,” thus

precluding SDCERA’s justifiable reliance on the alleged post-investment misrepresentations.



                                                  50
       Case 1:07-cv-02618-DAB Document 32 Filed 08/14/07 Page 63 of 113



See Advisors’s Mem. at pp. 25 – 27 (citing and quoting September 2005 Update, October 2005

Update, April 2006 Update, and May 2006 Update (together, “Updates”)). Advisors’s

observation is correct, but is also the central flaw in their argument: if the Updates merely

reiterated the disclosures of the Subscription Agreement and 2003 PPM, then they suffer from

the same defects previously identified as to those disclosures. See, supra, Section II(A).

Moreover, the repetition of these same defective disclosures month after month – especially in

the context of SDCERA’s expressions of concern over the volatility of the Fund’s portfolio and

Advisors’s continued reassurance that volatility was being reduced (Compl. at ¶ 71, describing

June 2, 2006 call between SDCERA and Advisors) – only intensified the materiality of the initial

misrepresentations, instilling in SDCERA a false sense of calm, when in fact the seeds of the

Fund’s collapse had been planted and were beginning to germinate.

                              (1)     The September 2005 Update merely continued
                                      and reinforced the misrepresentations of the
                                      2003 PPM.

       The September 2005 Update simply describes the alleged performance of the Fund’s

various strategies and portfolios without emphasis as to any particular investment. More

specifically, the Update provides no information from which an investor could conclude that any

particular investment could expose the fund to collapse, or that any particular strategy was not

appropriately hedged or risk-controlled via diversification, as the 2003 PPM represents was to

have been the case. Tellingly, there is not a single additional risk disclosure in the September

2005 Update, meaning that the “total mix of information” as to risk was absolutely identical

following SDCERA’s receipt of this document as it was when SDCERA first invested.22 Basic,


22
  Advisors’ contention that the disclosure that 36% of the Fund’s capital was allocated to
“volatility/energy trading” is a material disclosure is incorrect. See Advisors’s Mem. at 26.
                                                                                     (continued…)


                                                51
       Case 1:07-cv-02618-DAB Document 32 Filed 08/14/07 Page 64 of 113



Inc. v. Levinson, 485 U.S. 224, 231-32 (1988). In other words, the picture of the Fund presented

by the September 2005 Update is of the same multi-strategy, appropriately diversified and/or

hedged investment vehicle which SDCERA thought it was investing in. Because the September

2005 Update does nothing to alter the total mix of information at SDCERA’s disposal, it does

not affect the materiality of the post investment misrepresentations alleged in the Complaint or

SDCERA’s justified reliance thereon.

                              (2)     The October 2005 Update merely continued and
                                      reinforced the misrepresentations of the 2003
                                      PPM.

       The reassuring tone of the October 2005 Update is the most obvious indication of the

defendants’ error in asserting that this Update put SDCERA on notice of the risks associated

with the Fund’s true strategies and operation. As with the 2003 PPM and the September 2005

Update, the October Update discusses the Fund’s energy investments as only one among many

strategies, reinforcing the impression of a diversified, risk-controlled fund. See Burgos Aff., Ex.

G at pp 1-2 (discussing various strategies). Advisors’s Memorandum asserts that the October

2005 Update’s reference to “losses in the midst of extreme volatility in the natural gas, power,


(continued)
SDCERA has alleged that it was misled by disclosures that conveyed an impression of
diversification and risk control, while in reality, the Fund’s natural gas portfolio was already
being operated recklessly and in such a way that the risks of the Fund were much greater than
disclosed. This particular disclosure does nothing to indicate one way or another whether that
level of investment in such strategies was appropriately risk-managed – or even the opposite, i.e.,
that it was not – nor does it disclose the nature of the investments at issue, i.e., natural gas
futures, stock in energy companies, etc. Most importantly, the Complaint alleges that shortly
after this disclosure was made, Advisors represented – falsely – that the level of investment in
this sector would be decreased due to the level of volatility to which it exposed the Fund. See
Compl. at ¶ 55. If anything, SDCERA was lulled into thinking the Fund had learned a lesson
about investing too heavily in volatile markets . In reality, the only lesson they appeared to have
learned was how to keep their investors placated enough to allow them to continue their reckless
betting on natural gas futures markets.



                                                52
       Case 1:07-cv-02618-DAB Document 32 Filed 08/14/07 Page 65 of 113



crude, and energy stock markets during the month” put SDCERA on notice as to the Fund’s

exposure to these commodities. See Advisors’s Mem. at p. 26. The remainder of the paragraph

not emphasized by Advisors, however, reinforces the impression originally created by the

defendants in the 2003 PPM and during the due diligence period prior to SDCERA’s investment,

i.e., that Advisors will prudently and actively manage such volatility through continuous

monitoring, implementation of appropriate risk controls, hedging and diversification, all with an

eye toward minimizing over-concentration:

     Our relative value framework, broad diversification across commodities, and focus
     on the middle to back end of the curve . . . combined with a reduction in overall
     exposure post hurricanes Katrina and Rita – allowed us to hold up quite well in a
     very difficult market environment. While we have a positive long term view towards
     natural gas, power, and crude from a fundamental perspective, we are always
     mindful that these markets will have pull-backs and volatile movements from
     time to time. Accordingly, we continue to play these markets largely from a relative
     value perspective, with great reliance on both options and spread transactions.

     Burgos Aff., Ex. G. (emphasis added).

       Thus, while the October 2005 Update discusses the volatile nature of these markets, it

more importantly expressly acknowledges this volatility in the context of promises to the Fund’s

investors to limit the Fund’s exposure to these risks. Moreover, these promises are not limited to

just those made in the October 2005 Update, but rather must also include the defendants’ other

misrepresentations, both written and oral, which came before this Update was released, and

which amplify the misleading nature of the Update. Therein lies the fraudulent nature of the

statements made in this Update, and the reason why it does not affect the materiality of

defendants’ other post investment misrepresentations or SDCERA’s justified reliance them.

                              (3)    The 2006 PPM suffered from the same
                                     infirmities as its predecessor.

       As Advisors notes, the 2006 PPM was at most only a “reittera[tion of] the focus on and

risks of energy trading” which the defendants had already made in prior statements. Advisors’s


                                                53
       Case 1:07-cv-02618-DAB Document 32 Filed 08/14/07 Page 66 of 113



Mem. at p. 26. SDCERA has never questioned the disclosure of these risks, themselves, so the

fact that they were reiterated is irrelevant. Rather, SDCERA has alleged that it was misled as to

the Defendants’ management of these risks and the level of these risks that its investment was

actually subjected to. (Compl. at ¶ 4). Just like the 2003 PPM, the 2006 PPM describes energy

trading as merely one out of many strategies that the Defendants employed in their management

of the Fund. See e.g., Burgos Aff., Ex. B at p. 24 (“energy trading” listed as only one of eight

“principal strategies” used by Advisors to manage the Fund); pp. 26-27 (“Energy and Metals

Trading” part of expressly non-inclusive list of eight examples of “illustrative trading strategies

and techniques” used by Advisors in managing the Fund). Just like the 2003 PPM, the 2006

PPM portrays the fund as having a primary emphasis on risk management through hedging and

or diversification, both of which are expressly to be employed to control the fund’s exposure to

risk, volatility, and over-concentration. See, e.g., id. (“The investment objective of the Fund is

superior risk-adjusted returns. The Fund employs a diverse group of trading strategies,

trading a broad range of equity and debt securities, commodities, derivatives and other financial

instruments”) (emphasis added). The continuity of the Fund’s goals and operation vis-à-vis the

Fund as described by the 2003 PPM is most clearly apparent in the 2006 PPM’s “Risk

Management” section (emphasis original):

     Risk management is integral to Amaranth’s goal of identifying investment
     opportunities having superior risk/reward parameters. Amaranth monitors the
     risk parameters and expected volatility of the Fund’s overall portfolio and attempts to
     prevent over-concentration of the portfolio in any particular investment asset, strategy
     or market. However, Amaranth does not, in general attempt to hedge all market or
     other risks inherent in the Fund’s portfolio, and hedges certain risks, if at all, only
     partially. Specifically, Amaranth may determine that it is economically
     unattractive or otherwise undesirable, to hedge certain risks (either with respect
     to particular positions or the Fund’s overall portfolio) and instead rely on
     diversification to control such risks.

Id. at pp. 29-30 (emphasis added).



                                                 54
       Case 1:07-cv-02618-DAB Document 32 Filed 08/14/07 Page 67 of 113



       Thus, in language nearly identical to that found in the 2003 PPM, the 2006 PPM

describes and reaffirms the Fund’s relatively conservative investment objectives, the many

strategies used by the Fund to achieve them, the risks associated with investment in the Fund,

and the Fund’s promise to use either hedging or diversification to prevent over exposure to

volatility and over-concentration of assets. Far from rendering the post-investment

misrepresentations immaterial by virtue of new disclosures, the 2006 PPM is, itself, rife with

misrepresentations as to the nature of, and defendants’ operation of, the Fund.

                               (4)     The April 2006 Update merely continued and
                                       reinforced the misrepresentations of the 2003
                                       PPM.

       The April 2006 Update is no different from any of the other written misrepresentations

made by Maounis and Advisors: each mention of volatility and risk in the Fund’s energy

investments is countered with reassurances of ever-decreasing commitments to energy trading

and to the Fund’s overall diversification. Advisors, for example, quotes the April Update’s

statement that “extreme volatility in the energy markets is primarily responsible for our out-

performance[.]” Advisors’s Mem. at p. 26. Advisors left off the clause concluding that

particular sentence, which stated “we are proud of the fact that our other businesses have made

strong contributions as well.” Burgos Aff., Ex. J at p. 1. Furthermore, there is no information in

the April update whatsoever from which an investor could conclude that the Fund was as deeply

and recklessly exposed to the natural gas trading market as SDCERA alleges it was. Even as to

energy trading, the April 2006 Update lumps everything together into one paragraph discussing

the Fund’s “energy and commodities portfolios,” a discussion which explains the Fund’s outsize

profits generation from these investing activities as due largely to “a profound increase in base

metal prices (copper in particular) with an associated volatility spike.” Id. In fact, as to natural

gas, the April Update again repeats that the Fund has decreased its exposure. Id. (“[A]s volatility


                                                 55
       Case 1:07-cv-02618-DAB Document 32 Filed 08/14/07 Page 68 of 113



increased during the month, we took the opportunity to reduce exposure in our natural gas

and metals portfolios and realized profits.”) (emphasis added). Once again, Advisors released

an Update tailored to quelling the anxiety of any nervous investors who might have otherwise

withdrawn their capital investments had they known the truth of the Fund’s investments and the

debacle they were each about face as these undisclosed trading practices led directly to the

Fund’s collapse.23

                              (5)     The Impact of the May 2006 Amaranth Update
                                      was expressly diminished by the Defendants’
                                      June 2006 misrepresentations.

       Advisors did not receive the May 2006 update until after the June 16, 2006 deadline for

withdrawal of its investment had already passed. (Compl. at ¶ 76). Consequently, any impact

that its contents might have had on SDCERA’s decision to withdraw its investment as a result of

any additional risk disclosures contained therein is a moot question. Still, if SDCERA had been

given the information in the May 2006 Update sooner, it would have made no difference. As

with the other Updates, the May 2006 Update described facts that might have been taken as

warning signs by investors but for other statements urging restraint and reliance on the Fund’s

risk controls. For example, the very first paragraph of the Update notes that May 2006 was the

Fund’s “worst month since inception” due to “dislocations in certain relationships across the

natural gas forward curve,” but emphasizes that the Fund’s natural gas “book” was “still the

year’s most profitable strategy.” Burgos Aff., Ex. K at p. 1. The remainder of the May 2006


23
   This impression was further reinforced by Advisors’ Steven Johnson on a call with SDCERA’s
Lisa Needle, made, as alleged in Complaint, out of concern that the outsize returns reported in
the April Update reflected the Fund’s over-exposure to volatile markets. (Compl. at ¶ 71).
Johnson’s false reassurances that “Advisors was having the Fund cash out of its energy positions
to reduce risk” mitigated any impact the April results had on the “total mix of information”
available to SDCERA regarding the Fund’s exposure to investment in these markets.



                                                56
        Case 1:07-cv-02618-DAB Document 32 Filed 08/14/07 Page 69 of 113



Update is split between an explanation as to why the dismal May results should not be viewed as

indicative of natural gas investment risk, and discussion of the Fund’s other strategies, once

again reinforcing the portrayal of the Fund as risk-averse and diversified. See, id. (“While this

was a humbling experience that has led us to recalibrate how we assess risk in this business, we

believe certain spread relationships involving natural gas remain disconnected from their

fundamental value drivers.”). Nothing in the May 2006 Update disclosed the risk (by that time,

reality) that the Fund would become so entrenched and concentrated in natural gas investments

that a temporary shift in this single market could result in the collapse of the whole fund. For

that reason, it is yet another actionable misrepresentation by the defendants on which SDCERA

justifiably relied to its detriment.

        What little cautionary impact the May 2006 Update might have had was further

countered by the information SDCERA was receiving on contemporaneous telephone calls with

the Defendants. As alleged, SDCERA or its agent, Rocaton, had calls with the Defendants on

June 2 (with Steve Johnson of Advisors) and June 7 (With Maounis, Winkler and Jones) in

which, once again, Advisors and the other Defendants actively minimized the risk of continued

investment with the Fund. (Compl. at ¶ 71) (noting Johnson said Advisors was having the Fund

cash out of its energy positions to reduce risk); ¶ 73 (Advisors had recalibrated their energy risk

models and would be decreasing notional energy exposure by 50%).

        In other words, any so-called risk disclosures were affirmatively downplayed by further

misrepresentations as to the actual nature of the Fund’s investments and the risk management

thereof.

                        d.      SDCERA’s Complaint Also Adequately Pleads Causation For
                                Its Common Law Fraud-Holder Claims




                                                 57
       Case 1:07-cv-02618-DAB Document 32 Filed 08/14/07 Page 70 of 113



       Plaintiffs asserting securities fraud claims are required to allege “transaction causation,”

meaning a causal link between the defendant’s misconduct and the plaintiff’s decision to buy or

sell the security. Emergent, 343 F.3d at 197 (finding that plaintiff had sufficiently alleged

connection between the investor’s economic loss and corporation’s failure to disclose its CEO’s

history of failed investment projects undertaken in collaboration with an individual who was

barred from the securities industry by NASD). Transaction causation is established by showing

that but for the claimed misrepresentations or omissions, the plaintiff would not have entered

into the securities transaction in question. Id.

       Maounis ignores the actual nature of the breach alleged in his erroneous argument that

SDCERA’s pre-June 16 knowledge of the Fund’s May losses (as a result of the June 2 Needle-

Johnson call) combined with SDCERA’s awareness of the Fund’s reliance on spread trading in

the natural gas markets (Compl. at ¶87) eliminates the possibility that defendants’

misrepresentations were the “but for” cause of SDCERA’s damages. See Maounis Mem. at pp.

18-22. SDCERA’s holder claims are predicated on allegations that the defendants misled

SDCERA into thinking that the Fund was utilizing diversification, hedging and other risk

controls to control its exposure to the risks associated with any of its investments. With respect

to the Fund’s energy investments, that meant (as per the 2003 and 2006 PPMs), volatility and

over-concentration in particular. Regardless of what particular strategy or investment in the

energy markets that Advisors was employing, SDCERA’s reasonable expectation, fostered by

the Defendants and the Fund Documents, was that there would be other strategies employed to

mitigate the risks of energy trading, and that the Fund would never be allowed to become

overexposed through over- concentration to the disclosed risks of energy trading. Thus, even

SDCERA’s knowledge of the fund’s large loss in May 2006 did not operate as disclosure of the




                                                   58
        Case 1:07-cv-02618-DAB Document 32 Filed 08/14/07 Page 71 of 113



true fraud: that the Fund could collapse completely because of the defendants’ abandonment of

the risk-management strategies they had promised to employ.

                        4.      SDCERA’s Allegations Of Misrepresentations And Omissions
                                After June 16, 2006 Are Actionable

        Also on the issue of causation, the Fraud Defendants incorrectly argue that the alleged

misrepresentations made to SDCERA after June 16, 2006 are not actionable. See Advisors’s

Mem. at pp. 28-29; Maounis’s Mem. at p. 22 & n. 28; Winkler’s Mem. at p. 8 & n. 4; Jones’s

Mem. at p. 20. Because SDCERA could have taken steps to protect and recover its capital

investment even after the passage of the June 16th withdrawal deadline, such as by bringing a

lawsuit sooner (i.e., prior to the Fund’s collapse), SDCERA may still seek recovery for the Fraud

Defendants’ post-June 16, 2006 misrepresentations and omissions that caused SDCERA not to

do so. See Allard v. Arthur Andersen & Co., 924 F. Supp. 488, 494 (S.D.N.Y. 1996) (noting that

shareholders may recover damages for a missed “opportunity to ‘cut their losses’ by shutting

down operations before management can fritter away whatever valuable assets the corporation

still possesses” (citing In re Investors Funding Corp. of N.Y. Sec. Litig., 523 F. Supp. 533, 541

(S.D.N.Y. 1980) (“A corporation is not a biological entity for which it can be presumed that any

act which extends its existence is beneficial to it”))).

        For the foregoing reasons, this Court should deny the Fraud Defendants’ motions to

dismiss SDCERA’s common law fraud cause of action (Count II).

IV.     SDCERA’S CLAIMS FOR GROSS NEGLIGENCE (COUNTS III & VIII),
        BREACH OF FIDUCIARY DUTY (COUNT V), AND AIDING AND ABETTING
        BREACH OF FIDUCIARY DUTY (COUNT VI) ARE NOT DERIVATIVE

        Defendants advance two arguments as to why SDCERA’s gross negligence and breach of

fiduciary duty claims are derivative and therefore subject to the special pleading requirements of

FRCP 23.1: (1) “The gravamen of SDCERA’s . . . claims is that Amaranth allegedly



                                                  59
       Case 1:07-cv-02618-DAB Document 32 Filed 08/14/07 Page 72 of 113



mismanaged assets of the Fund resulting in a decline in the value of the Fund”; and (2)

“[a]ccordingly, any recovery on these claims must be shared proportionately by all of the Fund’s

investors, and not simply go to SDCERA.” See Advisors’s Mem. at pp. 30-31.24 Neither

argument warrants the dismissal of SDCERA’s gross negligence and breach of fiduciary duty

claims because they are based on a misunderstanding of Delaware’s standards for identifying

derivative claims, a mischaracterization of the bases for SDCERA’s claims, and a simplistic

view of corporate law that overlooks important differences between run-of-the-mill corporations

and the limited liability company structure of the Fund. At a fundamental level, defendants

disregard that SDCERA has alleged that its claims arise in large part from misrepresentations

made directly, and only, to it (e.g., the 2005 and 2006 meetings and telephone calls between the

Fraud Defendants and SDCERA).

       A.      The Delaware Supreme Court Has Expressly Disavowed The “Special
               Injury” Test For Determining Whether A Claim Is Derivative Or Direct

       In Tooley v. Donaldson, Lufkin, & Jenrette, Inc., 845 A.2d 1031, 1035 & 1036-39 (Del.

2004), the Delaware Supreme Court expressly disavowed the “special injury” test or the “shared

equal injury” concept, i.e., the notion “that an action cannot be direct if all stockholders are

equally affected or unless the stockholder’s injury is separate and distinct from that suffered by

other stockholders.” Instead, the Tooley court held that the proper analysis for distinguishing

between direct and derivative claims “must be based solely on the following questions: Who


24
        Without any meaningful debate, Maounis, Winkler, Jones, and Hunter all incorporate by
reference Advisors’s briefing on this issue to support their own motions to dismiss. See
Maounis’s Mem. at p. 23; Winkler’s Mem. at pp. 1, 11; Jones’s Mem. at p. 2; Hunter’s Mem. at
pp. 14-15. Although Advisors’s motion does not address Count VI of SDCERA’s Complaint,
Winkler, Jones, and Hunter nevertheless rely on Advisors’s briefing on the direct-versus-
derivative issue in support of their contention that SDCERA’s Aiding and Abetting breach of
fiduciary duty claim against them is derivative.



                                                  60
       Case 1:07-cv-02618-DAB Document 32 Filed 08/14/07 Page 73 of 113



suffered the alleged harm – the corporation or the suing stockholder individually – and who

would receive the benefit of the recovery or other remedy?” Id. at 1035. The court thus

acknowledged that a plaintiff is not barred from pursuing an individual claim simply because the

defendant’s conduct also harmed the corporation and other shareholders. Id. at 1039.

       Although defendants quoted the test from Tooley, defendants nevertheless argue that

SDCERA’s gross negligence and breach of fiduciary duty claims are derivative because “any

recovery on these claims must be shared proportionately by all of the Fund’s investors, and not

simply go to SDCERA” as only $130 million of the Fund’s $6 billion loss in value was allocable

to SDCERA’s investment. Advisors’s Mem. at p. 30. But defendants’ argument erroneously

harkens back to the now-discredited “special injury” test or the “shared equal injury” concept,

which this Court should not credit in deciding defendants’ motion to dismiss.25

       As further explained below, under Tooley’s two-part inquiry, SDCERA’s claims are

individual and direct in nature as it is SDCERA, not the Fund, that suffered the alleged harm and

would receive the benefit of any recovery because (1) the loss of SDCERA’s individual

investment was as a direct result of specific fraudulent misrepresentations and omissions of


25
        Defendants cite several cases that rely upon the “special injury” test and “shared equal
injury” concept to support their argument that SDCERA’s gross negligence, breach of fiduciary
duty, and Aiding and Abetting breach of fiduciary duty claims are derivative. See Advisors’s
Mem. at pp. 30 (quoting In re Goldman Sachs Mut. Funds, No. 04 Civ. 2567, 2006 WL 126772,
at *5 (S.D.N.Y. Jan. 17, 2006) (quoting and relying heavily upon In re Triarc Cos., 791 A.2d
872 (Del. Ch. 2001), which applied the “special injury” test in determining that the plaintiff’s
breach of fiduciary duty claim was derivative), 31 (citing ABF Capital Mgmt. v. Askin Capital
Mgmt., L.P., 957 F. Supp. 1308 (S.D.N.Y. 1997) (relying on Bokat v. Getty Oil Co., 262 A.2d
246 (Del. 1970), which was expressly rejected and overruled by Tooley, 845 A.2d at 1037,
because of its “confusing and inaccurate” holding that “a suit must be maintained derivatively if
the injury falls equally upon all stockholders”); Winkler’s Mem. at p. 11 (also citing ABF, 957 F.
Supp. 1308 at 1332.) This Court should disregard defendants’ arguments insofar as they are
supported by case law that is no longer persuasive and do not reflect the currently applicable
standards of Delaware law.



                                               61
       Case 1:07-cv-02618-DAB Document 32 Filed 08/14/07 Page 74 of 113



material fact made by defendants to SDCERA individually; and (2) to the extent that SDCERA’s

claims are based in part on defendants’ failure to exercise risk management controls and monitor

Hunter’s trading activities, the structure and operation of the Fund nevertheless make

SDCERA’s claims direct and not derivative in nature.

       B.      The Gravamen Of SDCERA’s Claims Is Defendants’ Fraudulent
               Misrepresentations And Omissions Made Directly And Individually To
               SDCERA

       As even defendants themselves urge this Court to do, this Court should “look at all of the

facts of the complaint and determine for itself whether a direct claim exists.” Advisors’s Mem.

at p. 29 (quoting Dieterich v. Harrer, 857 A.2d 1017, 1027-28 (Del. Ch. 2004) (emphasis

added)). Indeed, a review of all of the facts of SDCERA’s Complaint reveals the error in

defendants’ oversimplification and mischaracterization of the “gravamen of SDCERA’s gross

negligence and breach of fiduciary duty claims” as Advisors’s “mismanage[ment of] assets of

the Fund resulting in a decline in the value of the Fund.” Id. at p. 30.

       On the contrary, the “gravamen” of SDCERA’s claims is that the specific

misrepresentations or omissions were made by defendants to SDCERA first to induce and then

later to retain SDCERA’s commitment of capital to the Fund. (See, e.g., Compl. ¶¶ 5, 33, 41-44

[alleging that SDCERA was induced to invest in the Fund by specific misrepresentations made

by the Fraud Defendants directly and individually to SDCERA and SDCERA’s Board of

Trustees about the Fund’s goals and risk management); ¶¶ 38-43 (alleging specific

misrepresentations made to SDCERA’s representative, Rocaton, as to the Fund’s multi-strategy

nature and superior risk management system, on which SDCERA relied in making its investment

decision); ¶¶ 6, 10-11, 70-71 (alleging repeated occasions on which the Fraud Defendants falsely

reassured SDCERA, alone, as to the Fund’s decreasing exposure to volatile energy markets and

knowingly omitted material information regarding Hunter’s trading history and practices); ¶ 17


                                                 62
       Case 1:07-cv-02618-DAB Document 32 Filed 08/14/07 Page 75 of 113



(alleging that SDCERA’s reliance on Defendants’ statements caused it to forego exercising its

individual contractual right to withdraw its capital investment from the Fund); ¶ 117 (alleging

that “by deliberately misleading SDCERA as to the Fund’s investment strategies and risk

controls before and after SDCERA made its investment, [the Fraud Defendants] intentionally,

knowingly, and in bad faith breached their fiduciary duties to SDCERA”); ¶¶ 122-23 (alleging

that by “participating in telephone conference calls and meetings with SDCERA or SDCERA’s

representatives in which the other defendants knowingly and intentionally made fraudulent

misrepresentations and omissions,” Winkler, Jones, and Hunter “actively participated in, assisted

in, and also had knowledge of the other defendants’ breaches of fiduciary duties to SDCERA”)).

       Where the injury is alleged to affect the individual plaintiff –SDCERA– not the Fund,

courts typically hold the plaintiff’s claims are direct, not derivative. For example, in Anglo

American Security Fund, L.P. v. S.R. Global International Fund, L.P., 829 A.2d 143, 153-54

(Del. Ch. 2003), which also involved claims arising out of the management of a hedge fund, the

Delaware Chancery Court concluded that the limited partner plaintiffs had alleged a direct claim

against the general partner of the fund with respect to damages resulting from the general

partner’s failure to timely disclose its $22 million withdrawal. The Delaware Chancery Court

reached a similar conclusion in another hedge fund case, Albert v. Alex Brown Management

Services, Inc., Nos. Civ.A. 762-N & 763-N, 2005 WL 2130607, at *12 (Del. Ch. Aug. 26, 2005)

(holding that the plaintiffs’ claim for breach of fiduciary duty, based on the manager defendants’

failure to disclose material information and making other misleading and fraudulent statements,

was direct because the plaintiffs’ harm was that they had “lost their opportunity to request a

withdrawal from the Funds from the Managers . . . .”).

       Similarly, in Fraternity Fund Ltd. v. Beacon Hill Asset Management L.L.C., 376 F. Supp.




                                                63
       Case 1:07-cv-02618-DAB Document 32 Filed 08/14/07 Page 76 of 113



2d 385, 408-09 (S.D.N.Y. 2005),26 another case involving a hedge fund, the plaintiffs’ breach of

fiduciary duty claim was held to be a direct claim because “the alleged wrong was a fraud

committed on the shareholders and/or limited partners, rather than on the Funds.” Although the

court in Fraternity Fund recognized that “some mismanagement and self-dealing – which,

without more, would be wrongs to the Funds only – may have been involved. But the principal

wrong here appears to have been a valuation fraud that injured plaintiffs, not the Funds.” Id. at

409 (citing Coronado Dev. Corp. v. Millikin, 22 N.Y.S.2d 670, 675 (Sup. Ct. N.Y. County 1940)

(“[D]epreciation resulting from the dissemination of false information as to corporate assets or

business or management . . . necessarily constitutes a direct injury to individual stockholders and

is a wrong to them rather than to the corporation and may be redressed by suit by individual

stockholders suing in their own right”).)

       Moreover, defendants’ post-investment fraudulent misrepresentations and omissions of

material facts about their reckless trading practices and lack of risk controls directly impacted a

contractual right of SDCERA that is not similarly a right of the Fund itself – i.e., defendants’

fraud deprived SDCERA of the opportunity to make a quarterly withdrawal of its capital before

the Fund’s collapse by giving notice on or before June 16, 2006. (Compl. ¶ 17.) The

involvement of a contractual right that is not similarly a right of the corporate entity also

supports a finding that the plaintiff’s claims are direct, not derivative. See Anglo Am., 829 A.2d

at 153-54 (holding that because the limited partners’ negligence, breach of fiduciary duty, and

other claims seemed to implicate a contractual right of the limited partners that is not similarly a

right of the Fund itself – i.e., the right to withdraw their investment – the plaintiffs’ claims were

26
       Although Fraternity Fund applied New York law, this case is still of considerable
persuasive authority in this action. As defendants concede, “the standards to determine whether
a claim is derivative are the same in each of the relevant states.” Advisors’s Mem. at p. 29, n.46.



                                                  64
       Case 1:07-cv-02618-DAB Document 32 Filed 08/14/07 Page 77 of 113



direct and not derivative). Cf. In re Cencom Cable Income Partners, L.P. Litig., No. C.A. 14634,

2000 WL 130629, at *4 (Del. Ch. Jan. 27, 2000) (noting that it is “easily conceivable” that a

failure to disclose cash flows underlying the valuations of the partnership assets “would bear

directly upon each Limited Partner’s individual judgment about how to vote on the challenged

transaction”).

       C.        The Structure And Operation Of The Fund Also Render SDCERA’s Claims
                 Direct, Not Derivative

       Although defendants cite several Delaware state cases in support of their argument that

SDCERA’s gross negligence and breach of fiduciary duty claims are derivative rather than

direct, a majority of them deal with claims arising out of the traditional corporate/stockholder

context.27 See Advisors’s Mem. at pp. 30-31. Significantly, defendants fail to cite or address the

one Delaware state case that is most analogous to the case at hand: Anglo American, 829 A.2d

143.

       In Anglo American, limited partners of a hedge fund, which was structured as a limited

partnership, brought suit against the general partner, who was also the manager of the fund, after

the general partner withdrew more than $22 million from its capital account and failed to report

its withdrawal until after the deadline had passed for the limited partners to exercise their own


27
        The only two cases cited by defendants that involve the hedge fund context are ABF
Capital Management v. Askin Capital Management, 957 F. Supp. 1308 (S.D.N.Y. 1997), and
Albert v. Alex Brown Management Services, Inc., Nos. Civ.A. 762-N & 763-N, 2005 WL
2130607 (Del. Ch. Jun. 29, 2005). However, as noted above, the continued vitality of cases like
ABF that applied the “special injury” test and the “shared equal injury” concept is highly
questionable after Tooley’s express disapproval of these approaches. As to Albert, the Delaware
Chancery Court actually held in that case that the plaintiffs’ breach of fiduciary duty claim,
which was in part based upon the defendant managers having made false and misleading
statements to them and failed to disclose material information, constituted a direct claim because
“the partnerships were not harmed by the alleged disclosure violations.” 2005 WL 2130607, at
*12.



                                                65
        Case 1:07-cv-02618-DAB Document 32 Filed 08/14/07 Page 78 of 113



withdrawal rights. Id. at 148. As discussed above, the plaintiff limited partners’ claims of

breach of fiduciary duty and negligence, among others, alleged injuries resulting from the

general partner’s fraud or nondisclosure. Id. at 153-54. The plaintiff limited partners also

alleged injuries that could be fairly characterized as a diminution in the value of the fund, which

the defendants argued rendered the plaintiffs’ claims derivative, rather than direct, because all of

the limited partners seemingly suffered the same injuries in proportion to their pro rata interest

in the fund. Id. at 147, 151.

       Although the Anglo American court acknowledged that “[t]he test for distinguishing

direct from derivative claims in the context of a limited partnership is substantially the same as

that used when the underlying entity is a corporation,” the court also noted that “[a]pplication of

corporate law rules to disputes related to a limited partnership necessitates a bit of flexibility.”

Id. at 149-50. In reaching its conclusion that the limited partners’ claims in that case were direct,

not derivative, the court found it significant that the structure of the hedge fund was such that

“losses confer only a fleeting injury to the Fund, one that is immediately and irrevocably passed

through to the partners” themselves. Id. at 152. Specifically, the Delaware Chancery Court

noted that:

      Due to the structure and operation of the Fund, whenever the value of the Fund is
      reduced, the injury accrues irrevocably and almost immediately to the current
      partners but will not harm those who later become partners . . . . When an injured
      partner withdraws from the partnership, the partner’s capital account has already been
      diminished by any and all diminutions of value to the Fund from the time of entering
      the partnership until the time of withdrawal. There are no successors in interest to
      partners so injured because there are no “shares” sold to someone else, [sic] any
      withdrawing partner’s interest in the entity is liquidated. Any recovery obtained by
      the Fund in a derivative action cannot provide a remedy to wronged former partners
      nor to their (non-existent) successors in interest.

Id.

       In this case, defendants argue, just as the defendants did in Anglo American, that



                                                  66
       Case 1:07-cv-02618-DAB Document 32 Filed 08/14/07 Page 79 of 113



SDCERA’s gross negligence and breach of fiduciary duty claims are derivative because “any

recovery on these claims must be shared proportionately by all of the Fund’s investors.”

Advisors’s Mem. at pp. 30-31. However, as the court in Anglo American held, claims alleging

injuries resulting from a diminution of fund value are not derivative merely because all of the

limited partners suffer the same injuries in proportion to their pro rata interest in the fund. Anglo

American, 829 A.2d at 147, 151. Rather, it is important to examine the structure and operation

of the Fund at issue in this case, which, significantly, mirrors the characteristics of the hedge

fund involved in Anglo American such that any diminution in the value of the Fund “confer[red]

only a fleeting injury to the Fund . . . that is immediately and irrevocably passed through” to each

investor via its own individual capital account to which there is no successor-in-interest. Id. at

152.

       Therefore, regardless of whether SDCERA’s gross negligence, breach of fiduciary duty,

and Aiding and Abetting breach of fiduciary duty claims are based on defendants’ fraud or allege

injuries amounting to the diminution of fund value, SDCERA’s claims are direct, not derivative,

under the Tooley two-part test because it is SDCERA, not the Fund, that suffered the alleged

harm and would receive the benefit of any recovery.

V.     THE COMPLAINT STATES VALID GROSS NEGLIGENCE CLAIMS AGAINST
       ALL DEFENDANTS

       Each of the defendants argues that SDCERA’s gross negligence claims must fail because

they are barred under Connecticut law. See Maounis’s Mem. at p. 23; Winkler’s Mem. at p. 11;

Jones’s Mem. at p. 2; Hunter’s Mem. at p. 18. Not only are defendants incorrect as to the

applicability of Connecticut law, but they are also mistaken as to Connecticut law’s recognition

of a gross negligence cause of action.

       Moreover, under any potentially applicable state’s laws, the Complaint states valid claims



                                                 67
       Case 1:07-cv-02618-DAB Document 32 Filed 08/14/07 Page 80 of 113



for gross negligence against all defendants, as SDCERA has alleged facts regarding the wrongful

conduct of each defendant that meet the reckless indifference or reckless or deliberate disregard

standard that constitutes gross negligence. There is also no merit to any of defendants’ other

arguments as to why they cannot be held liable for gross negligence – i.e., that Advisors and

Winkler are shielded from tort liability because generic investment risks were disclosed in the

Fund documents; that the economic loss doctrine bars SDCERA’s claim against Maounis; and

that Hunter may not owe SDCERA a duty of care. Therefore, defendants’ motions to dismiss

SDCERA’s gross negligence counts should be denied.

       A.      Delaware Or New York Law, Not Connecticut Law, Applies To SDCERA’s
               Gross Negligence Claims

                       1.      Connecticut In Fact Recognizes A Gross Negligence Claim

       Contrary to defendants’ assertions, Connecticut does recognize gross negligence as a

valid cause of action. See Glorioso v. Police Dep’t of Burlington, 826 A.2d 271, 275 (Conn.

Super. Ct. 2003). Although the case cited by defendants, Decker v. Roberts, 3 A.2d 855, 858

(Conn. 1939), discusses the fact that Connecticut does not normally recognize distinct causes of

action for different levels of negligence, Glorioso clarifies that gross negligence actually is

recognized by Connecticut courts, even though it is usually not pled separately from general

negligence. Glorioso, 826 A.2d at 275 (“Abundant appellate authority supports the conclusion

that gross negligence is recognized in Connecticut jurisprudence, even though there are few

occasions for characterizing the level of negligence in stating a negligence claim.”). The

Glorioso court also held that a plaintiff could specifically plead a cause of action for “gross

negligence” when titling the claim as “negligence” might impact the plaintiff’s rights to recover.

Id. at 274-75 (validating cause of action for gross negligence where pleading “negligence” might

trigger negligence immunity provisions that specifically exempt grossly negligent conduct).



                                                 68
        Case 1:07-cv-02618-DAB Document 32 Filed 08/14/07 Page 81 of 113



        Because Connecticut recognizes gross negligence as a claim,28 the Defendants are

incorrect that “[t]here is a substantive law conflict because New York and Delaware recognize

claims for gross negligence.” Advisors’s Mem. at p. 32 & n.49. Where “the party urging a

choice of law analysis fails to demonstrate a true conflict between New York and another state’s

laws, no choice of law analysis need be undertaken.” Republic of Ecuador v. ChevronTexaco

Corp., 376 F. Supp. 2d 334, 377 (S.D.N.Y. 2005) (quoting Bass v. World Wrestling Fed’n

Entm’t, Inc., 129 F. Supp. 2d 491, 504 (E.D.N.Y. 2001)). Consequently, the Court should apply

New York law to this claim. See Int’l Bus. Machs. Corp., 363 F.3d at 143 (where relevant laws

of all potentially interested states are not actually in conflict, “a New York court will dispense

with choice of law analysis; and if New York law is among the relevant choices, New York

courts are free to apply it.”).

                        2.        Delaware Law Is Applicable To SDCERA’s Gross Negligence
                                  Claim Under The Internal Affairs Doctrine

        Should this Court nevertheless decide to conduct a choice-of-law analysis, the applicable

conflict of law principles of the forum state’s laws (here, New York) require the application of

Delaware law to SDCERA’s gross negligence causes of action. See Fin. One Pub. Co. Ltd. v.

Lehman Bros. Special Fin., Inc., 414 F.3d 325, 332-33 (2d Cir. 2005). Under the internal affairs

28
        Moreover, Connecticut recognizes a cause of action for “willful, wanton or reckless
misconduct.” See Decker, 3 A.2d at 858 (negligence and wanton misconduct are separate causes
of action). Wanton or reckless misconduct, like gross negligence in Delaware and New York, is
conduct that indicates a reckless disregard for the rights of others. See id. at 857; Dubary v.
Irish, 542 A.2d 711, 719 (Conn. 1988) . A claim for reckless misconduct must indicate the
conduct that is alleged to be reckless. See Bello v. Barden Corp., 180 F. Supp. 2d 300, 312 (D.
Conn. 2002) (citing Kostiuk v. Queally, 267 A.2d 452, 453-54 (Conn. 1970)). Further, a duty of
care must be established to support a claim for reckless misconduct. Id. Reckless misconduct,
therefore, requires a duty and reckless conduct in breach of that duty, just as gross negligence
does. The elements of causation and damages can be inferred as additional requirements for a
claim of reckless misconduct, given that Connecticut appears to treat negligence as a lesser
version of reckless misconduct. See Bello, 180 F. Supp. 2d at 312.



                                                 69
       Case 1:07-cv-02618-DAB Document 32 Filed 08/14/07 Page 82 of 113



doctrine, only the state of incorporation has the authority to regulate a corporation’s internal

affairs, i.e., matters peculiar to the relationships among or between the corporation and its

officers, directors, and shareholders. See, e.g., First Nat’l City Bank v. Banco Para El Comercio

Exterior de Cuba, 462 U.S. 611, 621 (1983); Seybold v. Groenink, No. 06 Civ. 772, 2007 WL

737502, at *5 (S.D.N.Y. Mar. 12, 2007) (also cited in Advisors’s Mem. at p. 29 & n.46).

Because SDCERA’s gross negligence claims deal squarely with the relationship between it and

Defendants, as well as the duty owed by Defendants to SDCERA in light of that relationship, the

internal affairs doctrine mandates the application of Delaware law to SDCERA’s gross

negligence claims, as Delaware is the state of organization for both Advisors and the Fund.29

       Under either New York or Delaware law, Counts III and VIII each state claims against

the Defendants for gross negligence.

       B.      The Complaint Alleges Facts That State Valid Gross Negligence Claims
               Against All Defendants

       Despite the Complaint’s numerous particular factual allegations of each of the

Defendants’ reckless trading practices, deliberate disregard for even the most basic risk

management controls, and other unreasonable and gross misconduct, Defendants Advisors,

Winkler, and Hunter argue in their motions to dismiss that their respective conduct does not rise

29
         Alternatively, with respect to SDCERA’s gross negligence claim against Advisors,
Delaware law is also applicable under New York’s choice-of-law principle that where a
plaintiff’s tort claim arises out of or otherwise concerns a right created by a contract containing a
choice-of-law provision, the parties’ contractually chosen law will be applicable to govern the
tort claim as well. See Fin. One, 414 F.3d at 336 (holding that where the plaintiff’s right of
setoff arose out of a contract, the set-off claim would be governed by the law selected in the
parties’ contractual choice-of-law provision). Because SDCERA’s gross negligence claim
asserts breaches of duties that would not have existed but for the relationship created by the LLC
Agreement, which contains a choice-of-law provision providing for the application of Delaware
law as the governing law for disputes arising thereunder (see Burgos Aff., Ex. D at pp. 75-76),
the LLC Agreement’s choice-of-law clause provides further support for the application of
Delaware law to SDCERA’s gross negligence claim.



                                                 70
       Case 1:07-cv-02618-DAB Document 32 Filed 08/14/07 Page 83 of 113



to the level of gross negligence.30 See Advisors’s Mem. at pp. 32-33; Winkler’s Mem. at pp. 11-

13; Hunter’s Mem. at p. 19.31

       All negligence claims include four elements: a duty owed to the plaintiff, a breach of that

duty, injury to the plaintiff caused by that breach, and damages. Gross negligence sets a higher

bar for the negligent behavior. The Delaware standard for gross negligence is reckless

indifference, deliberate disregard or acting outside the bounds of reason. Gelfman v. Weeden

Investors, L.P., 859 A.2d 89, 114, 114 n.26 (Del. Ch. 2004). The standard in New York is,

similarly, reckless indifference or reckless disregard. See, e.g., Sommer v. Fed. Signal Corp.,

593 N.E.2d 1365, 1371 (N.Y. 1992).32

                      1.        SDCERA Has Alleged More Than Enough Facts To State A
                                Valid Gross Negligence Claim Against All Defendants

       Advisors claims that it was not grossly negligent, even though it is responsible for its

officers’ and employees’ fraudulent inducement, bad faith hiring of Hunter, reckless trading

practices, failure to enforce any risk controls on Hunter, and post-investment misrepresentations

to SDCERA. Advisors claims three allegations in SDCERA’s Complaint “demonstrate that

[Advisors’s] conduct was not reckless or smacking of intentional wrongdoing”: (1) that

30
       Maounis does not make this argument in his motion to dismiss.
31
       Both Advisors and Winkler cite Kinsey v. Cendant Corp., No. 04 Civ. 0582, 2005 WL
1907678, at *7 (S.D.N.Y. Aug. 10, 2005), for the proposition that SDCERA may not amend its
complaint if any aspect of its gross negligence counts fails. See Advisors’s Mem. at p. 33;
Winkler’s Mem. at p. 12. However, Kinsey merely stands for the common rule that a court need
not grant leave to amend the complaint when the proposed amendment would be futile. Kinsey,
2005 WL 1907678, at *2. Neither Advisors nor Winkler gives any explanation why an
amendment by SDCERA, if one were found necessary, would be futile.
32
        There is also no substantive difference between the gross negligence standards in
Delaware and New York, on the one hand, and Connecticut, on the other hand. In Connecticut,
the standard for gross negligence “is commonly defined as very great or excessive negligence, or
as the want of, or failure to exercise, even slight or scant care or ‘slight diligence’.” Hanks v.
Powder Ridge Rest. Corp., 885 A.2d 734, 748 (Conn. 2005).



                                                71
         Case 1:07-cv-02618-DAB Document 32 Filed 08/14/07 Page 84 of 113



Advisors had a “14-member risk management team” (see Compl. ¶ 43); (2) that there existed

“personnel in Advisors’s risk management department who were assigned to oversee Hunter’s

trades” and that the risk department made “control recommendations” (see id. at ¶ 15); and (3)

that “Hunter’s trading positions were tracked internally and were marked to market daily (and

were regularly reconciled)” by “a team of people” (see id. at ¶¶ 66-67). Advisors, however, has

taken the first two of these quotes completely out of context, and fails to recognize just how

much the third allegation supports SDCERA’s gross negligence claim.

         First, the allegation of the Complaint regarding the “14-member risk management team”

actually relates that Advisors touted their risk management system to SDCERA by claiming,

among other things, that Advisors had a “14-member risk management team.” (Compl. ¶ 43.) In

fact, one of the central allegations of the Complaint is that despite this supposed group of risk

experts, Advisors did not exercise any risk control at all for the energy trades which are at issue

here.

         Second, the snippet taken from paragraph 15 of SDCERA’s Complaint that there existed

“personnel in Advisors’s risk management department who were assigned to oversee Hunter’s

trades” and “control recommendations” misleadingly edits out the rest of that allegation, which

states that:

        Maounis knowingly, recklessly and in violation of his fiduciary duties overrode the
        risk department’s control recommendations and encouraged Hunter to maintain or
        increase his bet on natural gas prices. Upon information and belief, Winkler and
        Jones were also aware of Hunter’s energy trading, yet they too failed to take steps to
        prevent Maounis’s breach of his duties, and thereby actively participated in
        Maounis’s breach of fiduciary duty and the similar breach by Advisors.

(Id. at ¶ 15.) Even setting aside the specific context for these quotes, it is difficult to see how

alleging the mere existence of personnel in a risk management team forecloses the possibility of




                                                  72
       Case 1:07-cv-02618-DAB Document 32 Filed 08/14/07 Page 85 of 113



reckless misconduct by those team members or other Advisors officers or employees in

forsaking risk control over Hunter’s energy trades.

       As for SDCERA’s allegations that Hunter’s trading positions were tracked, marked to

market daily, and regularly reconciled (id. at ¶¶ 66-67), the fact that Advisors, through its

employees, clearly knew the details of Hunter’s reckless trading practices and yet not only did

nothing to curb it, but actually endorsed and encouraged it, provides further support for

SDCERA’s validly stated claim of gross negligence against Advisors. Indeed, on a motion to

dismiss, “a court must read the complaint generously, and draw all inferences in favor of the

pleader.” Cosmas v. Hassett, 886 F.2d 8, 11 (2d Cir. 1989). Therefore, Advisors’s contention

that it did not act in a grossly negligent manner must be rejected.

                       2.      Winkler Was Reckless In His Representations, Oversight And
                               Decisions Regarding Hunter

       For the same reasons, this Court should disregard Winkler’s evocation of the same three

allegations in SDCERA’s Complaint referenced by Advisors to support Winkler’s claim that he

“did not act recklessly.” Winkler’s Mem. at pp. 11-12 (citing Advisors’s Mem. at pp. 32-33).

       The Court should also reject Winkler’s claim that SDCERA has pled no specific conduct

by Winkler that rises to the level of gross negligence. See id. at p. 13. SDCERA’s Complaint

alleges that Winkler was the Chief Operating Officer at Advisors and that as such, he was

“intimately involved in all of Advisors’s operations and key decisions” (Compl. ¶ 56); that his

“key decisions” included hiring Hunter despite Hunter’s catastrophic trading history at Deutsche

Bank and increasing Hunter’s compensation, which further endorsed and encouraged Hunter’s

reckless trading methods (id. at ¶¶ 46, 57); and that he regularly discussed with Maounis the

allocation of the Fund’s capital and allowed Hunter to take reckless and extreme far-forward

positions despite knowing, and repeatedly being warned of, the risks of taking such positions (id.



                                                 73
       Case 1:07-cv-02618-DAB Document 32 Filed 08/14/07 Page 86 of 113



at ¶¶ 56, 62). Moreover, SDCERA alleged that Winkler made false representations about the

Fund’s multi-strategy nature and superior risk management system to SDCERA during

SDCERA’s due diligence visit to Advisors’s Connecticut office in March 2005. (Id. at ¶¶ 41,

43.) These allegations, particularly when examined in the light most favorable to Plaintiff as

they must be on a motion to dismiss, state a valid claim of gross negligence against Winkler.

                       3.      Hunter’s Reckless Trading Was Grossly Negligent And In
                               Breach of Duties He Owed to SDCERA

       Along with Advisors and Winkler, Hunter also makes the same arguments about the same

three misinterpreted allegations in SDCERA’s Complaint. See Hunter’s Mem. at p. 19. For

reasons discussed above with respect to Advisors, Hunter’s argument also fails.

       Hunter also suggests on page 15 of his motion to dismiss that he does not owe SDCERA

a duty of care because SDCERA is “one level removed.” However, under both New York and

Delaware law, a person may owe a common law duty of care based on the foreseeability of harm

to the injured individual and the degree of relationship. See, e.g., Kuczynski v. McLaughlin, 835

A.2d 150, 155 (Del. Super. Ct. 2003); DeAngelis v. Lutheran Med. Ctr., 445 N.Y.S.2d 188, 192-

93 (N.Y. App. Div. 1981). SDCERA’s Complaint sets forth both the operating structure of the

Fund and Advisors’s and Hunter’s roles, as well as the direct and foreseeable impact Hunter’s

trading had on SDCERA. (Compl. ¶¶ 29-32.) As a Portfolio Manager (id. at ¶ 28), Hunter could

not have been unaware that the assets he traded belonged to the Fund, and it was entirely

foreseeable that if Hunter’s reckless trading resulted in the loss of more than half of the Fund’s

annual energy profits, as it did when Hunter was an employee of Deutsche Bank, the Fund’s

members would be harmed. Moreover, the Fund had no real identity outside of the individual

investors comprising the Fund, who also had their own capital accounts that were impacted

immediately by every one of Hunter’s trades. See discussion, supra, at Section IV(C). Thus, the



                                                 74
       Case 1:07-cv-02618-DAB Document 32 Filed 08/14/07 Page 87 of 113



relationship between Hunter and individual investors like SDCERA was more than close enough

to impose a duty on Hunter to perform his duties with due care.33

       Hunter also argues in his motion to dismiss that his conduct cannot be deemed grossly

negligent because SDCERA alleges that Advisors’s management was aware of his reckless

trading practices, but does not allege that Hunter disregarded any instructions from his superiors

or Advisors’s risk management team. See Hunter’s Mem. at p. 19. Of course, SDCERA’s

Complaint also alleges that the superiors to whom Hunter points were in fact complicit in

Hunter’s reckless misconduct and encouraged him in the same, despite their knowledge of the

unacceptable risks inherent in his trading strategies, so there would have been no instructions for

Hunter to disregard. (Compl. ¶¶ 15, 58, 60, 66.) Therefore, it is absurd for Hunter to argue that

he should be relieved from liability for his gross negligence merely because other bad actors

knew about and encouraged his reckless misconduct.

       C.      Limited Disclaimers Regarding Portfolio Risk Do Not Shield Defendants
               From Liability For Their Reckless Conduct

       Additionally, Advisors and Winkler argue in their motions to dismiss that they cannot be

held liable for gross negligence because certain investment risks were disclosed in Fund

documents such as the 2003 PPM and the Subscription Agreement. See Advisors’s Mem. at p.

33; Winkler’s Mem. at p. 12. This argument fails because the Complaint alleges that SDCERA’s

losses resulted from the gross negligence of Advisors and Winkler, not from any disclosed


33
        Moreover, a contractually based duty may be grounds for a duty owed to a third party
who relies on the work performed. See Patton v. Simone, 626 A.2d 844, 849 (Del. Super. Ct.
1992) (recognizing Delaware’s adoption of RESTATEMENT (SECOND) TORTS § 324A). Given that
the sole and entire purpose of Hunter’s employment was to trade and manage the investment
assets of the Fund’s members, Hunter owed members like SDCERA every duty of care and
diligence in exercising his duties that he owed Advisors, as the members were the real and
intended beneficiaries of Hunter’s efforts.



                                                75
       Case 1:07-cv-02618-DAB Document 32 Filed 08/14/07 Page 88 of 113



investment risk. Rombach v. Chang, 355 F.3d 164, 176 (2d Cir. 2004), cited by both Advisors

and Winkler, is not to the contrary. Rombach allows only that voluntary disclosure of low

earnings and other financial problems before financial statements were due from the defendants

weakened the argument that the defendants were acting recklessly in issuing earlier, positive

statements. Id. In contrast to Advisors’s and Winkler’s assertions, the defendants in Rombach

did not issue warnings of risk and then engage in potentially reckless behavior, which was then

nullified by the warnings. Instead, the Rombach defendants were accused of making positive

statements when they had knowledge that the situation was more dire; the court appeared to

believe that the defendants’ unprompted disclosures of the financial issues weighed against

claims that they recklessly or intentionally withheld negative information. Id. Rombach in no

event stands for the proposition that generic warnings as to potential, unintended losses insulate

any kind of later mischief or intentional misconduct from liability.

       Advisors and Winkler appear to assert that the disclosure of some general risks – namely,

the possibility that the market may negatively impact an investment – will shield them from

liability for any and all conduct without limitation. Even reading defendants’ statements very

generously, the warnings in the Fund documents cannot be read to have put SDCERA on notice

that defendants could engage in grossly negligent or intentional misconduct with impunity.

Indeed, the LLC Agreement even specifically excepts “fraud, bad faith, gross negligence, [and]

reckless or intentional misconduct” from the clause limiting defendants’ liability. Burgos Aff.,

Ex. D at p. 14. SDCERA no more contemplated the possibility that Defendants would act with

recklessness, deceit, or fraud than a skydiver would assume that he would be tossed out of the

plane without a parachute. If Advisors’s and Winkler’s reasoning were adopted, then every

manner of ill could be excused by a brief warning that something bad might happen. Such a total




                                                76
       Case 1:07-cv-02618-DAB Document 32 Filed 08/14/07 Page 89 of 113



abdication of responsibility for reckless conduct is not the law.

       D.      SDCERA’s Gross Negligence Claim Is Not Barred By The Economic Loss
               Doctrine

       Maounis, alone, argues that the so-called “economic loss doctrine” bars SDCERA’s gross

negligence claims. See Maounis’s Mem. at pp. 23-24. Maounis does not dispute – and the cases

he cites acknowledge – however, that the economic loss doctrine only bars claims which are

duplicative of or could be asserted as claims for breach of a contract between the parties . See

Hartford Fire Ins. Co. v. Leninski, No. CV970396097S, 2002 WL 31513608, *3-4 (Conn. Super.

Ct. Oct. 29, 2002) (highlighting the fact that plaintiff’s misrepresentation claim arose “entirely”

out of the breach of contract, and pointing out that the tort claims are “for what is essentially a

breach of contract”); Brasby v. Morris, No. C.A. 05C-10-022-RFS, 2007 WL 949485, *7-8 (Del.

Super. Ct. Mar. 29, 2007) (determining that the plaintiffs’ tort and contract claims are one and

the same and that there is “no reason to extend tort law into areas that can be adequately

governed by contract law” (emphasis added)).34 See also Cocchiola Paving, Inc. v. Peterbuilt of

S. Conn., No. CV010168579S, 2003 WL 1227557, at *7 (Conn. Super. Ct. Mar. 3, 2003) (tort

claim not “based solely on the facts” of contract claim not barred by economic loss doctrine);

Madison Realty Partners 7, L.L.C. v. AG ISA, L.L.C., No. CIV.A. 18094, 2001 WL 406268, at

*6 (Del. Ch. Apr. 17, 2001) (dismissing breach of fiduciary duty claims on the grounds that “the

contract and fiduciary claims overlap completely since they are based on the same underlying

conduct. Indeed, the complaint uses identical conduct as the basis for both legal claims.”).

34
        BKM Enterprises, Inc. v. Budget Modular Workstations, Inc., No. CV054008900S, 2007
WL 806275 (Conn. Super. Ct. Feb. 21, 2007), also cited by Maounis, is to the same effect. Id. at
*2 (noting that the precluded misrepresentation counts arose “out of the same breach of a
contract for the sale of goods”). Moreover, BKM deals exclusively with the sale of goods under
the UCC, and no statement in the opinion purports or implies that the economic loss doctrine
applies to any actions except those for the sale of goods. Id.



                                                 77
       Case 1:07-cv-02618-DAB Document 32 Filed 08/14/07 Page 90 of 113



Maounis, however, is not a party to any of the agreements at issue in this case. Thus, even if, as

he alleges, SDCERA’s gross negligence claim is duplicative of its breach of contract claim

against Advisors, it cannot be duplicative of a breach of contract claim against Maounis or any of

the other individual defendants, since no such claim was alleged against them. (Compl. at ¶¶

112-114).

       Even as to the gross negligence claim asserted against Advisors, however, the economic

loss doctrine is inapplicable. SDCERA’s claim encompasses allegations of Advisors’s breaches

of duty that pre-dated the execution of the contract and thus cannot, by definition, be asserted as

claims for breach of contract. See e.g., Complaint at ¶¶ 45 (Advisors made allegedly false and

misleading statements throughout the due diligence period), 37 (false and misleading statements

made to SDCERA and its agent during due diligence were known to be untrue when made), 48-

49 (material information about the hiring of Hunter by Advisors immediately after his having

been being fired for reckless trading was knowingly withheld from SDCERA). It is indisputable

that these claims do not arise out of any contractual relationship, since when the alleged breaches

occurred, no contract had yet been executed. The economic loss doctrine thus cannot be asserted

to bar these claims against Advisors. See Brasby, 2007 WL 949485 at *7 (economic loss

doctrine does not apply where fraud in the inducement is alleged).35




35
   Advisors does not argue for application of the economic loss doctrine on its own behalf,
perhaps because it asserts instead that it is not a party to the Subscription Agreement. See
Advisors’s Mem. at p. 35-36. If this argument is found to be correct – which SDCERA disputes
(see, infra, Section VIII), there would be no contract cause of action for a gross negligence claim
to be duplicative of, and as such, the economic loss doctrine would have no effect on the
viability of SDCERA’s cause of action against Advisors as to any of the allegations of the
Complaint.



                                                78
       Case 1:07-cv-02618-DAB Document 32 Filed 08/14/07 Page 91 of 113



VI.    COUNT V OF THE COMPLAINT STATES A CLAIM FOR BREACH OF
       FIDUCIARY DUTY AGAINST THE FRAUD DEFENDANTS

       At the July 21, 2005 SDCERA Board meeting, Maounis declared, among other things,

that “we have a fiduciary responsibility to our investors[.]” (Compl. ¶ 44.) Now, however,

confronted by allegations that the Fund’s collapse was caused by breaches of these same duties,

Maounis and the other Fraud Defendants disingenuously disclaim the fiduciary responsibilities

they once referred to as part of their sales pitch. See Advisors’s Mem. at pp. 33-35; Maounis’s

Mem. at pp. 23-24; Winkler’s Mem. at pp. 12-13; Jones’s Mem. at pp. 22-23. Contrary to these

suggestions, the Complaint alleges facts establishing that the Fraud Defendants each owed

SDCERA duties of care, candor, good faith, and loyalty and, through their reckless conduct and

misrepresentations, breached those duties.

       A.      Advisors Owed Fiduciary Duties to SDCERA36

       To sufficiently allege a claim for breach of fiduciary against Advisors, SDCERA must

show that a fiduciary duty existed, and that the fiduciary breached that duty. See Legatski v.

Bethany Forest Assoc., Inc., No. 03C-10-011-RFS, 2006 WL 1229689, at *3 (Del. Super. Ct.

Apr. 28, 2006). Advisors asserts that no fiduciary duty existed because it was not obligated to

provide SDCERA with any investment advice. See Advisors’s Mem. at p. 34. Delaware law

provides for the creation of fiduciary duties under a variety of circumstances, and SDCERA’s

claim does not, in any event, rely upon the receipt of investment advice. Advisors’s arguments


36
   SDCERA’s breach of fiduciary duty claims are governed by Delaware law. Seybold v.
Groenink, No. 06 Civ. 772, 2007 WL 737502, at *5 (S.D.N.Y. Mar. 12, 2007) (finding that the
internal affairs doctrine requires application of law of state of incorporation to breach of
fiduciary duty claims); see also Katz v. Emmett, 641 N.Y.S.2d 131, 131 (N.Y. App. Div. 1996)
(applying law of the state of incorporation to breach of fiduciary duty claims). Those Defendants
addressing the question of governing law agree. See Advisors’s Mem. at p. 34 & n. 50; Jones’s
Mem. at p. 22 & n. 6.



                                                79
        Case 1:07-cv-02618-DAB Document 32 Filed 08/14/07 Page 92 of 113



ignore that SDCERA has sufficiently alleged two independent bases that each create a fiduciary

relationship between it and SDCERA: first, that Advisors owed SDCERA a fiduciary duty as the

managing member of the Fund (see, e.g., Compl. ¶¶ 24, 29, 44, 121-123); and second, that a

special relationship of trust existed between it and SDCERA (see, e.g., id. at ¶¶ 29, 31, 44, 121-

123).

                       1.     Advisors’s Fiduciary Duties To SDCERA Arose From Its
                              Position As Managing Member Of The Fund

        There is no dispute that Advisors was the managing member of the Fund. See Advisors’s

Mem. at p. 6. See also Compl. ¶ 24, 31. Under Delaware law, managers – especially managing

members – owe fiduciary duties to the other members of an LLC. See Grace v. Morgan, No.

Civ.A. 03C05260JEB, 2004 WL 26858, at *2 (Del. Super. Ct. Jan. 6, 2004) (finding that

managing member of the LLC had a fiduciary duty of fair dealing to individual LLC member);

In re Bigmar, Inc., No. Civ.A. 19289-NC, 2002 WL 550469, at *23 (Del. Ch. Apr. 5, 2002)

(finding members of LLC owed fiduciary duty of candor to other member); Solar Cells, Inc. v.

True N. Partners, L.L.C., No. Civ.A. 19477, 2002 WL 749163, at *4 (Del. Ch. Apr. 25, 2002)

(fiduciary duties of managers of LLC to member were not waived by operating agreement);

VGS, Inc. v. Castiel, No. C.A. 17995, 2000 WL 1277372, at *4 (Del. Ch. Aug. 31, 2000), aff’d,

781 A.2d 696 (Del. 2001) (noting that individual managers of an LLC “each owed a duty of

loyalty to the LLC, its investors and [the majority member]”). Thus, Advisors, by virtue of being

the Fund’s managing member, owed a fiduciary duty to SDCERA.

                       2.     Advisors’s Total Control of the Fund Created a Special
                              Relationship of Trust, and Thus, a Fiduciary Duty

        Advisors also owed SDCERA fiduciary duties because a special relationship of trust

existed between them arising out Advisors’s full control of the Fund and its assets. While courts

will generally not recognize a fiduciary duty arising out of a straightforward, commercial


                                                80
        Case 1:07-cv-02618-DAB Document 32 Filed 08/14/07 Page 93 of 113



relationship, see McMahon v. New Castle Assoc., 532 A.2d 601, 605 (Del. Ch. 1987), they will

give credence to a fiduciary relationship arising from contract where “one person reposes special

trust in and reliance on the judgment of another or where a special duty exists on the part of one

person to protect the interests of another,” Cheese Shop Int’l, Inc. v. Steele, 303 A.2d 689, 690

(Del. Ch.), rev’d on other grounds, 311 A.2d 870 (Del. 1973). Typically, such relationships of

“special trust” arise in the following situations:

      (1) when one person places trust in the faithful integrity of another, who as a result
      gains superiority or influence over the first; (2) when one person assumes control and
      responsibility over another, [or] (3) when one person has a duty to act for or give
      advice to another on matters falling within the scope of the relationship . . . .

Legatski, 2006 WL 1229689, at *3

       Accordingly, courts have not hesitated to recognize a fiduciary relationship arising

between parties where one party places special trust in the other by permitting the other party to

solely control the subject matter of the relationship. See, e.g., Grace, 2004 WL 26858, at *2

(finding more than arms-length relationship between LLC members where managing member

hired engineer, oversaw planning and construction, and ensured goals of project met); Madison

Real Estate Immobbielien-Anlagegesellschaft Beschrankt Haftende KG v. Geno One Fin. Place

L.P., No. Civ.A.1928-N, 2006 WL 456779, at *3 (Del. Ch. Feb. 22, 2006) (finding fiduciary

relationship where agreement vested “sole and exclusive authority for the management of the

partnership” in general partner); Legatski, 2006 WL 1229689, at *5 (finding builder had

fiduciary relationship with landowner, where landowner had no input into process and gave total

control to builder).

       Here, SDCERA placed special trust in Advisors, thereby creating a fiduciary relationship

when SDCERA invested in the Fund in reliance upon Advisors’s representations. As Advisors

notes repeatedly, the PPMs, the Subscription Agreement, and the LLC Agreement required



                                                     81
        Case 1:07-cv-02618-DAB Document 32 Filed 08/14/07 Page 94 of 113



SDCERA to submit entirely to Advisors’s discretion over the management of its investment.

See, e.g., Advisors’s Mem. at p. 3. Indeed, the LLC Agreement expressly provides that Advisors

“shall have full and complete charge of all affairs of the [Fund]. The management and control of

the [Fund’s] business and its assets shall rest exclusively with [Advisors].” Burgos Aff., Ex. D at

p. 8-9; Compl. ¶ 31. Furthermore, it expressly authorizes Advisors to “make all investment and

trading decisions with respect to the acquisition and disposition . . . of Investment Assets . . . .”

Id. Thus, Advisors’s stewardship of SDCERA’s investment presents a classic example of a

relationship of special trust governed by fiduciary duties.

       B.      Maounis, Winkler, And Jones Each Owed SDCERA Fiduciary Duties As
               Officers Of Advisors

       Directors and officers owe fiduciary duties to both the underlying corporation and to its

shareholder or members. See, e.g., Malone v. Brincat, 722 A.2d 5, 10 (Del. 1998) (finding

directors and officers of corporation owe fiduciary duties to corporation and to its shareholders).

The Fund, however, has neither a board of directors, nor any officers; instead, it has only a

Manager, Advisors, that had “full and complete charge of all affairs of the [Fund].” Burgos Aff.,

Ex. D at p. 8. See also Compl. ¶ 31. On the other hand, the Fund’s Manager, Advisors, did have

officers: Maounis, President and Chief Investment Officer; Winkler, Chief Operating Officer;

and Jones, Chief Risk Officer. (Compl. ¶¶ 25-27.) Thus, without any intervening layer of

management or directorship provided by the Fund, Advisors’s officers – Maounis, Winkler, and

Jones – actually exercised the “full and complete charge of all affairs of the [Fund],” including

stewardship over the members’ individual capital accounts. Burgos Aff., Ex. D at p. 8. See also

Compl. ¶¶ 31, 56, 66, 117. Thus, Maounis, Jones, and Winkler, as officers of the Fund’s

Manager, owed fiduciary duties to SDCERA. See Malone, 722 A.2d at 10.




                                                  82
       Case 1:07-cv-02618-DAB Document 32 Filed 08/14/07 Page 95 of 113



       C.      SDCERA Had a Special Relationship of Trust With Each of Maounis,
               Winkler, and Jones, Individually

       As noted above, a fiduciary relationship arises in “a situation where one person reposes

special trust in and reliance on the judgment of another . . . .” Cheese Shop Int’l., 303 A.2d at

690. Not only did SDCERA place special trust in Advisors regarding its investment in the Fund,

but also in Maounis, Winkler, and Jones, each of whom personally cultivated SDCERA’s

investment and held themselves out to have special expertise and experience in managing and

controlling the risk of multi-strategy hedge funds. In large part due to these claims of special

expertise, SDCERA chose to become a member of the Fund and entrusted its investment to

Maounis, Winkler, and Jones. (Compl. ¶¶ 5, 13, 29, 41-45.)

       To begin, as alleged in the Complaint, Maounis specifically engendered a special

relationship of trust by affirming to SDCERA on July 21, 2005 that defendants “have a fiduciary

responsibility to our investors.” (Id. at ¶ 44.) SDCERA had every reason to believe such a

relationship existed – as indeed one does – given that during SDCERA’s due diligence meetings

at Advisors’s facilities, Maounis had repeatedly stressed Advisors’s risk controls, diversification

strategies, and commitment to producing consistent results in a low-risk environment. (Id. at

¶¶ 5, 33.) Moreover, Maounis’s representations were supported by the 2003 PPM that declared

that Maounis had extensive experience not only with personally trading multiple large portfolios,

but also in supervising teams of traders and trading assistants. See Burgos Aff., Ex. A at p. 12.

Such representations were important to SDCERA, especially since the 2003 PPM provided that

Maounis would be “responsible for all investment functions (including the allocation of the

Fund’s capital among the various trading strategies employed by the Manager) and the overall

management and supervision of the Manager.” Id. (Compl. ¶ 31.) Where, as here, SDCERA

placed trust in the faithful integrity of Maounis, who as a result gained superiority over



                                                 83
       Case 1:07-cv-02618-DAB Document 32 Filed 08/14/07 Page 96 of 113



SDCERA, a special relationship of trust inures and a fiduciary relationship results. Legatski,

2006 WL 1229689, at *3.

       Similarly, Winkler’s representations to SDCERA, as alleged in the Complaint, also

establish a special relationship of trust creating a fiduciary duty. Winkler, the Chief Operating

Officer, was one of three principal Advisors personnel listed in the 2003 PPM. See Burgos Aff.,

Ex. A at p. 13. During SDCERA’s March 2005 due diligence meeting, Winkler encouraged

SDCERA’s investment in the Fund by representing that its investment would be in the safe,

capable hands of a team that employed proactive risk management and diversification policies.

(Compl. ¶ 33.) Given that Winkler’s PPM biography lauds his high-level experience with funds

that had similar trading strategies as Advisors and emphasized his significant management

background, SDCERA had no reason not to trust Winkler. See Burgos Aff., Ex. A at p. 13.

(Compl. ¶¶ 43, 50.) SDCERA placed its trust in Winkler as Advisors’s overseer of its

investment and relied on Winkler to act in its, and the Fund’s, interests. A fiduciary relationship

arose. See Legatski, 2006 WL 1229689, at *3.

       Finally, Jones, despite his contentions otherwise, created a fiduciary relationship with

SDCERA by promoting his own expertise in and Advisors’s approach to risk management. To

be sure, Jones is singled out in the Complaint as being in charge of the Fund’s overall risk

management, one of the Fund’s primary selling points to SDCERA. (Compl. ¶ 40.) Thus,

Jones’s representations concerning the Fund’s proactive risk management team, which

supposedly both oversaw and worked with the Fund’s sector heads and portfolio managers, held

great weight. (Id. at ¶¶ 39, 43.) The 2003 PPM further backed up Jones’s representations by

specifically touting his development of risk-limiting techniques, his scholarly work on the topic,

and his consultation with the NYSE Chairman on operational risk issues. See Burgos Aff., Ex. A




                                                84
       Case 1:07-cv-02618-DAB Document 32 Filed 08/14/07 Page 97 of 113



at p. 13. SDCERA believed Jones when he touted the Fund’s risk controls and put its trust and

confidence in him to protect their investment. (Compl. ¶ 50.) Thus, Jones most certainly had

superiority and influence over SDCERA and its investment, thereby also generating a fiduciary

responsibility. See Legatski, 2006 WL 1229689, at *3.

       D.      The Fraud Defendants Breached The Duty Of Care

       Under Delaware law, a fiduciary is held to have breached the duty of care through

conduct akin to gross negligence. See Gotham Partners, L.P. v. Hallwood Realty Partners, L.P.,

817 A.2d 160, 170 (Del. 2002). Only Advisors and Winkler expressly deny that their conduct

constituted breaches of fiduciary duty. Advisors’s Mem. at pp. 34-35; Winkler’s Mem. at pp.

12-13. Specifically, Advisors and Winkler argue that SDCERA has not pled conduct rising to

the level of gross negligence. See Advisors’s Mem. at pp. 34-35. As discussed for Counts III

and VIII above, SDCERA has alleged sufficient facts to show that Advisors and Winkler, as well

as Maounis and Jones, acted with reckless disregard constituting gross negligence.

       Nonetheless, Advisors and Winkler assert that SDCERA cannot plead that they were

grossly negligent, because both were empowered to act with complete discretion. See Advisors’s

Mem. at p. 35. Complete discretion, however, does not exculpate the Fraud Defendants from

liability for breach of their fiduciary duties. See Miller v. Am. Real Estate Partners, L.P., No.

CIV.A.16788, 2001 WL 1045643, at *8-9 (Del. Ch. Sept. 6, 2002) (finding that sole discretion

clauses still require the managing members of LLCs to exercise discretion that will not breach

fiduciary duties). Indeed, it was the Fraud Defendants’ complete control over the Fund that

created their fiduciary duties in the first place and required them to exercise that control with

care. See, e.g., Madison, 2006 WL 456779, at *3.

       Albert v. Alex Brown Management Services Inc., Nos. Civ. A 762-N & 763-N, 2005 WL

2130607 (Del. Ch. Aug. 26, 2005), cited by Advisors, is not to the contrary. Albert stands only


                                                 85
        Case 1:07-cv-02618-DAB Document 32 Filed 08/14/07 Page 98 of 113



for the proposition that when faced with two legitimate courses of action, a fiduciary does not

breach its duty by choosing one over the other. Id. at *4. Here, SDCERA does not take issue

with Advisors’s legitimate choices, but rather with its reckless abandonment of risk controls for

the Fund’s energy trading portfolio, despite promises otherwise. (Compl. ¶¶ 6-7, 13-14, 117.)

        E.     The Fraud Defendants Breached The Duty Of Candor

        The Complaint also alleges that the Fraud Defendants breached their fiduciary duties “by

deliberately misleading SDCERA as to the Fund’s investment strategies and risk controls before

and after SDCERA made its investment.” (Compl. ¶ 117.) Under Delaware law, fiduciaries are

required to “provide full and fair disclosure of all material facts relating to any matter involving

the [LLC.]” See In re Bigmar, Inc., No. Civ. A. 19289-NC, 2002 WL 550469, at *23. Thus,

SDCERA’s allegations, for example, that the Fraud Defendants failed to disclose the true facts

regarding Hunter’s prominent trading role in the Fund, their failure to exercise oversight over his

trades, and their continuous misrepresentations about the Fund’s positions in natural gas

sufficiently assert a breach of their duty of complete candor. (Compl. ¶¶ 12-15, 55-58, 71-75,

117.)

        F.     The Fraud Defendants Breached The Duty Of Good Faith And Fair Dealing

        In addition, the Fraud Defendants have breached their respective duties of good faith and

fair dealing. (Compl. ¶ 118.) A fiduciary is deemed to have acted in bad faith whenever the

action at issue was taken “for some purpose other than a genuine attempt to advance corporate

welfare.” In re Walt Disney Co. Derivative Litig., 907 A.2d 693, 753 (Del. Ch. 2005). SDCERA

has alleged that the Fraud Defendants continued to misrepresent the Fund’s natural gas position

to maintain SDCERA’s $175 million investment in that position and personally reap the benefits

of that position in the market (before the Fund’s natural gas position became the market) through

bonuses and performance fees accruing to the Fraud Defendants. (Compl. ¶ 7.) Because the


                                                 86
       Case 1:07-cv-02618-DAB Document 32 Filed 08/14/07 Page 99 of 113



Fraud Defendants sought to advance their own personal welfare, not the Fund’s, SDCERA has

adequately pled the Fraud Defendants breached their duty of good faith and fair dealing.

       G.      The LLC Agreement Does Not Limit Advisors’s Fiduciary Duties

       While Delaware law permits the members of an LLC to contractually modify the duties

members owe to each other, fiduciary duties will not be deemed waived or modified except by

express language in the LLC agreement specifically doing so. See Sonet v. Timber Co., L.P., 722

A.2d 319, 322 (Del. Ch. 1998). See also Douzinas v. American Bureau of Shipping, Inc., 888

A.2d 1146, 1149-50 (Del. Ch. 2006) (under Delaware law, the LLC agreement defines the scope

of any alterations of fiduciary duties). Any contractual language exculpating a party from

fiduciary duties must do so clearly, plainly and unambiguously. Sonet, 722 A.2d at 322.

       Here, no clear, plain and unambiguous language in the LLC Agreement absolves

Advisors for breaches of fiduciary duty. Furthermore, the language in the LLC Agreement

preserves claims against Advisors for fraud, bad faith, gross negligence, or reckless or intentional

misconduct:

     No Manager Party shall have any liability . . . for: (i) any act performed, or the
     omission to perform any act, within the scope of the power and authority conferred
     on the Manager by this Agreement . . . except by reason of acts or
     omissions . . . Determined to constitute fraud, bad faith, gross negligence or reckless
     or intentional misconduct[.]

Burgos Aff., Ex. D at p. 14. No part of the paragraph refers to fiduciary duties or purports to

limit them. Accordingly, the LLC Agreement’s limitation of liability does not excuse Advisors

for harm arising from its breach of fiduciary duty. See Sonet, 722 A.2d at 322.

       H.      SDCERA’s Fiduciary Duty Claims Do Not Duplicate Its Fraud Claim

       Finally, Jones argues that SDCERA’s breach of fiduciary claims should be dismissed as

duplicative of its fraud claims. See Jones’s Mem. at p. 24. Jones is, however, mistaken: the

theories and allegations of the claims are substantially different.


                                                 87
       Case 1:07-cv-02618-DAB Document 32 Filed 08/14/07 Page 100 of 113



       SDCERA bases its breach of fiduciary duty claims on Advisors’s, Maounis’s, Winkler’s,

and Jones’s breaches of the duties of care, candor, loyalty, and good faith and fair dealing.

While the fraud claims encompass the Fraud Defendants’ misrepresentations, they do not address

the reckless mismanagement of the LLC, which is encompassed by the claims for breach of the

duty of care, loyalty, and good faith and fair dealing. Furthermore, SDCERA’s breach of

fiduciary duty claims require very different elements and proof than SDCERA’s fraud claims:

breach of fiduciary duty claims only require a showing that the defendant owed a duty to the

plaintiff and that he breached that duty, Legatski, 2006 WL 1229689, at *3; on the other hand,

fraud claims must be supported by scienter and reliance,37 see, e.g., Dura Pharms., Inc. v.

Broudo, 544 U.S. 336, 341 (2005). Likewise, SDCERA’s claims for defendants’ breach of the

duty of candor do not require any showing of reliance, causation, or actual monetary damages.

Rather, SDCERA must only establish that the alleged misrepresentation or omission was

material. See Malone, 722 A.2d at 12.38

       Therefore, the Fraud Defendants’ motions to dismiss SDCERA’s breach of fiduciary duty

claims (Count V) must be denied.

VII.   COUNT VI OF THE COMPLAINT STATES CLAIMS FOR AIDING AND
       ABETTING BREACH OF FIDUCIARY DUTY AGAINST WINKLER, JONES,
       AND HUNTER

       Under the governing Delaware law, the elements of a cause of action for aiding and


37
        Jones is also incorrect that SDCERA must plead breach of fiduciary duty with
particularity. See Am. Tissue, Inc. v. Donaldson, Lufkin & Jenrette Sec. Corp., 351 F. Supp. 2d
79, 101 (S.D.N.Y. 2004) (recognizing that breach of fiduciary duty pleading negligence as
opposed to fraud is not subject to Rule 9(b)); Rahl v. Bande, 328 B.R. 387, 413 (S.D.N.Y. 2005)
(rejecting application of Rule 9(b) pleading standards to plaintiff’s breach of fiduciary duty
claims that were not premised on allegations of fraud).
38
       But see Metro Commc’n Corp. BVI v. Advanced Mobilecomm Techs. Inc., 854 A.2d 121,
157-58 (Del. 2004).



                                                88
       Case 1:07-cv-02618-DAB Document 32 Filed 08/14/07 Page 101 of 113



abetting a breach of fiduciary duty are: (1) a fiduciary relationship; (2) breach of that

relationship; (3) knowing participation by the defendant in the breach; and (4) damages

proximately caused by the breach. See Malpiede v. Townson, 780 A.2d 1075, 1096 (Del. 2001).

Defendants Hunter, Winkler and Jones each refer to arguments against the underlying breach of

fiduciary duty claim (including their incorrect assertion that the claim is derivative) as reasons

why Count VI should be dismissed as well.39 Individually, Hunter challenges the “knowing

participation” element of SDCERA’s claim, and asserts the claim must be dismissed against him

because (1) he was never informed of any complaints regarding his trading practices or any

violations of Advisor’s policies, and (2) he cannot have aided and abetted Winkler’s and Jones’

breaches because his trading activities were the “result” of their supposed breaches. Hunter

Mem. at 17. Both arguments are disingenuous, and SDCERA’s claims are well-pled.40

       A.      SDCERA Has Alleged Winkler’s Knowing Participation in Advisors’s And
               Maounis’s Breaches Of Their Fiduciary Duties

       The Complaint contains numerous specific allegations in support of Winkler’s specific

liability to SDCERA for aiding and abetting Maounis’s and Advisors’s breaches. In particular,

the Complaint alleges that Winkler participated in meetings and telephone conferences in which

he knowingly remained silent and failed to correct false and misleading statements or omissions

made by Maounis and Advisors regarding diversification, reduction of the natural gas allocation,

and use of adequate risk controls (Compl. ¶¶ 33, 41, 43, 78); that Winkler knew about, approved,


39
   See Winkler Mem. at 13-14; Hunter Mem. at 16-17; Jones Mem. at p. 23, n. 8. As previously
noted, the Complaint does sufficiently allege that Advisors and Maounis owed fiduciary duties to
SDCERA. See, supra, Section V.
40
   Hunter cites both New York and Delaware law without making an argument as to which law
should apply. (Hunter’s Mem. at pp. 15-16.) However, aiding and abetting of fiduciary duty
claims are governed by Delaware law under the internal affairs doctrine. See Seybold 2007 WL
737502, at *5.



                                                 89
       Case 1:07-cv-02618-DAB Document 32 Filed 08/14/07 Page 102 of 113



and participated in Maounis’s hiring of Hunter despites Hunter’s history at Deutsche Bank (id. at

¶ 46); that Winkler was intimately involved in all of Advisors’s operations and key decisions,

including decisions relating to Hunter’s compensation, and even discussed capital allocation

issues with Maounis on an almost daily basis, which resulted in Maounis’s continued allocation

of a large amount of the Fund’s capital to Hunter’s reckless natural gas trading (id. at ¶¶ 56-57);

and that despite being warned of the risks of Hunter’s reckless positions, Winkler, along with

Advisors and Maounis, continued to encourage and enable Hunter’s trading without any risk

controls in place (id. at ¶¶ 62, 65). (See also id. at ¶ 123.).

        B.      SDCERA Has Also Adequately Alleged Its Aiding and Abetting Breach Of
                Fiduciary Duty Claim Against Jones

        Jones’s only individual argument against SDCERA’s aiding and abetting claim asserts

that SDCERA “has done nothing more than state the elements of the cause of action.” Jones’s

Mem. at p. 23. On the contrary, the Complaint alleges particular actions by Jones evidencing his

knowing participation in Maounis’s and Advisors’s breaches. For example, SDCERA alleges

that Jones was an active participant during SDCERA’s due diligence visit to Advisors’s office in

March 2005, and that he knowingly failed to correct the false and misleading statements or

omissions made by Maounis and Advisors to SDCERA. (Compl. at ¶¶ 33, 41-43.) Similarly,

SDCERA alleges that Jones knowingly failed to correct misleading statements and omissions by

the other Defendants during the June 7, 2006 and August 10, 2006 telephone conferences with

Rocaton, and at the July 21, 2005 meeting in San Diego. (Compl. at ¶¶ 73-75, 78, 81.)

Furthermore, SDCERA has alleged that Jones, as Chief Risk Officer, was responsible for

overseeing the risk exposure of all of Advisors’s portfolios, including Hunter’s trading practices.

(Compl. at ¶¶ 15, 27, 39, 66.) The Complaint further alleges that Jones failed to act when

Maounis overrode the risk department’s control recommendations regarding Hunter, and in fact,



                                                   90
       Case 1:07-cv-02618-DAB Document 32 Filed 08/14/07 Page 103 of 113



knowingly assisted Advisors and Maounis in encouraging Hunter’s reckless trading practices by

failing to apply the same standards of risk control to Hunter’s trading as were apparently applied

to other aspects of the Fund’s portfolio. (Id. at ¶¶ 15, 65.) The Complaint thus alleges each

element of a cause of action for aiding and abetting breach of fiduciary duty against Jones.

       C.      SDCERA Has Also Adequately Alleged That Hunter Aided and Abetted All
               Of The Fraud Defendants’ Breaches Of Their Fiduciary Duties To SDCERA

       Whether or not anyone complained to Hunter about his trading practices is immaterial.

SDCERA’s allegations of breach of fiduciary duty are that the Defendants knew or should have

known that their disclosures to SDCERA were inadequate, and that their trading strategies were

reckless. (Compl. at ¶¶ 115-119). See also, supra Section VI. The Complaint alleges that

Hunter was in possession of this same knowledge, i.e., he knew what was being told to investors

such as SDCERA (see e.g., Compl. at ¶ 73, alleging Hunter was on one of the telephone calls in

which misrepresentations were made to SDCERA); he knew that it was not true (see e.g., Compl.

at ¶ 74); and he knew that the trading strategies he was employing on behalf of Advisors were

reckless (see e.g., Compl. at ¶¶ 46, 63, noting recklessness of Hunter’s trades and the fact that he

had been fired from his previous employer for reckless energy trading that led to extreme losses).

       Hunter’s second argument is merely a restatement of the first. Aiding and abetting a

breach of fiduciary duty is premised on the notion of an underlying breach by someone else. The

cause of action, therefore, is supported – not defeated – by allegations that the complained-of

conduct was a part of someone else’s breach of duty. Hunter is thus correct in one respect: the

breach of fiduciary duty that is derived from his trading activity is a breach by Advisors,

Maounis, Winkler and Jones. The breach, however, would not have occurred but for Hunter’s




                                                 91
         Case 1:07-cv-02618-DAB Document 32 Filed 08/14/07 Page 104 of 113



knowingly reckless trading, which the other defendants allowed to occur.41 The Complaint

alleges all of the necessary elements for an aiding and abetting cause of action against Hunter.

VIII. COUNT VI OF THE COMPLAINT STATES A CLAIM AGAINST ADVISORS
      FOR BREACH OF CONTRACT (COUNT IV)

         The Complaint contains allegations as to each of the required elements of a breach of

contract claim. See Zaro Licensing, Inc. v. Cinmar, Inc., 779 F. Supp. 276, 286 (S.D.N.Y. 1991)

(complaint must allege “the terms of the contract, each element of the alleged breach and the

resultant damages in a plain and simple fashion”). 42 Consequently, Advisors’s motion to dismiss

Count VI must be denied.

         A.     By Acknowledging And Directly Benefiting From The Subscription
                Agreement, Advisors Is Bound By It Terms

         Advisors decries any liability to SDCERA under the Subscription Agreement because it

claims not to have signed the Agreement in its “individual” capacity, but rather only in its

capacity as Manager of the Fund. See Advisors’s Mem. at pp. 35-36. Advisors, however, was a

signatory to the LLC Agreement, which explicitly states that “[t]his [LLC] Agreement, together

with the Subscription Agreement . . . sets forth the entire agreement and understanding of the

parties.” Burgos Aff., Ex. D at p. 42. Thus, Advisors specifically acknowledged that its entire

agreement with SDCERA included the Subscription Agreement and it is therefore bound by its

terms.

         Second, even apart from the LLC Agreement, Advisors is independently bound to the


41
  Hunter’s arguments are directed only at SDCERA’s allegations of breaches of fiduciary duty
by Winkler and Jones. See Hunter’s Mem. at pp. 17-18. Count VI of SDCERA’s Complaint,
however, alleges that Hunter (along with Winkler and Jones) also aided and abetted Maounis’s
and Advisors’s breaches of fiduciary duty. (Compl. ¶121.)
42
       The contract at issue in this claim, the Subscription Agreement, provides that New York
law governs claims arising thereunder. Burgos Aff., Ex. C at p. S-9.



                                                92
       Case 1:07-cv-02618-DAB Document 32 Filed 08/14/07 Page 105 of 113



terms of the Subscription Agreement, which it expressly endorsed and benefited from. Under the

Subscription Agreement, Advisors has the unqualified right in its individual capacity (not in its

capacity as a representative of the Fund) to accept or reject the Subscription Agreement in whole

or in part. See Burgos Aff., Ex. C at p. 2. Advisors, however, neither rejected the Subscription

Agreement nor objected to any part thereof. Instead, Advisors accepted the Subscription

Agreement, along with SDCERA’s $175 million investment, from which Advisors then

proceeded to benefit (again, in its individual, not representative, capacity) by reaping high

performance fees on its investment of SDCERA’s contributed capital. By ratifying the

Subscription Agreement and benefiting from it, Advisors cannot now claim that it was not a

party to it. See Jaywyn Video Prods., Ltd. v. Servicing All Media, Inc., 179 A.D.2d 397, 398

(“[D]efendants have ratified the agreement by adhering to it and deriving benefit from it without

objection”). See also Birger v. Tuner, 104 Misc. 2d 63, 68 (N.Y. Civ. Ct. 1980) (finding

nonsignatory to contract liable where he directly benefited from it); Am. Bureau of Shipping v.

Tencara Shipyard S.P.A., 170 F.3d 349, 352-53 (2d Cir. 1999) (finding non-signatory bound by

an arbitration provision because the nonsignatory received a “direct benefit” from the contract).

                       1.      The Subscription Agreement Must Be Interpreted In
                               Conjunction With The 2003 PPM

       Advisors also challenges SDCERA’s breach of contract claim on the grounds that

SDCERA has not pled a breach of any contractual obligation and cannot do so based on the 2003

PPM. See Advisors’s Mem. at p. 37. SDCERA, however, has legitimately pled a breach of

contract claim based on the terms of the 2003 PPM, which was expressly incorporated by




                                                 93
       Case 1:07-cv-02618-DAB Document 32 Filed 08/14/07 Page 106 of 113



reference into the Subscription Agreement. See Burgos Aff., Ex. C at p. S-2.43 See Ronan

Assocs., Inc. v. Local 94094A-94B, 24 F.3d 447, 449 (2d Cir. 1994) (parties to an agreement are

free to incorporate by reference and bind themselves to terms found in other documents).

Section 3(b) of the Subscription Agreement, entitled, “Representations, Warranties and

Acknowledgements,” states, in part, that “[t]he Subscriber . . . further understands that the only

disclosures for which the Fund or any Manager Party accepts any responsibility relating to the

Subscriber’s investment are those set forth in the [2003 PPM as supplemented by the Supplement

dated December 2003].” Id. at pp. S-2 - S-3. Accordingly, the terms of the 2003 PPM are

incorporated into the Subscription Agreement, since it would be impossible to determine

Advisors’s liability for breach of the Subscription Agreement without reference to the terms of

the PPM. See PaineWebber Inc. v. Bybyk, 81 F.3d 1193, 1201 (2d Cir. 1996) (any paper

sufficiently described and referred to in an agreement may be made part of the agreement as if

incorporated therein, so long as the paper is identified beyond reasonable doubt).

                       2.     Advisors Breached The Subscription Agreement By Failing To
                              Honor Its Disclosures In The 2003 PPM

       SDCERA has alleged that Advisors contracted to “allocate capital and manage the Fund

as if it were a diverse multi-strategy hedge fund with sound risk management policies,” and that

Advisors breached those promises by “concentrating the Fund’s exposure in the energy sector,

and by failing to manage the Fund properly.” (Compl. ¶ 113.) In doing so, SDCERA has

identified throughout the Complaint numerous specific promises that Advisors made in the 2003


43
  Advisors cites Insurance Co. of North America v. Johnson, 959 F.2d 240 (1992), for the
proposition that SDCERA cannot base its claim on the 2003 PPM. That case, however, was
decided under California, not New York, law. Furthermore, the court there failed to consider, as
courts in New York do, whether “there would have been no bargain whatever if any promise or
set of promises had been stricken” from the agreement as a whole. See id. at *3.



                                                94
       Case 1:07-cv-02618-DAB Document 32 Filed 08/14/07 Page 107 of 113



PPM (see, e.g., id. at ¶¶ 33-36), as well as the manner in which Advisors breached those terms

(see, e.g., id. at ¶¶ 37, 58, 63-65). Finally, SDCERA has set forth its damages from these

breaches as at least $130 million. (Id. at ¶ 114.) Accordingly, SDCERA has pled a cause of

action for breach of contract.

       B.      The LLC Agreement’s Limitation Of Liability Clause Does Not Excuse
               Advisors’s Breach

       Advisors also seeks to avoid liability for its breaches of contract through the limitation of

liability clause in the LLC Agreement. See Advisors’s Mem. at pp. 36-37. To the extent this

limitation of liability provision absolves Advisors for its breaches of contract, it would do so

only for those breaches arising out its acts or omissions within the scope of the LLC Agreement.

See Burgos Aff., Ex. D at p. 14.) Here, SDCERA claims that Advisors breached the

Subscription Agreement and the 2003 PPM; consequently, the LLC Agreement’s limitation of

liability provision cannot shield Advisors from SDCERA’s claim.

       Nor can Advisors claim that the parties have incorporated the LLC Agreement’s

limitation of liability provision into the Subscription Agreement. It is well-settled that clauses

relating to the resolution of disputes can only be incorporated into an agreement by language that

is “sufficiently specific” to ensure that the parties intended the provision to apply. CooperVision,

Inc. v. Intek Integration Techs., Inc., 7 Misc. 3d 592, 600 (N.Y. Sup. Ct. 2005). While the

Subscription Agreement acknowledges that the LLC Agreement is part of the entire agreement

between the parties, it does not contain the “sufficiently specific” language necessary to

incorporate the LLC Agreement’s limitation of liability clause. See generally Burgos Aff.,

Ex. C. Indeed, the very wording of the LLC Agreement’s limitation of liability clause,

restricting its application to “this Agreement,” establishes that it does not apply to the

Subscription Agreement or 2003 PPM. Burgos Aff., Ex. D at p. 14. See also Sempra Energy



                                                 95
      Case 1:07-cv-02618-DAB Document 32 Filed 08/14/07 Page 108 of 113



Trading Corp. v. Algoma Steel, Inc., No. 00 Civ. 9227 (GEL), 2001 WL 282684, at *6 (S.D.N.Y.

Mar. 22, 2001) (finding forum selection clause referring to “proceedings related to this

Agreement” supported applying clause only to agreement containing the clause). Thus, the LLC

Agreement’s limitation of liability clause does not bar SDCERA’s breach of contract claim.

       C.      SDCERA’s Breach Of The Implied Covenant Of Good Faith And Fair
               Dealing Claim Is Distinct From Its Breach Of Contract Claim

       Finally, Advisors argues that SDCERA’s breach of the implied covenant of good faith

and fair dealing claim cannot survive because it is duplicative of SDCERA’s breach of contract

claim. See Advisors’s Mem. at pp. 38-39. Under New York law, the covenant of good faith and

fair dealing precludes each party from engaging in any conduct that deprives the other party of

its bargained-for benefits in the agreement. See CVC Claims Litig. L.L.C. v. Citicorp Venture

Capital Ltd., No. 03 Civ. 7936, 2006 WL 1379596, at *5 (S.D.N.Y. May 18, 2006). A party

breaches the covenant when it acts in a manner that deprives the other party of a benefit under

the agreement, even though that action is not expressly barred by any contractual provision. Id.

       Here, SDCERA’s Complaint alleges not only that Advisors breached its explicit

contractual duties in the 2003 PPM and the Subscription Agreement, but also knowingly misled

SDCERA after its investment by continuously misrepresenting the Fund’s natural gas holdings

and lack of risk controls to deter SDCERA from exercising its contractual right of withdrawal.

(Compl. ¶¶ 6, 69-77, 113; Burgos Aff., Ex. A at pp. 4, 37-38.) Although Advisors’s

misrepresentations are not explicitly barred by the terms of the 2003 PPM, they clearly deprived

SDCERA of its contractual right to withdraw the appreciation on its investment, as well as its

capital, at times most advantageous to SDCERA. Thus, Advisors divested SDCERA of a

bargained-for benefit of the agreements. As a result, SDCERA’s claim that Advisors breached

the implied covenant of good faith and fair dealing must survive Advisors’s motion to dismiss.



                                                96
       Case 1:07-cv-02618-DAB Document 32 Filed 08/14/07 Page 109 of 113



IX.    THE COMPLAINT STATES CLAIMS FOR VICARIOUS LIABILITY AGAINST
       THE FRAUD DEFENDANTS (COUNT VII)

       Despite being Hunter’s immediate supervisors, and imbued with authority and control

over him that they lamentably failed to exercise, the Fraud Defendants all repudiate any

responsibility for failing to prevent Hunter’s grossly negligent trading and aiding and abetting of

breach of fiduciary duty. See Advisors’s Mem. at pp. 39-40; Maounis’s Mem. at p. 25;

Winkler’s Mem. at pp. 14-15; Jones’s Mem. at p. 21. Under the doctrine of respondeat superior,

however, an employer such as Advisors is vicariously liable for torts committed by its employees

acting within the scope of their employment. See Higazy v. Millennium Hotel & Resorts, CDL

(NY) L.L.C., 346 F. Supp. 2d 430, 453 (S.D.N.Y. 2004). Moreover, this vicarious liability

extends to Maounis, Winkler, and Jones individually because each directed, controlled, or

permitted Hunter’s gross negligence in his investment decisions and his aiding and abetting of

the Fraud Defendants’ breach of fiduciary duties. See, e.g., Connell v. Hayden, 443 N.Y.S.2d ,

397-398 (N.Y. Sup. Ct. 1981); Ventres v. Goodspeed Airport, L.L.C., 881 A.2d 937, 962 (Conn.

2005); People v. Toomey, 203 Cal. Rptr. 642, 651 (Cal. Ct. App. 1984). SDCERA has

sufficiently alleged that Defendants Advisors, Maounis, Winkler, and Jones are each liable for

Hunter’s tortious conduct (Compl. at ¶¶ 126-129). Accordingly, defendants’ motions to dismiss

must be denied.

       A.      Advisors, As Hunter’s Employer, Is Vicariously Liable For His Torts Within
               The Scope Of His Employment

       As Hunter’s employer, Advisors is vicariously liable for torts committed by Hunter

acting within the scope of his employment. See Higazy, 346 F. Supp. 2d at 453. Advisors does

not contest that Hunter’s actions alleged in the Complaint were within the scope of his

employment. (See Advisors’s Mem. at pp. 39-40.) Nor does Advisors contest, since it cannot,

that if SDCERA states a claim against Hunter for either gross negligence or aiding and abetting


                                                97
       Case 1:07-cv-02618-DAB Document 32 Filed 08/14/07 Page 110 of 113



breach of fiduciary duty, then it will be liable vicariously for these torts as well. See Id ..

Rather, Advisors only argues that SDCERA has failed to state a valid tort claim against Hunter,

leaving no predicate claim upon which to base Advisors’s vicarious liability. (See Advisors’s

Mem. at pp. 39-40.) As discussed, supra, however, SDCERA has alleged viable causes of action

against Hunter for gross negligence and aiding and abetting the Fraud Defendants’ breach of

fiduciary duty. Therefore, SDCERA has alleged a viable predicate claim for vicarious liability

against Advisors.

        B.      As Maounis, Winkler, And Jones Directed, Controlled, Or Permitted
                Hunter’s Torts, They Are Also Vicariously Liable

        Maounis and Winkler seek to evade liability for Hunter’s torts by asserting that vicarious

liability only attaches to the corporation, not its owner or officers.44 See Maounis’s Mem. at p.

25; Winkler’s Mem. at pp. 14-15. For this general proposition, Maounis relies upon Meyer v.

Holley, 537 U.S. 280 (2003). Meyer, however, expressly leaves open the possibility of liability

against individual corporate officers under “special circumstances.” Meyer, 537 U.S. at 286

(“[I]n the absence of special circumstances it is the corporation . . . who is the principal or

employer . . . subject to vicarious liability by its employers or agents” (emphasis added)).

        Although the Meyer court did not elaborate on these “special circumstances,” other cases

establish that such special circumstances exist in SDCERA’s case. Where courts have refused to

impose vicarious liability upon a supervisor, they do so because the ordinary supervisor “lacks

the right to select, control and discharge the employee.” See Connell, 443 N.Y.S.2d at 397


44
  Jones neither makes this argument nor incorporates it by reference into his brief. Instead,
Jones only argues that he cannot be liable for Hunter’s torts because Hunter cannot be held liable
for gross negligence under Connecticut law. See Jones’s Mem. at p. 21. As established in
Section V(B)(3), supra, however, Hunter may be held liable for gross negligence under
Connecticut law. Thus, Jones, like Maounis and Winkler, is liable for Hunter’s torts.



                                                  98
       Case 1:07-cv-02618-DAB Document 32 Filed 08/14/07 Page 111 of 113



(“[T]he right to select, control, and discharge the employee . . . is essential to the imposition of

vicarious liability[.]”) On the other hand, numerous courts have imposed vicarious liability, or

acknowledged situations where such liability may be imposed, where the supervisor controls,

directs, or permits the tortious conduct of the employee. See id. (noting vicarious liability would

arise where an employee adopts and controls the work of another employee); Ventres, 881 A.2d

at 962 (finding officer of LLC vicariously liable where he personally directed employee to cut

down trees on another’s property); Toomey, 203 Cal. Rptr. at 651 (finding managing officer of

corporation personally liable for subordinates’ misleading statements because he had overall

control of the business’s operations); Keams v. Tempe Technical Inst., Inc., 993 F. Supp. 714,

725 (D. Ariz. 1997) (listing three bases of officer liability for torts of employee as “participation,

knowledge amounting to acquiescence, or negligent management and supervision.”).

       Here, SDCERA has alleged such special circumstances to make Maounis, Winkler, and

Jones vicariously liable for Hunter’s conduct. Specifically, SDCERA has alleged that Maounis,

Winkler, and Jones directed the overall operations of the Fund (Compl. ¶ 3), hired Hunter (id. at

¶ 46), permitted Hunter to take highly-leveraged and unhedged positions that endangered

investors’ investments in the Fund (id. at ¶ 13), directed additional capital to Hunter for his

natural gas trades (id. at ¶ 56), and allowed Hunter to make increasingly larger natural gas trades

such that the Fund was effectively the market (id. at ¶ 57). Each of these actions is sufficient to

make Maounis, Winkler, and Jones personally liable for Hunter’s torts. Consequently, SDCERA

has alleged a valid claim for vicarious liability against each of the Fraud Defendants.

X.     ALTERNATIVELY, SDCERA SHOULD BE GRANTED LEAVE TO AMEND ITS
       COMPLAINT

       In the event that the Court were to find that any of the Counts of the Complaint has failed

to state a claim, SDCERA should be granted leave to file an amended complaint pursuant to Fed.



                                                  99
       Case 1:07-cv-02618-DAB Document 32 Filed 08/14/07 Page 112 of 113



R. Civ. P. 15(a). As the Rule indicates, leave to amend “shall be freely given when justice so

requires.” Id. Both the Second Circuit and this Court have repeatedly held that when claims are

found deficient on a motion to dismiss, “the usual practice is to grant leave to amend the

complaint.” Rozani v. Sanofi S.A., 899 F.2d 195, 198 (2d Cir. 1990) (remanding with

instructions to grant leave to amend); see also Kalnit, 85 F. Supp. 2d 232, 246 (S.D.N.Y. 1999)

(“It is the usual practice upon granting a motion to dismiss to allow leave to replead.”) (quoting

Cortec Indus., Inc. v. Sum Holding L.P., 949 F.2d 42, 48 (2d Cir. 1991)). Dismissal without such

leave is typically reserved for situations where the Court previously granted leave to amend. See

Rozani, 899 F.2d at 198 (concluding district court abused its discretion in dismissing complaint

without leave to amend where plaintiff had not previously been given leave to amend); Luce v.

Edelstein, 802 F.2d 49, 56 (2d Cir. 1986) (same).

       Courts should be especially liberal in granting leave to amend in cases of dismissed

securities fraud claims. See, Acito v. IMCERA Group, Inc., 47 F.3d 47, 55 (2d Cir. 1995); Luce,

802 F.2d at 56 (noting with regard to dismissal of plaintiff’s 10b-5 claims that “[c]omplaints

dismissed under Rule 9(b) [for failure to plead with particularity] are ‘almost always’ dismissed

with leave to amend”). Similarly, courts freely grant leave to amend 10b-5 claims where

plaintiffs’ allegations regarding scienter are deemed deficient. See, e.g., Devaney v. Chester, 813

F.2d 566, 568-69 (2d Cir. 1987) (ruling plaintiff whose 10b-5 complaint pled scienter with a

single assertion that one of the defendants had “knowledge” of the inaccuracy of information

accompanying prospectus must be given an opportunity to amend). Id. at 569.

       SDCERA should, therefore, be given the opportunity to amend its complaint in the event

the Court were to grant any of the defendants’ Motions to dismiss.




                                                100
      Case 1:07-cv-02618-DAB Document 32 Filed 08/14/07 Page 113 of 113



                                        CONCLUSION

       For the foregoing reasons, as well as those stated in plaintiff’s separate Memorandum of

Law with respect to the jurisdictional issues raised by defendant Hunter, Plaintiff SDCERA

respectfully requests that the Court deny each of the defendants’ motions to dismiss its

Complaint, and to grant such other relief as the Court deems just and proper.

Dated: New York, New York
       August 14, 2007

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                                               101
